ST ATE OF NORTH CAJ¥>Jl+!~'t)                                   IN THE GENERAL COURT OF JUSTICE
COUNTY OF FORSYTH                                                   SUPERIOR COURT DIVISION

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       V,
                                            v7·---•                        COMPLAINT
                                                                       (Jury Trial Demanded)
AMERICAN GUARANTEE AND LIABILITY
INSURANCE COMPANY,

                                        Defendant.


                                            I.              INTRODUCTION

       1.      This is an insurance coverage dispute arising out ofNovant Health, Inc. 's losses

and expenses associated with COVID- 19 and related developments.

       2.      Novant is a not-for-profit system of physician practices, hospitals, outpatient

centers, and other medical services providers.

       3.      American Guarantee and Liability Insurance Company agreed to insure Novant

from February l, 2020 to February 1, 2021 in exchange for $2,206,493 in premium, and has

collected a significant amount of premium from Novant over the years. (American Guarantee is a

subsidiary of Zurich Insurance Group, Ltd. and is refe1Ted to here as "Zurich.")

       4.      Contrary to the requirements in its policy, Zurich failed to satisfy numerous

obligations to Novant.

       5.      Zurich drafted the policy to define the "Covered Cause of Loss" as "All risks of

direct physical loss of or damage from any cause unless excluded" and to provide broad

coverage for a variety oflosses and expenses.




   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 1 of 198
        6.     Zurich recognized that losses and expenses associated with a virus are covered

under its policy. As a result, its initial version of the policy included a "Contamination"

exclusion that, subject to specified exceptions and its others terms, barred recovery under certain

coverages if the amount sought was the result of a property condition due to the presence of a

virus, pollutants, poison, or bacteria, among other things.

       7.      Although the "Contamination" exclusion could bar coverage for ce1tain "costs,"

that exclusion does not apply to the losses and expenses Novant is entitled to under the policy for

a variety of reasons.

       8.      One of the reasons the "Contamination" exclusion is irrelevant here - for recovery

of "costs" or otherwise - is that Zurich modified the exclusion by removing the "vitus"

reference. This critical change is in an endorsement that Zurich included on pages 115-17 of the

175-page policy.

       9.      When responding to Novant' s claim, Zurich not only failed to conduct an

appropriate investigation, it also misrepresented the policy terms to Novant and sought to deny

the claim based on the obsolete "Contamination" exclusion. Zurich claimed that COVID-19 was

a "virus" and, therefore, the "Contamination" exclusion barred coverage, ignoring altogether the

endorsement deleting the "virus" reference.

       10.     Zurich's actions related to the "Contamination" exclusion, among other things,

demonstrate its improper handling ofNovant's claitn. It is one thing to disagree about how

policy terms should be interpreted but misrepresenting what the terms are is quite another.

       11.     Furthennore, Zurich failed to fully investigate Novant' s claim. Zurich's

"investigation" solely consisted of excessive and repetitive document requests at a time when

Novant's operations were under an unparalleled strain due to the urgent challenges of COVID-19




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   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 2 of 198
 patient care. Zurich's requests sought information that would be irrelevant under its

 (mis)interpretation of the policy. Nevertheless, Zurich refused to narrow its requests and insisted

 it could not consider Novant' s claim at all absent N ovant' s unconditional and immediate

 compliance. In other words, Zurich sent Novant down a path of futile pursuit when Novant- and

 the employees and patients which rely on it - could least afford it.

        12.       To make matters worse, Zurich's intransigence led to litigation at this time

 because of a provision in the policy requiring suit to be filed within a specified time period.

Novant sought an extension of that limitation. As it has unfortunately done with many other

requests from Novant, Zurich ignored this inquiry as well.

        13.     When confronted with the unprecedented challenges occasioned by COVID-19,

Novant stepped up for its patients and its community. Zurich, however, chose a different route

and abdicated the good faith duties it owed to its insured. Instead of honoring its commitments,

Zurich has obfuscated. It has failed to conduct a reasonable investigation. Zurich has taken

positions that have no basis in the policy, the Jaw, or otherwise. This lawsuit follows as a result.

                                          II.     PARTIES

        14.    Novant is a corporation organized under North Carolina law and is based out of

North Carolina.

        15.    Zurich is an insurance company.

                              III.    JURISDICTION AND VENUE

        16.    This Court has personal jurisdiction over Zurich because it regularly transacts

business in North Carolina.

       17.     Zurich issued its policy to Novant in North Carolina to insure property located in

North Carolina, among other places.




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    Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 3 of 198
        18.     Additionally, this Cmut has personal jurisdiction over Zurich pursuant to

 N.C.G.S. § 1-75.4 (5) and (10).

        19.     This Court is a proper venue pursuant to N.C.G.S. § 1-80 because Novant is a

North Carolina resident and suffered losses in North Carolina. Zurich is a foreign corporation

 and this cause of action arose in Forsyth County.

        20.     This case is filed in the appropriate No1th Carolina trial comt division pursuant to

N.C.G.S. § 7 A-240 and N.C.G.S. § 7A-243 because the amount in controversy exceeds $25,000.

                                     IV.     BACKGROUND

        A.     Novant's Operations

        21.    The Navan! network consists of more than 1,600 physicians and 29,000

employees who provide care at approximately 700 locations, including 15 hospitals and

hundreds of outpatient facilities and physician clinics.

       22.     From preventative and emergency services to rehabilitation care, Novant's

facilities provide comprehensive medical care to various communities.

       23.     Novant serves communities in the southeast region.

       B.      Novant's Claim

       24.     COVID-19 is a deadly communicable disease that, as of February 2021, has

infected more than 27 million people and caused more than 480,000 deaths in the U.S. alone.

Centers for Disease Control & Prevention (CDC), Cases in the U.S.,

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (providing a running

total of COVID-19 cases and deaths).




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    Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 4 of 198
            25.     On March 11, 2020, the World Health Organization detennined that the

    coronavirus, which causes COVID-19, constituted a global pandemic. 1

            26.     COVID-19 is a physical substance that can spread through the respiratory droplets

    of infected individuals.

            27.    When infected individuals speak, sneeze or cough, they release airborne particles

    capable of causing infection. These paiticles can linger in the air for minutes or hours, traveling

    by air currents far from the infected individual or via indoor air circulation systems.

           28.     Respiratory droplets carrying COVID-19 can also land on smfaces and objects,

    where they can remain viable for hours or days, rendering the surface or object unsafe and

    dangerous for continued use, because they may infect another person who comes into contact

with one of these surfaces or objects.

           29.     In other words, COVID-19 can attach to and cause lasting damage to prope1ty.

           30.     Despite Novant's various efforts, infected individuals have presented at all

Novant locations as patients, vendors, visitors, employees, or other guests.

           31.     The CDC has recommended preventative and control practices in healthcare

settings to prevent the spread ofCOVID-19 as much as possible. CDC, Interim Infection

Prevention and Control Recommendations for Healthcare Personnel During the Coronavirus

Disease 2019 Pandemic (updated Dec. 14, 2020), https://www.cdc.gov/coronavirus/2019-

ncov/hcp/infection-control-recommendations.html.




I
  COVID-19 is the disease caused by SARS-CoV-2; COVID-19 is not a virus. World Health
Orgai1ization, Naming the coronavirus disease (COVID-19) and the virus that causes it,
https ://www.who.int/emergencies/diseases/novel-coronavirus-2019/technical-guidance/naming-
the-coronavirus-disease-( covid-2019)-and-the-virus-that-causes-it (announcing the names for the
2019 coronavirus and the disease it causes). The virus and the disease are often referenced
interchangeably as "CO VID-19." Novant adopts the practice here for ease of reference.


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       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 5 of 198
        32.    Due to the risks associated with COVID-19, physical alteration ofprope1iy is

necessary to render the propetiy safe from COVID-19 and to return the prope1iy to a safe and

useable state. For instance, according to the CDC, healthcare providers should use engineering

controls like physical barriers, vacuum shrouds during surgical procedures likely to generate

aerosols, remote triage stations, optimization of air-handling and ventilation systems, and more.

       33.     Novant has adopted and implemented these and other preventative and remedial

measures in order to combat COVID-19 and the related physical loss and damage, incmTing

significant extra expense.

       34.     These measures include screening patients, turning over the air in operating

rooms, installing air scrubbers and intubation boxes, and setting up respirat01y assessment

centers and field hospitals, among others.

       35.     Despite its efforts, Novant has not resumed its full operations and continues to

incur extra expense combating COVID-19 and the related physical loss and damage.

       36.     The effects of COVID-19 on healthcare facilities like Novant are multi-factorial

and include "increases in patients seeking care for respiratory illness that could be COVID-19,

deferring and delaying non-COVID-19 care, disruptions in supply chains, fluctuations in

facilities' occupancy, absenteeism among staff because of illness or caregiving responsibilities,

and increases in mental health concerns." CDC, Healthcare Facilities: Managing Operations

During the COVID-19 Pandemic (updated Dec. 22, 2020),

https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-hcf.html.

       37.     Govemment authorities and agencies have also recognized the effect ofCOVID-

19 on healthcare providers, including the physical loss and damage to providers' property caused

by COVID-19, and have issued orders that affect Novant's operations (the "Orders").




                                                 6

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 6 of 198
            38.    The Orders caused Novant to completely suspend or slowdown its operations.

            39.    For instance, Novant was forced to suspend various elective procedures, leading

    to the cancellation of thousands of procedures and the inability to use its property for its intended

    purpose.

           40.     Because COVID-19 regulations and the Orders remain in effect, Novant has not

    been able to resume its full operations. Novant experienced direct physical loss or damage to

    prope1iy due to COVID-19 and the Orders.

           41.     Novant sent the initial notice of its claim to Zurich on March 23, 2020 and

    reported additional details about its losses in subsequent submissions.

           C.      The Policy

           42.     Zurich issued policy number ZMD8591943-0l to Novant for the period of

February 1, 2020 to February 1, 2021.

           43.     The policy contains the following insuring agreement:

                          This Policy Insures against direct physical loss of or damage
                          caused by a Covered Cause of Loss to Covered Property, at
                          an Insured Location described in Section II-2.01, all subject
                          to the terms, conditions and exclusions stated in this Policy.

(Policy§ I.OJ; N-000014.) A copy of the policy is attached as Exhibit A and is

bates stamped N-000001 to N-000175. 2

           44.    The policy defines a Covered Cause of Loss as "All risks of direct physical loss

of or damage from any cause unless excluded." (Policy,§ 7.11; N-000061.)

          45.     An Insured Location is a Location listed on Schedule of Locations. (Policy,

§ 2.01; N-000015.)

          46.     The policy contains the following with respect to Time Element losses:


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    Ce1iain terms in the policy are bolded, and they are bolded here as well.


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       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 7 of 198
                          [Zurich] will pay for the actual Time Element loss the
                          Insured sustains, as provided in the Time Element
                          Coverages, during the Period of Liability. The Time Element
                          loss must result from the necessary Suspension of the
                          Insured's business activities at an Insured Location ...

                          [Zurich] will also pay for the actual Time Element loss
                          sustained by the Insured, during the Period of Liability at
                          other Insured Locations ... The Time Element loss must
                          result from the necessary Suspension of the Insured's
                          business activities at the other Insured Locations ...

 (Policy§ 4.01; N-000026.)

            47.   The policy defines a Suspension (Suspended), in relevant pa1i, as "The

 slowdown or cessation of the Insured's business activities." (Policy,§ 7.58.01; N-000066.)

            48.   The policy contains several additional coverages, which provide additional

protection to Novant. The coverages include Extra Expense, Civil or Military Authority,

Contingent Time Element, Ingress or Egress, Protection and Preservation of Prope1iy, and

Interruption by Communicable Disease, among others.

          49.     The policy does not exclude losses related to COVID- I 9, communicable disease,

or pandemics.

          50.     Some insurance companies do include exclusions for losses arising out of any

virus.

          51.     Zmich drafted the policy, but decided not to include such an exclusion in the

policy.

                                 V.     INSURANCE COVERAGE

          A.      The Policy's "All Risks" Coverage Is Triggered

          52.     COVID-19 has been present in or around all Novant locations since March 2020,

when COVID-19 first presented in the United States and Novant began treating COVID-19

patients.


                                                   8

    Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 8 of 198
        53.     Additionally, both employees and patients have tested positive for COVID-19 at

 all testing centers and acute care locations.

        54.     As described above, COVID-19 can attach to snrfaces and remain in the air

 causing physical loss or damage to property.

        55.     The presence of COVID-19 at Novant locations resulted in direct physical loss or

 damage.

        56.     The "all risks" coverage is triggered.

        57.     COVID-19 is not excluded under the policy.

        58.     In addition to the policy's "all risks" coverage, COVID-19 and the Orders trigger

other coverages under the policy, including, but not limited to, the coverages addressed below.

        B.      Time Element Coverages

        59.     Zurich agreed to insure the Time Element loss.

        60.     Novant suffered and continues to suffer Time Element loss due to the necessary

Suspension of business activities at Insured Locations because of the direct physical loss or

damage caused by COVID-19.

        C.      Extra Expense

       61.     The policy insures "the reasonable and necessary Extra Expenses incurred" during

the Period of Liability. (Policy, § 4.02.03; N-000028.)

       62.     These expenses include the cost "to resume and continue as nearly as practicable

the Insured's normal business activities that otherwise would be necessarily suspended, due to

direct physical loss of or damage." (Policy, § 4.02.03; N-000028.)

       63.     Novant incurred and continues to incur extra expenses to reswne and continue as

nearly as practicable its normal business activities. For example, Novant has incurred expenses




                                                 9

    Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 9 of 198
for personal protective equipment that is more than the amount it would incm during normal

operations.

        64.    The expenses are over and above the expenses that Novant would have normally

incurred had there been no direct physical loss of or damage caused by COVID-19.

       D.      Civil or Military Authority

       65.     The policy insures the Time Element loss "resulting from necessary Suspension

of the Insured' s business activities ... if the Suspension is caused by order of civil or military

authority that prohibits access to the Location." (Policy,§ 5.02.03; N-000032-33.)

       66.     The order must result from a civil authority's response to direct physical loss of or

damage to non-insured prope1ty and located within one mile of an insured location. (Policy,

§ 2.03.08; N-000017.)

       67.     Numerous Orders have been issued since March 2020 in response to the physical

loss of or damage caused by COVID-19 to non-insured prope1ty within one mile ofNovant's

insured locations.

       68.     The Orders have prohibited access to Novant locations and resulted in the

necessary suspension of business activities.

       69.     Novant has experienced loss from the Orders.

       E.      Contingent Time Element

       70.      The policy insures "the actual Time Element loss sustained due to the necessary

Suspension of business activities directly resulting from direct physical loss of or damage

caused by a Covered Cause of Loss to property at Direct Dependent Time Element

Locations, Indirect Dependent Time Element Locations, and Attraction Properties ... "

(Policy, § 5.02.05; N-000033.)




                                                 10

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 10 of 198
         71.    The policy defines Direct Dependent Time Element Locations, in relevant part,

 as: "Any Location of a direct: customer, supplier, contract manufactlll'er or contract service

 provider to the Insured." (Policy,§ 7.16.01; N-000062.)

        72.     The policy defines Indirect Dependent Time Element Locations, in relevant

 paii, as: "Any Location of a company that is a direct: customer, supplier, contract maimfacturer

 or contract service provider to a Direct Dependent Time Element Location; or Any Location

of a company that is an indirect: customer, supplier, contract manufacturer or contract service

provider to a Direct Dependent Time Element Location." (Policy,§§ 7.25.01-02; N-000063.)

        73.     The policy defines Attraction Properties as properties located within one mile

"ofan Insured Location that attract customers to the Insured's business." (Policy,§§ 2.03.08 and

7.04; N-000017 and N-000060.)

        74.     Novant has suffered Contingent Time Element loss covered by the policy.

        75.     For example, Novant's regular source for protective gowns is located in Wuhan,

China. The Wuhan plant stopped its operations and closed due to the presence of coronavirus on

its property and in the region and loss or damage at its property. As such, Novant was not able to

secure protective gowns from its regular supplier and had to secure gowns from elsewhere.

When Novant was able to secure supplies, those costs were in excess of its ordinary operating

expenses.

       F.      Ingress or Egress

        76.    The policy insures the actual Time Element loss "resulting from the necessary

Suspension of the Insured' s business activities at ai1 Insured Location if ingress or egress to that

Insured Location by the Insured's suppliers, customers or employees is prevented by physical

obstruction due to direct physical loss of or damage caused by a Covered Cause of Loss to




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   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 11 of 198
property" not insured under the policy and located within one mile of an Insured Location.

(Policy,§§ 5.02.15 and 2.03.08; N-000037 and N-000017.)

       77.     Novant has suffered Time Element loss of the type insured due to physical

obstruction of ingress or egress to Novant locations.

       G.      Protection and Preservation of Property

       78.     The policy insures the "reasonable and necessary costs incmTed for actions to

temporarily property or preserve Covered Prope1iy; provided such actions are necessary due to

actual or imminent physical loss or damage." (Policy, § 5.02.24.0 I; N-000041.)

       79.     This provision is triggered because Novant incurred substantial costs for actions

taken to protect its Covered Property.

       80.     These actions were necessary due to the actual and imminent physical loss or

damage caused by COVID-19.

       81.     The policy insures certain "Gross Earnings loss sustained by the Insured .... "

(Policy,§ 5.02.24.02; N-000041.)

       82.     This provision is triggered because Novant suffered Gross Earnings loss that is

subject to recovery under the policy.

       H.      Interruption by Communicable Disease

       83.     The policy insures loss caused by an order of an authorized govermnental agency

regulating connnunicable disease and such portions of the location are declared uninhabitable

due to the tlueat of!he spread of communicable disease. (Policy,§ 5.02.35; N-000045.)

       84.     This coverage extends to "the reasonable and necessary cost incurred for the

cleanup, removal and disposal of the actual not suspected presence of substances(s) causing the

spread of such connnunicable disease and to restore the locations in a manner so as to satisfy

such authorized governmental agency." (Policy,§ 5.02.35; N-000045.)


                                                 12

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 12 of 198
        85.     COVID-19 is a communicable disease.

        86.     The policy thus recognizes communicable disease as a Covered Cause of Loss.

        87.     Coverage under this section is triggered because Novant experienced loss due to

the Orders regulating communicable disease that rendered portions ofNovant locations

uninhabitable due to the threat of spread.

        I.     No Exclusion Applies

        88.    The "all risks" coverage applies unless there is a specific exclusion. (Policy,

§ 7.11; N-000061.)

       89.     No exclusion applies to preclude coverage for Novant's losses.

       90.     Nonetheless, Zurich refused to provide Novant coverage for the claim, citing

ce1tain exclusions.

       91.     In its denial, Zurich cited the Contamination exclusion, which excludes

"Contamination, and any cost due to Contamination." (Policy,§ 3.03.01.01; N-000023.)

       92.     An endorsement supersedes and replaces the exclusion as follows:

                      SECTION III- PROPERTY DAMAGE, C. EXCLUSIONS,
                      paragraph 3.03.01.01.is deleted in its entirety and replaced
                      by the following:

                      3.03.01.01. Contamination or asbestos, and any cost due to
                      Contamination or asbestos including the inability to use or
                      occupy prope1ty or any cost of making prope1ty safe or
                      suitable for use or occupancy.

(Policy, Form EDGE-219-C (01/18); N-000115.)

       93.    The endorsement also replaces the definitions ofContamination(Contaminated)

[sic] and Contaminant(s):

                      11. The following is deleted from SECTION VII -
                      DEFINITIONS




                                                13

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 13 of 198
                        Contamination(Contaminated)             Any condition of
                        property due to the actual presence of any foreign substance,
                        impurity, pollutant, hazardous material, poison, toxin,
                        pathogen or pathogenic organism, bacteria, virus, disease
                        causing or illness causing agent, Fungus, mold or mildew.

                        and replaced by the following:

                       Contamination(Contaminated)             Any condition of
                       property due to the actual presence of any Contaminant(s).

                       12. The following is deleted from SECTION VII -
                       DEFINITIONS:

                       Contaminant(s) - Any solid, liquid, gaseous, thermal or
                       other initant, pollutant or contaminant, including but not
                       limited to smoke, vapor, soot, fumes, acids, alkalis,
                       chemicals, waste (including materials to be recycled,
                       reconditioned or reclaimed), asbestos, ammonia, other
                       hazardous substances, Fungus or Spores.

                       And replaced with the following:

                       Contaminant(s) - Any solid, liquid, gaseous, thermal or
                       other irritant, including but not limited to smoke, vapor, soot,
                       fumes, acids, alkalis, chemicals, waste (including materials
                       to be recycled, reconditioned or reclaimed), other hazardous
                       substances, Fungus or Spores.

(Policy, Form EDGE-219-C (01/18); N-000117.)

       94.     The endorsement references Louisiana in its title. However, the policy makes

clear that titles of endorsements must be disregarded and "shall not in any way affect the

provisions" of the endorsements. (Policy§ 6.20; N-000057.)

       95.     Before issuing the policy, Zurich knew that Novant did not have any Louisiana

locations when it issued the policy with tl1is endorsement.

       96.     By its own terms, the contamination exclusion does not apply for multiple

reasons, including the following. The amounts for which Novant seeks coverage are covered

under the Time Element section of the policy, and the contamination exclusion does not apply to



                                                 14

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 14 of 198
 that section of the policy. In addition, even ifit applied to that section of the policy, the exclusion

 provides that the policy does not cover "contamination, and any cost due to contamination."

 Novant is not asking Zurich to cover "contamination." Novant asks Zurich to cover for losses

 and expenses. The limited scope of the contamination exclusion is apparent when compared to

 other exclusions in the policy that exclude "loss or damage directly or indirectly caused by or

 resulting from the following regardless of any other cause or event, whether or not insured under

 this Policy, contributing concurrently or in any other sequence to the loss." (Policy,§ 3.03.03; N-

000024.)

        97.     Fmiher, Zurich has used different versions of the amendatory endorsement.

        98.     Another version of the same amendatory endorsement states that it "only applies

to locations in Lonisiana."

        99.     The amendatory endorsement in Novant's policy does not include this language

or any similar pln·ase that geographically limits the endorsement's application.

        100.   Other endorsements in Novant's policy specify that they apply to certain locations

only. None of those endorsements are relevant for Novant's claim at issue here.

        101.   In its denial, Zurich cited another exclusion that applies to "Loss or damage

arising from the enforcement of any law, ordinance, regulation or rnle regulating or restricting

the construction, installation, repair, replacement, improvement, modification, demolition,

occupancy, operation or other use, or removal including debds removal of any property."

(Policy,§ 3.03.01.03; N-000023.)

       102.    That exclusion does not apply because the Orders affecting Novant's operations

do not regulate or restrict "the construction, installation, repair, replacement, improvement,

modification, demolition, occupancy, operation or other use, or removal including debris




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   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 15 of 198
removal of any property," are not laws or ordinances, and there was no enforcement against

Novant of any such law or ordinance.

         103.    In its denial, Zurich cited this exclusion: "Loss or damage arising from delay, loss

of market, or loss of use." (Policy,§ 3.03.02.01; N-000023.)

         I 04.   That exclusion does not apply because Novant's losses are not due to delay, loss

of market, or loss of use.

         105.    Zurich also cited this exclusion: "Loss or damage resulting from the lnsured's

suspension of business activities, except to the extent provided by this Policy." (Policy,§

3.03.02.05; N-000023.)

         I 06.   Novant is seeking coverage for the suspension of business activities, but the

amounts Novant seeks are covered by the policy. Thus, the exclusion does not apply to Novant's

claim here.

        107.     Finally, Zurich cited this exclusion:

                        Any loss during any idle period that would have been
                        experienced had the Suspension of business activities not
                        occurred. This includes, but it not limited to, when production,
                        operation, services, delivery or receipt of goods or services or
                        any other business activities would have ceased, or would not
                        have taken place or would have been prevented due to ... Any
                        reason other than physical loss or damage insured by this
                        Policy.

(Policy, § 4.02.05.01.01.3; N-000029.)

        I 08.    Since the amounts Novant seeks to recover are due to physical loss or damage

insured by the policy, this exclusion does not apply.

        109.     Zurich's denial ofNovant's claim was incorrect and without reasonable

justification.




                                                   16

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 16 of 198
                            VI.    ZURICH ACTED IN BAD FAITH

         110.    Zurich owes a duty of good faith to Novant under the policy and North Carolina

 law.

         111.   Zurich breached it duties by acting without reasonable justification, including by

 wrongfully denying Novant' s claim and failing to make any efforts to perform its obligations,

 including failing to conduct a reasonable investigation ofNovant's claim.

        112.    Instead, Zurich asked Novant to respond to extensive and burdensome requests

for information even though Zurich had no intention of ever actually considering or adjusting

Novant's claim.

        113.    This is evidenced by Zurich's view that the presence of the COVID-19 would not

constitute direct physical Joss of or damage to prope1ty as required by the policy. Because

Zurich's position is at odds with the policy language and numerous studies and literature, which

Zurich is aware of and will be fu1ther established in discovery, Novant asked for the basis for

Zurich's conclusion, an inquiry Zurich has ignored.

        114.    Notwithstanding its position about COVID-19, Zurich specifically asked Novant:

"If COVID-19 was present at any of your prope1ties, did you sustain any direct physical dan1age

to real prope1ty? If so, please provide a detailed description of what was damaged and how?"

        115.    It is hard to see how Novant's answer to Zurich's question would affect Zurich's

coverage position if it had already concluded that the presence of COVID-19 does not constitute

direct physical Joss of or damage to property and that exclusions applied.

        116.    Zurich also relied on the policy's un-amended version of the contamination

exclusion and the definitions of"Contamination (Contaminated)" and "Contaminant(s)",

explaining that "(t]he presence of the COVID-19 virus [sic] falls within the [un-amended]

definition of Contamination." This was a misrepresentation that Zurich made to mislead Novant


                                                17

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 17 of 198
in an effort to improperly deny coverage provided under the policy. The letter failed to quote the

amended, operative exclusion and definitions. Zurich did not accurately represent the terms of

the contamination exclusion or its application to Novant's claim.

       117.    Novant requested clarification of Zurich's coverage position so that it would be

better able to identify and home in on infmmation responsive to Zurich's inquiries.

       118.    In the spring of 2020, Novant's operations were under an tmparalleled strain due

to the urgent challenges of COVID-19 patient care. Refocusing any part of this energy towards

responding to Zurich's broad requests was not a realistic option, but nan-ower requests may have

been accommodated.

       119.    Six weeks later, Zurich declined to either nan-ow its requests or provide its

coverage position, saying that it would "not engage in a discussion regarding coverage in a

vacuum." Zurich instead inquired about the status ofNovant's claim information, including a

spreadsheet that Zurich had sent after receiving Novant's May 21, 2020 letter. Zurich insisted

that its "investigation and adjustment of the claim [could not] move forward in any fashion until

Novant provide[d] such information."

       120.    The spreadsheet sought the "type of business conducted at each location in the

claim and which locations were open, or partially open, and why any were closed, or paiiially

closed."

       121.    Novant has nearly 700 locations.

       122.    Nonetheless, Novant provided this list and fmiher documentation of its claim and

answered Zurich's other broad requests for information.




                                                  18

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 18 of 198
         123.    Obtaining this location list and responses to the questionnaire constituted the

 entirety of Zurich's claims investigation, and Zurich inexplicably ignored Novant's questions

 about the basis for its positions that eventually led to the denial of the claim.

         124.   Zurich delayed its coverage dete1mination for over eight months before it denied

 Novant' s claim.

         125.   By failing to conduct a reasonable, timely investigation of the claim, and by

failing to respond to Novant's inquiries, Zurich failed to treat Novant fairly or honestly in

pe1forming its duties under the policy.

        126.    Zurich's bad faith caused and continues to cause Novant damages.

                              COUNT I: BREACH OF CONTRACT

        127.    Novant repeats and rea!leges the allegations in the preceding paragraphs.

        128.    The policy is a valid, enforceable contract between Novant and Zurich.

        129.    Novant has satisfied all of the policy's applicable terms, conditions, and

requirements, including payment of premium.

        130.    In the alternative, Zurich waived any right to insist upon compliance with the

policy's terms, conditions, or requirements and any right to contest coverage.

        131.    COVID-19, the COVID-19 pandemic, and the Orders trigger the policy's

coverage.

        132.    No exclusions apply to the an1ounts Novant seeks.

        133.    Thus, Novant is entitled to coverage for its losses and expenses arising out of

COVID-19, the Orders, and the resulting physical loss of or damage to property.

        134.    Zmich breached the contract by refusing to pay Novant for its losses and expenses

in breach of the policy.




                                                  19

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 19 of 198
         135.    Zurich's breach of the policy caused and continues to cause Novant damages.

         136.    Novant is entitled to damages because of Zurich's breach of contract in an amount

 to be determined at trial, including pre- and post-judgment interest and any other costs and relief

 that this Comt deems appropriate.

  COUNT II: BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

        137.    Novant repeats and realleges the allegations in the preceding paragraphs.

        138.    Zmich owes a duty of good faith to Novant under the policy and applicable law.

        139.    Zurich breached that duty by acting without reasonable justification.

        140.    Zurich acted in bad faith by failing to pay Novant's claim and by failing to

investigate the claim after being presented with evidence of loss.

        141.    Zurich acted in bad faith by misrepresenting the terms of the policy and

attempting to mislead Novant into believing that there was no coverage for its claim.

        142.    Zurich's bad faith acts and denial caused and continue to cause Novant damages.

        143.    Novant is entitled to damages because of Zurich's breach of the covenant of good

faith and fair dealing in an amount to be detennined at trial, including pre- and post-judgment

interest and any other costs and relief that this Court deems appropriate.

                   COUNT III: VIOLATION OF NORTH CAROLINA'S
                  UNFAIR AND DECEPTIVE TRADE PRACTICES LAWS

        144.    Novant repeats and realleges the allegations in the preceding paragraphs.

        145.    Zurich's acts constitute unfair and deceptive trade practices under N.C.G.S. § 75-

1.1 and§ 58-63-15(11).

        146.    Zurich misrepresented pe1tinent facts or insurance policy provisions relating to

the coverages at issue in violation ofN.C.G.S. § 58-63-15(1 l)(a).




                                                20

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 20 of 198
        147.    Zurich failed to adopt and implement reasonable standards for the prompt

investigation of claims in violation ofN.C.G.S. § 58-63-15(1 l)(c), because Zurich failed to

conduct any meaningful investigation ofNovant's claim.

        148.    Zurich denied Novant's claim without conducting a reasonable investigation

based upon all available infonnation in violation ofN.C.G.S. § 58-63-15(1 l)(d).

        149.    Zurich's systematic denial ofNovant's claim without any investigation is

unethical, oppressive, and/or substantially injurious to consumers.

        150.   TI1erefore, Zurich acted unfairly or deceptively and in bad faith in violation of

Nmth Carolina law.

       151.    Zurich's unfair or deceptive acts occurred in or affected commerce.

       152.    Zurich's violations of North Carolina's unfair and deceptive trade practice laws

proximately caused and continue to cause Novant damages.

       153.    Novant is entitled to damages because of Zurich's violations ofN01th Carolina's

unfair and deceptive trade practice laws in an amount to be determined at trial, including pre-

and post-judgment interest and any other costs and relief that this Court deems appropriate.

                                  VII.   PRAYER FOR RELIEF

       Novant requests the Court enter judgment as follows:

       (I)     Novant be awarded its damages resulting from Zurich's breach of the policy,

               including pre-judgment and post-judgment interest;

       (2)     Novant be awarded damages resulting from Zurich's breach of the covenant of

               good faith and fair dealing, including consequential, punitive, exemplary, and

               treble daniages;




                                               21

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 21 of 198
       (3)    Novant be awarded damages resulting from Zurich's acts in violation ofN01ih

              Carolina's unfair or deceptive practice law, including consequential, punitive,

              exemplary, and treble damages;

      (4)     Novant be awarded its reasonable attorneys' fees and court costs; and

      (5)    Novant be awarded such other and fmiher relief, general, special or consequential,

             at law or in equity, to which it may be justly entitled.

                               DEMAND FOR JURY TRIAL

      Novant demands trial by jury on all issues so triable.

March 10, 2021                                     ~ectfully submitted,

                                                   t1Til?P.O~d1 .
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                                                   * Pro hac vice motion to follow
                                                   Attorneys for Novant Health, Inc.




                                              22

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 22 of 198
                          EXHIBIT A

The Zurich Edge Healthcary Policy Number: ZMD8591943-01
             Effective Date: February 1, 2020




Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 23 of 198
                                                                                                                 @


Disclosure Statement                                                                          ZURICH

                                It is our pleasure to present the enclosed policy to you
                                            for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

   Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                      N-000001

                                                                                                 U-GU-873-A CW (06/11)
                                                                                                          Page 1 of 1

        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 24 of 198
                                                                                                              ®

Disclosure Statement                                                                     ZURICH

                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


          If you want to learn more about the compensation Zurich pays agents and brokers visit:

                             http://www.zurichnaproducercompensation.com

                          or call the following toll-free number: (866) 903-1192.



                This Notice is provided on behalf of Zurich American Insurance Company

                                    and its underwriting subsidiaries.




                                                                                                   N-000002

                                                                                            U-GU-874-A CW (06/11)
                                                                                                       Page 1 of 1

     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 25 of 198
                                                                                  ®

                                                           ZURICH

                                             The Zurich EDGE
                                             Healthcare Policy




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                                                       EDGE 404- i       ~Biifl1.6)

Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 26 of 198
                                                                                                                                        ®

                                                                                                                 ZURICH
         THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR
                                 POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
              CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                            DISCLOSURE OF PREMIUM
                       (RELATING TO DISPOSITION OF TRIA)
                                                               SCHEDULE*


  (1) Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
                                                                                                                               I
   $80,977.00
 If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by
 any change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.

 (2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:

       No change unless one of the following is completed -



       Return Premium:



       Additional Premium:


  If we notifv vou of an additional oremium charae. the additional nremium will be due as soecified in such notice.
*Information required to complete this Schedule, .if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of your premium attributable is shown in the Schedule above, but
    may be subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five-year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January 1, 2015 - December 31, 2015 federal share: 85%
    January 1, 2016-December31, 2016 federal share: 84%
    Janu?ry 1, 2017 - December 31, 2017 federal share: 83%
    January 1, 2018 - December 31, 2018 federal share: 82%
    January 1, 2019- December 31, 2019 federal share: 81%
   January 1, 2020 - December 31, 2020 federal share: 80%


                                                                                                                    N-000004
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
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          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 27 of 198
   If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
   (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
   liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
   losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
   Secretary of Treasury.
D. Availability
   As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
   of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
   arising from events other than acts of terrorism.
E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act ("TRIA"), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2.   To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3.   To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
        (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
        principally in the United States, on which United States income tax is paid and whose insurance coverage is
        subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
        United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers' compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
F. Possibility of Additional or Return Premium
   The federal program established under TRIA is scheduled to terminate at the end of December 31, 2020 unless
   extended by the federal government. The premium attributable to the risk of loss from certified acts of terrorism
   coverage is calculated based on the coverage (if any) in effect at the beginning of your policy for certified acts of
   terrorism. If your policy contains a Conditional Endorsement, the termination of TRIA or extension of the federal
   program with certain modifications (as explained in that endorsement) may modify the extent of coverage (if any) your
   policy provides for terrorism. If TRIA terminates or the Conditional Endorsement becomes applicable to your policy,
   the return premium (if any) or additional premium (if any) shown in (2) of the Schedule will apply. If the level or terms
   of federal participation change, the premium shown in (1) of the Schedule attributable to that part of the policy period
   extending beyond such a change may not be appropriate and we will notify you of any changes in your premium.




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         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 28 of 198
                                                                                                                  ®

SANCTIONS EXCLUSION                                                                           ZURICH
ENDORSEMENT



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments
or provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this
policy to the extent that such cover, payment, service, benefit, or any business or activity of the insured would
violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                                      N-000006

                                                                                             U-GU-1191-A CW (03/15)
                                                                                                         Page 1 of 1

     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 29 of 198
                                                                                                                      @


Important Notice - In Witness Clause                                                            ZURICH

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has



                                                                                            ;,K71
caused this policy to be countersigned by its duly Authorized Representative(s).


                                                                                 2)__
                       President                                                    Corporate Secretary



QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):


                                               Zurich in North America
                                               Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382·2150 (Business Hours: Barn - 4pm [CT])
                                           Email: info.source@zurichna.com




                                                                                                           N-000007

                                                                                                          U-GU-319-F (01/09)
                                                                                                                Page 1 of 1

         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 30 of 198
                                   THE ZURICH EDGE-HEALTHCARE TABLE OF CONTENTS
                                                                                                                                                                                                 Page No.

DECLARATIONS PAGE

        NAMED INSURED AND MAILING ADDRESS ............................................................................................................................ ID
        POLICY PERIOD ................................................................................................................................................................................ .
        PREMIUM ............................................................................................................................................................................................ .

SECTION I - POLICY APPLICABILITY .................................................................................................................................................. 3D

I.OJ. INSURING AGREEMENT ................................................................................................................................................................. .
1.02. APPLICATION OF POLICY PERIOD .............................................................................................................................................. .
1.03. TERRITORY ........................................................................................................................................................................................ .

SECTION II - DECLARATIONS ................................................................................................................................................................. 40

2.01. INSURED LOCATION
2.02. CURRENCY
2.03. POLICY LIMITS OF LIABILITY
2.04. QUALIFYING PERIOD
2.05. DEDUCTIBLES

SECTION III - PROPERTY DAMAGE

3.01. COVERED PROPERTY .................................................................................................................................................................... .
3.02. PROPERTY NOT COVERED ........................................................................................................................................................... I
3.03. EXCLUSIONS ................. ,................................................................................................................................................................... 2

SECTION IV - TIME ELEMENT ................................................................................................................................................................ 5

4.01. LOSS INSURED ................................................................................................................................................................................... 5
4.02. TIME ELEMENT COVERAGES ........................................................................................................................................................ 5
            4.02.01. GROSS EARNINGS ................................................................................................................................................ 6
            4.02.02. EXTENDED PERIOD OF LIABILITY .................................................................................................................. 6
            4.02.03. EXTRA EXPENSE ................................................................................................................................................... 7
            4.02.04. LEASEHOLD INTEREST ....................................................................................................................................... 7
            4.02.05. EXCLUSIONS ........................................................................................................................................................... 8
4.03. PERIOD OF LIABILITY ...................................................................................................................................................................... 9

SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS ...................................................................................... 10

5.01. OPERATION OF SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS: ..................................................................... 10
5.02. DESCRIPTION OF SPECIAL COVERAGES .................................................................................................................................. IO
           5.02.01. ACCOUNTS RECEIVABLE ................................................................................................................................... 10
           5.02.02. AMMONIA CONTAMINATION ......................................................................................................................... II
           5.02.03. CIVIL OR MILITARY AUTHORITY .................................................................................................................. I I
           5.02.04. COMPUTER SYSTEMS DAMAGE ...................................................................................................................... 12
           5.02.05. CONTINGENT TIME ELEMENT ......................................................................................................................... 12
           5.02.06. DEBRIS REMOVAL ............................................................................................................................................... 13
           5.02.07. DECONTAMINATION COSTS .............................................................................................................................. 14
           5.02.08. DEFERRED PAYMENTS ....................................................................................................................................... 14
           5.02.09. ERRORS AND OMISSIONS .................................................................................................................................. 14
           5.02. I 0. EXPEDITING COSTS .............................................................................................................................................. 15
           5.02.11. FINE ARTS ............................................................................................................................................................... 15
           5.02.12. FIRE DEPARTMENT SERVICECHARGE ......................................................................................................... 15
           5.02.13. IMPOUNDED WATER ........................................................................................................................................... 15
           5.02.14. INCREASED COST OF CONSTRUCTION ......................................................................................................... 16
           5.02.15. INGRESS/EGRESS ................................................................................................................................................... 16



                                                                                                                                                                                   N-000008

                                                                                                                                                                               EDGE-456-C (06/14)
                                                                                                                                                                                           Page 1 ofS

                Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 31 of 198
                    5.02.16. INTERNATIONAL INTERDEPENDANCY ......................................................................................................... 16
                    5.02.17. LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL ..................................... 17
                    5.02.18. LAND IMPROVEMENTS ....................................................................................................................................... 18
                    5.02.19. MISCELLANEOUS PERSONAL PROPERTY ..................................................................................................... 18
                    5.02.20. MISCELLANEOUS UNNAMED LOCATIONS ................................................................................................... 18
                    5.02.21. NEWLY ACQUIRED ............................................................................................................................................... 19
                    5.02.22. OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND TIME
                             ELEMENT LOSS ...................................................................................................................................................... 19
                    5.02.23. PROFESSIONAL FEES ........................................................................................................................................... 19
                    5.02.24. PROTECTION AND PRESERVATION OF PROPERTY .................................................................................... 20
                    5.02.25. RADIOACTIVE CONTAMINATION ................................................................................................................... 20
                    5.02.26. RESEARCH AND DEVELOPMENT ..................................................................................................................... 20
                    5.02.27. RESEARCH ANIMALS ........................................................................................................................................... 21
                    5.02.28. SPOILAGE ................................................................................................................................................................ 21
                    5.02.29. TENANTS PROHIBITED ACCESS ....................................................................................................................... 21
                    5.02.30. TRANSIT ................................................................................................................................................................... 22
                    5.02.31. VALUABLE PAPERS AND RECORDS ............................................................................................................... 23
                    5.02.32. NEW CONSTRUCTION AND ADDITIONS ........................................................................................................ 23
                    5.02.33. OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION ................................................... 24
                    5.02.34. HOME HEALTH CARE MEDICAL EQUIPMENT ............................................................................................. 24
                    5.02.35. INTERRUPTION BY COMMUNICABLE DISEASE ........................................................................................ 24
                    5.02.36. MOBILE MEDICAL EQUIPMENT ...................................................................................................................... 25
                    5.02.37. PROTECTION OF PATIENTS .............................................................................................................................. 25
                    5.02.38. RESTORATION OF EMERGENCY GENERATORS ......................................................................................... 25

5.03. DESCRIBED CAUSES OF LOSS .................................................................................................................................................... 25
          5.03.01 BREAKDOWN OF EQUIPMENT ......................................................................................................................... 25
          5.03.02 EARTH MOVEMENT ............................................................................................................................................ 26
          5.03.03 FLOOD ..................................................................................................................................................................... 26
          5.03.04 NAMED STORM .................................................................................................................................................... 26

SECTION VI -GENERAL POLICY CONDITIONS ................................................................................................................................. 27

6.01.    CANCELLATION/NON-RENEWAL .............................................................................................................................................. 27
6.02.    CERTIFICATES OF INSURANCE .................................................................................................................................................. 27
6.03.    CONCEALMENT, MISREPRESENTATION, FRAUD ................................................................................................................ 28
6.04.    CONFORMITY TO STATUTES ...................................................................................................................................................... 28
6.05.    CONTROL OF DAMAGED GOODS .............................................................................................................................................. 28
6.06.    CURRENCY FOR LOSS PAYMENT .............................................................................................................................................. 29
6.07.    INSPECTIONS AND SURVEYS ..................................................................................................................................................... 29
6.08.    JOINT LOSS ....................................................................................................................................................................................... 29
6.09.    JURISDICTION .................................................................................................................................................................................. 31
6.10.    LENDERS LOSS PAYABLE AND MORTGAGE HOLDER INTERESTS AND OBLIGATIONS ........................................ 31
6.11.    LIBERALIZATION ........................................................................................................................................................................... 32
6.12.    LOSS ADUSTMENT/LOSS PAYABLE .......................................................................................................................................... 32
6.13.    LOSS CONDITIONS .......................................................................................................................................................................... 32
                6.13.01. DUTIES IN THE EVENT OF LOSS OR DAMAGE ........................................................................................ 32
                6.13.02. ABANDONMENT ................................................................................................................................................ 33
                6.13.03. SUBROGATION .................................................................................................................................................. 33
                6.13.04. APPRAISAL ....................................................................................................................................................... 33
                6.13.05. SUIT AGAINST THE COMPANY ...................................................................................................................... 34
6.14.    NO REDUCTION BY LOSS ............................................................................................................................................................. 34
6.15.    OTHER INSURANCE ...................................................................................................................................................................... 34
6.16.    POLICY MODIFICATION .............................................................................................................................................................. 35
6.17.    PRIVILEGE TO ADJUST WITH OWNER ..................................................................................................................................... 35
6.18.    SETTLEMENT OF CLAIMS ........................................................................................................................................................... 35
6.19.    SUSPENDED PROPERTY ................................................................................................................................................................ 36
6.20.    TITLES ................................................................................................................................................................................................. 36
6.21.    TRANSFER OF RIGHTS AND DUTIES ...................................................................................................................................... 36
6.22.    VALUATION ...................................................................................................................................................................................... 36

                                                                                                                                                                                        N-000009

                                                                                                                                                                                    EDGE-456-C (06/14)
                                                                                                                                                                                          Page2 of5

               Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 32 of 198
SECTION VII - DEFINITIONS .................................................................................................................................................................... 39




                                                                                                                                                                        N-000010

                                                                                                                                                                     EDGE-456-C (06/14)
                                                                                                                                                                           Page 3 of5

               Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 33 of 198
FORMS ATTACHED TO THE POLICY

EDGE-404-B                     The Zurich Edge Healthcare Policy (Cover Page)

U-GU-692-D CW                  DISCLOSURE OF PREMIUM (RELATING TO DISPOSITION OF
                               TRIA)

U-GU-1191-A CW                 SANCTIONS EXCLUSION ENDORSEMENT

U-GU-319-F                     Important Notice - In Witness Clause

EDGE-456-C                     The Zurich Edge Healthcare Table of Contents

EDGE-D-102-B                   The Zurich Edge Healthcare Declarations

EDGE-102-B                     The Zurich Edge Healthcare Body of Form

EDGE-450-B                     Appendix A - Earth Movement/Earthquake Zones for USA
                               including its Commonwealths and Territories

EDGE-451-D                     Appendix B - Earth Movement/Earthquake Zones Worldwide except
                               USA its Commonwealths and Territories

EDGE-452-B                     Appendix C - Named Storm Zones for USA including its
                               Commonwealths and Te1Titories

EDGE-453-E                     Appendix D - Na med Storm Zones Worldwide except USA and its
                               Commonwealths and Territories

EDGE-201-B                     Amendatory Endorsement - Alaska

EDGE-207-F                     Amendatory Endorsement - Connecticut

EDGE-210-D                     Amendatory Endorsement - Florida

EDGE-211-A                     Amendatory Endorsement - Georgia

EDGE-214-C                     Amendatory Endorsement - Illinois

EDGE-215-A                     Amendatory Endorsement - Indiana

EDGE-217 B                     Amendatory Endorsement - Kansas

EDGE-218-B                     Amendatory Endorsement - Kentucky

EDGE-219-C                     Amendatory Endorsement - Louisiana

EDGE-221-C                     Amendatory Endorsement - Maryland

EDGE-222-C                     Amendatory Endorsement-Massachusetts

EDGE-220-B                     Amendatory Endorsement - Maine

EDGE-224-B                     Amendatory Endorsement - Minnesota

EDGE-225-B                     Amendatory Endorsement - Mississippi

EDGE-226-A                     Amendatory Endorsement - Missouri

EDGE-227-B                     Amendatory Endorsement - Montana

EDGE-232-B                     Amendatory Endorsement - Nebraska

EDGE-229-B                     Amendatory Endorsement - Nevada

EDGE-233-B                     Amendatory Endorsement - New York


                                                                                                 N-000011

                                                                                               EDGE-456-C (06/14)
                                                                                                     Page4 of5

        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 34 of 198
FORMS ATTACHED TO THE POLICY

EDGE-236-A                     Amendatory Endorsement - Ohio

EDGE-237-B                     Amendatory Endorsement - Oklahoma

EDGE-240-A                     Amendatory Endorsement - Rhode Island

EDGE-241-B                     Amendatory Endorsement - South Carolina

EDGE-242-C                     Amendatory Endorsement - South Dakota

EDGE-243-B                     Amendatory Endorsement - Tennessee

EDGE-246-B                     Amendatory Endorsement - Vermont

EDGE-248-B                     Amendatory Endorsement - Washington

EDGE-249-A                     Arnendatory Endorsement - West Virginia

EDGE-250-A                     Amendatory Endorsement - Wisconsin

EDGE-251-A                     Amendatory Endorsement - Wyoming

EDGE-252-A VA                  Amendatory Endorsement - Virginia

EDGE-313-C                     CYBER EVENT COVERAGE ENDORSEMENT

EDGE-309-A                     Endorsement Limited Coverage for Electronic Data Programs or
                               Software

U-GU-767-B CW                  Cap on Losses From Certified Acts of Terrorism

                               EDGE 303-A (06/08)

U-GU-757-B NC                  North Carolina - Notice of Certain Causes of Loss Not Covered




                                                                                                 N-000012

                                                                                               EDGE-456-C (06114)
                                                                                                      Page 5 of5

        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 35 of 198
Policy Number
ZMD859 l 943-01

Named Insured and Mailing Address
Novant Health, Inc.
2085 Frontis Plaza Blvd
Winston Salem, NC 27103


hereafter referred to as the First Na med Insured.
The following are all hereafter referred to as the "Insured", including legal representatives.
The First Named Insured; and
any subsidiary of the First Named Insured. The First Named lnsured's interest in any partnership, joint venture or other
legal entity in which the First Named Insured has management control or ownership as now constituted or hereafter is
acquired.

When any Insured described above is a party to a written contract or agreement on file, that requires a legal entity to be
identified as an additional insured under this Policy, this Policy includes the legal entity as an additional insured, as its interest
may appear, for physical damage to insured property which is the subject of the written contract or agreement on file, before
any loss occurs; and does not provide any Time Element Coverage to the legal entity, except as provided under Leasehold
Interest Coverage of this policy or as specifically endorsed to the policy.

Producer
LOCKTON COMPANIES, LLC
4725 PIEDMONT ROW DR STE 510
CHARLOTTE, NC 28210


Policy Period
Begins February I, 2020 at 12:01 AM; Ends February I, 2021 at 12:01 AM

Insurance is provided by the following Stock Company
American Guarantee and Liability Insurance Company
hereafter referred to as the ncompany 11 ,


Proportionate Share of Company for Loss or Damage
         100%         Quota Share        Being $1,500,000,000 part of a $1,500,000,000 primary loss layer

Annual Policy Premium                        Surcharges, Taxes & Fees                       Total Policy Premium

$2,206,493.00                                Not Applicable                                 $2,206,493.00

PREMIUM PAYABLE
This Policy is issued in consideration of an initial premium. The First Named Insured shown on the Policy is responsible for
the payment of all premiums and will be the payee for any return premiums paid by the Company. Premiums will be paid in
the currency designated in Section II-2.02.




                                                                                                                   N-000013

                                                                                                                 EDGE-D-102-B (12/10)
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      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 36 of 198
SECTION I - POLICY APPLICABILITY
  1.01.   INSURING AGREEMENT
          This Policy Insures against direct physical loss of or damage caused by a Covered Cause of Loss to Covered
          Property, at an Insured Location described in Section II-2.01, all subject to the terms, conditions and
          exclusions stated in this Policy.

          No coverage can be provided in violation of any U.S. economic or trade sanctions laws or regulations. Such
          coverage, which may be in violation of any U.S. economic or trade sanctions laws and regulations, shall be
          null and void and the Company shall not be liable to make any payments or provide any defense under this
          policy.

  1.02.   APPLICATION OF POLICY PERIOD
          In the event of a claim the Policy Period is measured by local time at the location where the direct physical
          loss or damage occurs.

  1.03.   TERRITORY
          Coverage under this Policy applies to all covered loss or damage that takes place in the United States of
          America, its territories and possessions, including the District of Columbia and the Commonwealth of Puerto
          Rico.




                                                                                                     N-000014


                                                                                                   EDGE-D-102-B (12110)
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   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 37 of 198
SECTION II - DECLARATIONS
 2.01          INSURED LOCATION
               This Policy insures an Insured Location unless othe1wise provided.
               An Insured Location is a Location :
 2.01.01.           Listed on a Schedule of Locations on file with Company; identified as

 2.01.02.           Covered as a Miscellaneous Unnamed Location ; and
 2.01.03.           Covered under the terms and conditions of the Newly Acquired Coverage or Errors and Omissions
                    Coverage.

 2.02.         CURRENCY
              All amounts, including deductibles and limits of liability, indicated in this Policy are in USD unless otherwise
              indicated by the three-letter currency designator as defined in Table A. I Currency and Funds code list,
              International Standards Organization (ISO) 4217, edition effective at inception of this Policy.

 2.03.         POLICY LIMITS OF LIABILITY
              The Policy Limit is $1,500,000,000 for the total of all coverages combined regardless of the number of
              Locations involved subject to the following provisions:

 2.03.01.           The Company will pay no more in any one(!) Occurrence than its proportionate share of the Policy
                    Limit.

 2.03.02.           Limits of Liability stated below or elsewhere in this Policy are part of and not in addition to the Policy
                    Limit.

 2.03.03.           When an Annual Aggregate Limit of Liability is shown, the Company's maximum amount payable will
                    not exceed such Limit of Liability during the Policy Year regardless of the number of Locations,
                    Coverages or Occurrences involved.

 2.03.04.           The most the Company will pay in an Occurrence caused by a Described Cause of Loss is the Limit of
                    Liability for that Described Cause of Loss.
 2.03.05.           Limits of Liability in an Occurrence apply to the total loss or damage, including any insured Time
                    Element loss, at all Locations and for all Coverages involved.
 2.03.06.           Limits of Liability

                        The following are the Limits of Liability in an Occurrence unless otherwise shown. The Company
                        will pay no more in any one (1) Occurrence than its proportionate share.
                        The limit of Liability we show for a coverage part is the maximum amount we will pay for the
                        coverage part.
                        Sublimits within a coverage part may reduce the amount payable under a coverage part.

            Limits of Liability and Coverage Part
            Limit                         Description

            $1,500,000,000                Property Damage (PD) and Time Element (TE) combined at scheduled locations: on
                                          file with the Company per statement of values dated 12/27/2019.
                                          But not to exceed:
                                                  $1,500,000,000     EXTRA EXPENSE
                                                  $1,500,000,000     LEASEHOLD INTEREST
                                                                                                            N-000015
            $100,000,000                  ACCOUNTS RECEIVABLE
                                                                                                          EDGE-D-102-B (12/10)
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   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 38 of 198
     $25,000,000       COMPUTER SYSTEMS DAMAGE
                       in the Annual Aggregate
            ------
     $20,000,000       CONTINGENT TIME ELEMENT
                       per occurrence but not to exceed a $20,000,000 limit per Direct Dependent Time
                       Element Location

                       $10,000,000 for Earth Movement, Flood, Named Storm or Volcanic Eruption;

                       $2,500,000 per Indirect Dependent Time Element Location but not to exceed
                       $2,500,000 for Earth Movement, Flood, Named Storm or Volcanic Eruption;

                       $2,500,000 limit per ATTRACTION PROPERTY

     $50,000,000       DEBRIS REMOVAL
     $5,000,000        DECONTAMINATION COSTS
     $2,500,000        DEFERRED PAYMENTS
     -----'--'--------
     $50,000,000       ERRORS AND OMISSIONS
                                          --------------------
     $100,000,000      EXPEDITING COSTS
     $10,000,000       FINE ARTS
     $1,500,000,000    FIRE DEPARTMENT SERVICE CHARGE
     $1,500,000,000    INCREASED COST OF CONSTRUCTION
     $100,000          LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL
     $5,000,000        LAND IMPROVEMENTS
     $5,000,000        MISCELLANEOUS PERSONAL PROPERTY
     $10,000,000       MISCELLANEOUS UNNAMED LOCATION
     $25,000,000       OFF PREMISES SERVICE INTERRUPTION
                  -----------------------------~-
     $5,000,000        PROFESSIONAL FEES
     $1,000,000        RADIOACTIVE CONTAMINATION
     $500,000          RESEARCH ANIMALS in excess of $50,000
     $1,000,000        TENANTS PROHIBITED ACCESS
     $10,000,000       TRANSIT
     $100,000,000      VALUABLE PAPERS AND RECORDS
     $50,000,000       NEW CONSTRUCTION OR ADDITIONS
     $2,500,000        OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
     $5,000,000        HOME HEALTH CARE MEDICAL EQUIPMENT
                                                                  --------------
     $10,000,000       MOBILE MEDICAL EQUIPMENT
     $5,000,000        PROTECTION OF PATIENTS in excess of$100,000
     $1,500,000,000    BREAKDOWN OF EQUIPMENT not to exceed:
                       $1,000,000 for AMMONIA CONTAMINATION
                       $1,000,000 for SPOILAGE
                                          -----------



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                                                                                     EDGE-D-102-B (12/10)
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Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 39 of 198
           $200,000,000               EARTH MOVEMENT in the Annual Aggregate but not to exceed the following
                                      limits in the Annual Aggregate:
                                      a). $15,000,000 for property located in Zone I for Earth Movement as described in
                                          Appendix A & B.
                                      b). NCP for property located in Zone 2 for Earth Movement as described in
                                          Appendix A & B.
                              -----'-'
           $250,000,000               FLOOD in the Annual Aggregate but not to exceed the following limits in the
                                      Annual Aggregate:
                                      a). $10,000,000 as respects Locations with any part of the legal description within a
                                          Special Flood Hazard Area (SFHA) and not otherwise listed herein.
                                      b). $50,000,000 as respects Locations with any part of the legal description within a
                                          Moderate Flood Hazard Area (MFHA) and not otherwise listed herein.
           $1,500,000,000             NAMED STORM per occurrence but not to exceed:
                                      a). $500,000,000 for property located in Zone I for Named Storm as described in
                                          Appendix C & D.
                                      b). $500,000,000 for property located in Zone 2 for Named Storm as described in
                                          Appendix C & D.

2.03.07.          Causation Definition: The following term is included in the definition of the Peril as indicated:

           Storm Surge is part of Flood

2.03.08.          Time and Distance Limitations: In addition to the Limits of Liability shown elsewhere in this Policy, the
                  following limitations apply:

           Located within I mile(s) of the Insured Location.           ATTRACTION PROPERTY
           45 day period for property within I mile(s) but not to      CIVIL OR MILITARY AUTHORITY
           exceed a $50,000,000 limit.
           30 day(s) but not to exceed a $5,000,000 limit.             The actual Time Element loss sustained by the
                                                                       Insured arising out of the Delay in Completion
           Actual Loss Sustained                                       GROSS EARNINGS
           90 day(s)                                                   EXTENDED PERIOD OF LIABILITY
           120 day(s)                                                  ORDINARY PAYROLL
           30 day period but not to exceed a $100,000 limit.           IMPOUNDED WATER
           45 day period for property within I mile(s) but not to      INGRESS/EGRESS
           exceed a $50,000,000 limit.
           NCP                                                         INTERNATIONAL INTERDEPENDENCY
           Not to exceed a $1,000,000 limit.                           INTERRUPTION BY COMMUNICABLE DISEASE
           90 day period but not to exceed a $50,000,000 limit per     NEWLY ACQUIRED
           Location.
           48 hours for Gross Earnings: not to exceed a                PROTECTION AND PRESERVATION OF
           $10,000,000 limit per Location.                             PROPERTY
           12 months but not to exceed a $5,000,000 limit.             RESEARCH AND DEVELOPMENT
                                                  ------·--------------------
           30 day period but not to exceed a $250,000 limit.           RESTORATION OF EMERGENCY GENERATORS




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                                                                                                         EDGE-D-102-B (12110)
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 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 40 of 198
2.03.09.          Time Specifications: As follows:


           EARTH MOVEMENT Occurrence                                                                 168 hours

           NAMED STORM Occurrence                                                                    72 hours

           Cancellation for non-payment of premium                                                    10 days

           Cancellation for any other reason                                                          90 days

2.03.10.         Valuation: As follows:

           Finished Stock                                                 Selling Price

           Merchandise that carries the                                   Replacement Cost
           lnsured's brand or trade name
           All other Merchandise                                          Replacement Cost

           Vehicles                                                       Actual Cash Value


2.04.            QUALIFYING PERIOD
                 For the Coverages listed below the following Qualifying Period applies:

           OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE &                                       24 Hours
           TIME ELEMENT COVERAGE applies separately at each location.
           COMPUTER SYSTEMS DAMAGE COVERAGE                                                          48 Hours

           TENANTS PROHIBITED ACCESS COVERAGE applies separately at each                             48 Hours
           location.
           NEW CONSTRUCTION AND ADDITIONS: Delay in Completion                                       30 Days
           applies separately at each location.
           INTERRUPTION BY COMMUNICABLE DISEASE applies separately at                                24 Hours
           each location.


2.05.            DEDUCTIBLES
                 Each claim for loss or damage as insured against arising out of any one (I) Occurrence shall be adjusted
                 separately. The Company shall not be liable unless the Insured sustains loss or damage in excess of the
                 deductible(s) stated below and then only for the proportionate share of such excess amount(s).

2.05.01.              A deductible that applies on a per Location basis will apply separately to each Location where the
                      physical loss or damage occurred regardless of the number of Locations involved in the Occurrence.

2.05.02.              Unless stated otherwise, if two or more deductibles apply to an Occurrence, the total deducted will
                      not exceed the largest applicable deductible. If two or more deductibles apply on a per Location
                      basis in an Occurrence, the largest deductible applying to each Location will be applied separately
                      to each such Location.




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                                                                                                       EDGE-D-102-B (12110)
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  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 41 of 198
2.05.03.             If separate Property Damage and Time Element loss deductibles are shown, then the deductibles shall
                     apply separately.

2.05.04.             When a "minimum deductible" per Occurrence is shown and is applicable to an Occurrence, the
                     "minimum deductible" is the minimum dollar amount of covered damage that the Insured will retain
                     in any one (1) Occurrence. The amount retained for purposes of applying the "minimum deductible"
                     is the sum of:

2.05.04.0 I.         the specified location deductible for each location where the amount of covered damage exceeds the
                     specified location deductible; and

2.05.04.02.          the amount of covered damage for each location where the amount of covered damage is less than
                     specified location deductible.

2.05.05.             Policy Deductible(s)
2.05.05.01.          $50,000 combined Property Damage (PD) and Time Element (TE)
                     per Occurrence except as follows:

2.05.05.02.          Exceptions to Policy Deductible(s)
                     $10,000 combined Property Damage (PD) and Time Element (TE) per Location and a $50,000
                     combined maximum per occurrence for locations identified as a Medical Office Building or
                     Physician within the Statement of Values

2.05.05.02.01.       Contingent Time Element
                     $50,000 per Location

2.05.05.02.02.       Earthquake
                     The following deductibles apply to loss or damage caused by or resulting from Earthquake. This
                     Earthquake deductible will apply regardless of any other deductibles that may also apply.
2.05.05.02.02.01     $50,000 combined Property Damage (PD) and Time Element (TE)
                     per Location except as follows:
2.05.05.02.02.02.    As respects Locations in Zone I:
2.05.05.02.02.02.01. Property Damage (PD) - 3% of the value per the most current Statement of values on file with the
                     company as of the date of loss, for the Location where the direct physical loss or damage occurred,
                     per Location.
2.05.05.02.02.02.02. Time Element (TE) - 3% of the full 12 months Gross Earnings values that would have been earned
                     following the Occurrence by use of the facilities at the Location where the direct physical loss or
                     damage occurred and all other Locations where Time Element loss ensues, per Location.

                     The value of2.05.05.02.02.02.0l. & 2.05.05.02.02.02.02. combined.
2.05.05.02.02.02.03. The above Earthquake deductibles are subject to a minimum deductible of $250,000 combined
                     Property Damage (PD) and Time Element (TE) per Occurrence.


2.05.05.02.03.       Flood
                     The following deductibles apply to loss or damage caused by or resulting from Flood. This Flood
                     deductible will apply regardless of any other deductibles that may also apply.
2.05.05.02.03.01.    $100,000 combined Property Damage (PD) and Time Element (TE)
                     per Location except as follows:



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                                                                                                     EDGE-D-102-B (12/10)
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  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 42 of 198
2.05.05.02.03.02.    As respects Locations in with any part of the legal description within a Special Flood Hazard Area
                     (SFHA):
2.05.05.02.03.02.01. Property Damage (PD) and Time Element (TE) combined - $500,000, for the Location where the
                     direct physical loss or damage occun·ed, per Location.

2.05.05.02.03.03.    As respects Locations with any part of the legal description within a Moderate Flood Hazard Area
                     (MFHA):
2.05.05.02.03.03.01. Property Damage (PD) and Time Element (TE} combined - $100,000 , for the Location where the
                     direct physical loss or damage occurred, per Location.

2.05.05.02.04.       Named Storm
                     The following deductibles apply to loss or damage caused by or resulting from Named Storm. The
                     Named Storm deductible will apply regardless of any other deductibles that may also apply.
2.05.05.02.04.01.    $50,000 combined Prope1ty Damage (PD) and Time Element (TE)
                     per Occurrence except as follows:

2.05.05.02.04.02.    As respects Locations in Zone l:
2.05.05.02.04.02.01. Property Damage (PD) - 3% of the value per the most current Statement of values on file with the
                     company as of the date of loss, for the Location where the direct physical loss or damage occurred,
                     per Location.
2.05.05.02.04.02.02. Time Element (TE) - 3% of the full 12 months Gross Earnings values that would have been earned
                     following the Occurrence by use of the facilities at the Location where the direct physical loss or
                     damage occurred and all other Locations where Time Element loss ensues, per Location.
                     The value of2.05.05.02.04.02.0l. & 2.05.05.02.04.02.02. combined.
2.05.05.02.04.02.03. The above Named Storm deductibles are subject to a minimum deductible of $250,000 combined
                     Property Damage (PD) and Time Element (TE) per Occurrence.
2.05.05.02.04.03.    As respects Locations in Zone 2:
2.05.05.02.04.03.01. Property Damage (PD) and Time Element (TE} combined - $50,000, per Occurrence.


2.05.05.02.05.       Breakdown of Equipment Deductible(s)
2.05.05.02.05.01.    $25,000 combined Property Damage (PD) and Time Element (TE)
                     per Occurrence for loss or damage caused by Breakdown;

2.05.05.02.06.       Water or Liquid Damage Deductible(s)
                     The following deductible applies to loss or damage caused by or resulting from covered water or
                     other liquids not otherwise excluded, but not caused by flood or discharge in response to a fire.
2.05.05.02.06.01.    $100,000 combined Property Damage (PD) and Time Element (TE}
                     per Occurrence for loss or damage caused by water or liquid damage;


2.05.05.02.07.       Other Deductibles
                     Not Applicable




                                                                                                      N-000020

                                                                                                    EDGE-D-102-B (12/10)
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 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 43 of 198
Authorized Representative                  Date




Print Name of Authorized Rep.              Office




                                                                  N-000021

                                                                 EDGE-D-102-B (12/10)
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 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 44 of 198
SECTION III - PROPERTY DAMAGE
 3.01.         COVERED PROPERTY
               This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, located
               at an Insured Location or within 1,000 feet thereof or as otherwise provided for in this Policy.

 3.01.01.          The Insured's interest in buildings (or structures) including new construction, additions, alterations,
                   and repairs that the Insured owns, occupies, leases or rents.

 3.01.02.          The Insured's interest in Personal Property, including Improvements and Betterments.

 3.01.03.          Property of Others will not extend any Time Element Coverage provided under this Policy to the
                   owner of the property and is limited to property:

 3.01.03.01.           In the Insured 1s care, custody or control;

 3.01.03.02.           In which the Insured has an insurable interest or obligation;

 3.01.03.03.           For which the Insured is legally liable; or

 3.01.03.04.           For which the Insured has agreed in writing prior to any loss or damage to provide coverage.

 3.01.04.          Personal Property of officers and employees of the Insured.

 3.01.05.          Patients1 personal property.

 3.02.         PROPERTY NOT COVERED
               This Policy does not insure the following property:

 3.02.01.          Money, precious metal in bullion form, notes, or Securities.

 3.02.02.          Watercraft or aircraft, except when unfueled and manufactured by the Insured.

 3.02.03.          Spacecraft, satellites, associated launch vehicles and any property contained therein.

 3.02.04.          Animals, standing timber and growing crops.

 3.02.05.          Bridges and tunnels when not part of a building or structure, dams, dikes, piers, wharfs, docks or
                   bulkheads.

 3.02.06.          Land, water or any other substance in or on land; except this exclusion does not apply to:

 3.02.06.01.           Land Improvements, or

 3.02.06.02.           Water that is contained in any enclosed tank, piping system or any other processing
                       equipment.

 3.02.07.          Land Improvements at a golf course.

 3.02.08.          Mines, mineshafts, caverns and any property contained therein.




                                                                                                            N-000022

                                                                                                        EDGE-102-B (12/10)
                                                                                                                Page 1 of 46

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 45 of 198
3.02.09.          Vehicles of officers and employees of the Insured or vehicles otherwise insured for physical loss or
                  damage.

3.02.10.          Transmission and distribution lines situated beyond 1,000 feet of the Insured Location.

3.02.11.          Property in transit, except as otherwise provided by the Transit Coverage of this Policy.

3.02.12.          Contraband or property in the course of illegal transit or trade.

3.02.13.          Property more specifically insured, except for any excess beyond such more specific insurance
                  limit.

3.02.14.          Property sold by the Insured under conditional sale, trust agreement, installment plan or other
                  deferred payment plan after delivery to customers except as provided by the Deferred Payments
                  Coverage of this Policy.

3.02.15.          Electronic Data, Programs and Software, except when they are Stock in Process, Finished
                  Stock, Raw Materials, supplies or Merchandise or as otherwise provided by the Computer
                  Systems Damage Coverage or Valuable Papers and Records Coverage of this Policy.

3.03.         EXCLUSIONS
              The following exclusions apply unless specifically stated elsewhere in this Policy:

3.03.01.          This Policy excludes the following unless it results from direct physical loss or damage not
                  excluded by this Policy.

3.03.01.01.           Contamination, and any cost due to Contamination including the inability to use or occupy
                      property or any cost of making property safe or suitable for use or occupancy, except as
                      provided by the Radioactive Contamination Coverage of this Policy.

3.03.01.02.           Changes in size, color, flavor, texture or finish.

3.03.01.03.           Loss or damage arising from the enforcement of any law, ordinance, regulation or rule
                      regulating or restricting the construction, installation, repair, replacement, improvement,
                      modification, demolition, occupancy, operation or other use, or removal including debris
                      removal of any property.

3.03.02.          This Policy excludes:

3.03.02.01.           Loss or damage arising from delay, loss of market, or loss of use.

3.03.02.02.           Indirect or remote loss or damage.

3.03.02.03.           Loss or damage arising from the interference by strikers or other persons with rebuilding,
                      repairing or replacing property or with the resumption or continuation of the Insured's
                      business.

3.03.02.04.           Unexplained disappearance; mysterious disappearance; or shortage disclosed on taking
                      inventory when the factual existence of such shortage is solely dependant on inventory
                      records.

3.03.02.05.           Loss or damage resulting from the Insured's suspension of business activities, except to the
                      extent provided by this Policy.




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                                                                                                     EDGE-102·8 (12/10)
                                                                                                          Page 2 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 46 of 198
3.03.02.06.          Any applicable Special Coverage, Described Cause of Loss, or portion of coverage if a Limit
                     of Liability is identified as NCP in Section II-Declarations.

3.03.03.         This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting
                 from any of the following regardless of any other cause or event, whether or not insured under this
                 Policy, contributing concurrently or in any other sequence to the loss:

3.03.03.01.          Nuclear reaction or radiation, any by-product of nuclear reaction, any radiological material or
                     radioactive contamination however caused; but if direct physical loss of or damage to Covered
                     Property by fire or sprinkler leakage results, the Company will pay for the loss or damage
                     caused by the fire or sprinkler leakage.

3.03.03.02.          War, invasion, act of foreign enemy, hostilities or warlike operations (whether war be declared
                     or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
                     proportions of or amounting to an uprising, military or usurped power, nationalization,
                     confiscation, requisition, seizure or destruction by the government or any public authority,
                     including action in hindering, combating or defending against any of these. However,
                     destruction by order of governmental or public authority to prevent spread of fire is covered.

3.03.03.03.          Any weapon of war or of mass destruction employing biological or chemical warfare, atomic
                     fission, atomic fusion, radioactive force or radioactive material, whether in time of peace or
                     war regardless of who commits the act.

3.03.03.04.          Dishonest, fraudulent or criminal acts by the Insured or any of the Insured1s associates,
                     proprietors, partners, officers, employees, directors, trustees or authorized representatives.

                     This exclusion does not apply to acts of direct physical loss or damage resulting from a
                     Covered Cause of Loss intentionally caused by any individual specified above and done
                     without the knowledge of the Insured. In no event does this Policy cover loss caused by theft
                     by any individual above.

3.03.03.05.          Lack of the following services when caused by an event off the Insured Location (except as
                     provided in Off Premises Service Interruption Property Damage and Time Element Coverage
                     of this Policy). However, if the lack of any of the following services results in a Covered
                     Cause of Loss, this exclusion does not apply to the loss or damage caused by the Covered
                     Cause of Loss.

3.03.03.05.01.           Incoming electricity, fuel, water, gas, steam, refrigerant;

3.03.03.05.02.           Outgoing sewage; or

3.03.03.05.03.           Incoming or outgoing voice, data or video.

3.03.04.         This Policy excludes the following but any resulting physical damage not otherwise excluded is
                 insured:

3.03.04.01.          Faulty, inadequate or defective design, specifications, workmanship, construction or materials
                     used.

3.03.04.02.          Loss or damage to stock or material attributable to manufacturing or processing operations
                     while such stock or material is being processed, manufactured, tested or otherwise worked on.

3.03.04.03.          Corrosion, depletion, deterioration, erosion, inherent vice, latent defect, rust, wear and tear.

3.03.04.04.          Changes of temperature (except to machinery or equipment) or changes in relative humidity,
                     all whether atmospheric or not.




                                                                                                         N-000024

                                                                                                       EDGE-102-B (12110)
                                                                                                              Page 3 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 47 of 198
3.03.04.05.     Settling, cracking, shrinking, bulging or expansion of: foundations (including any pedestal,
                pad, platform or other property supporting machinery), floors, pavements, walls, ceilings or
                roofs.

3.03.04.06.     Insects, animals or vermin damage.

3.03.04.07.     Cumulative effects of smog, smoke, vapor, liquid and dust.




                                                                                            N-000025

                                                                                          EDGE-102-B (12/10)
                                                                                                Page 4 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 48 of 198
SECTION IV - TIME ELEMENT
 4.01.         LOSS INSURED
 4.01.01.        The Company will pay for the actual Time Element loss the Insured sustains, as provided in the
                 Time Element Coverages, during the Period of Liability. The Time Element loss must result from
                 the necessary Suspension of the Insured's business activities at an Insured Location. The
                 Suspension must be due to direct physical loss of or damage to Property (of the type insurable
                 under this Policy other than Finished Stock) caused by a Covered Cause of Loss at the Location,
                 or as provided in Off Premises Storage for Property Under Construction Coverages.

                 The Company will also pay for the actual Time Element loss sustained by the Insured, during the
                 Period of Liability at other Insured Locations. The Time Element loss must result from the
                 necessa1y Suspension of the Insured1s business activities at the other Insured Locations. Such
                 other Location must depend on the continuation of business activities at the Location that
                 sustained direct physical loss or damage caused by a Covered Cause of Loss.

 4.01.02.        There is recovery only to the extent that the Insured is:

 4.01.02.01.         unable to make up lost production within a reasonable period of time not limited to the period
                     during which production is Suspended;

 4.01.02.02.         unable to continue such operations or services during the Period of Liability; and

 4.01.02.03.         able to demonstrate a loss of revenue for the operations, services or production Suspended.

 4.01.03.        The Company insures Time Element loss only to the extent it cannot be reduced by:

 4.01.03.01.         The Insured resuming business activities in whole or part;

 4.01.03.02.         Using damaged or undamaged property (including Raw Stock, Stock in Process or Finished
                     Stock) at the Insured Location or elsewhere;

 4.01.03.03.         Using the services or property of others;

 4.01.03.04.         Working extra time or overtime; or

 4.01.03.05.         The use of other Locations not covered under this Policy.

 4.01.03.06.         Any amount recovered under property damage coverage at selling price for loss or damage to
                     Merchandise.

 4.01.04.        The Company will include in any calculation the combined operating results of all Insured
                 Locations in determining the Time Element loss.

 4.01.05.        In determining the Time Element loss, the Company will evaluate the experience of the business
                 before and after the loss or damage and the probable experience had no direct physical loss or
                 damage occurred at an Insured Location during the Period of Liability.

 4.02.         TIME ELEMENT COVERAGES
 4.02.01.        GROSS EARNINGS-

 4.02.01.01.         Gross Earnings loss is the actual loss sustained by the Insured during the Period of Liability.




                                                                                                      N-000026

                                                                                                    EDGE-102-B (12110)
                                                                                                           Page 5 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 49 of 198
4.02.01.02.              Gross Ea1nings value is determined as follows:

4.02.01.02.01.               The sum of:

4.02.01.02.01.0 I.                In-patient services, out-patient services, and ambulance services;

4.02.01.02.01.02.                 Total net sales of Merchandise including that sold in gift shops and the cafeteria;

4.02.01.02.01.03.                 The rental income; and

4.02.01.02.01.04.                Other income derived from the lnsured's business activities including but not limited
                                 to grant and research income, tuition and fee income, fund raising income and
                                 donations.

4.02.01.02.02.               Less the cost of the following:

4.02.01.02.02.01.                 Contractual adjustments, bad debt, free services or any other discounts;

4.02.01.02.02.02.                Supplies consisting of materials consumed directly in supplying the service(s) sold by
                                 the Insured;

4.02.01.02.02.03.                Merchandise sold, including related packaging materials; and

4.02.01.02.02.04.                Service(s) purchased from outsiders (not lnsured 1s employees) for resale, which do
                                 not continue under contract.

4.02.01.02.03.               Gross Ea1nings loss is determined as follows:

                             Gross Earnings value that would have been earned during the Period of Liability, less
                             charges and expenses that do not necessarily continue during the Period of Liability.

                             Consideration shall be given to the continuation of normal charges and expenses,
                             including Ordinary Payroll for the number of consecutive days as stated in the
                             Declarations but not to exceed the limit shown for Ordinary Payroll, to the extent
                             necessary to resume the Insured's business activities with the same quality of service that
                             existed immediately preceding the loss.

4.02.01.02.04.               This Policy will also pay the reasonable and necessary expenses incurred (except the cost
                             to extinguish a fire) by the Insured to reduce the amount of Gross Earnings loss during
                             the Period of Liability. This Policy will pay for such expenses to the extent that they do
                             not exceed the amount of Gross Earnings loss that otherwise would have been payable.
                             This provision will not pay for the cost of permanent repair or replacement of property
                             that has suffered direct physical loss or damage.

4.02.01.02.05.               This Policy will also pay the increased tax liability incurred by the Insured due to the
                             profit portion of a Gross Earnings loss payment being greater than the tax liability
                             incurred on the profits that would have been earned had no loss occurred ..

4.02.02.             EXTENDED PERIOD OF LIABILITY
                     Upon the termination of the coverage for Gross Earnings loss under 4.02.01.01. this Policy will
                     continue to pay the actual Gross Earnings loss sustained by the Insured until the earlier of:




                                                                                                         N-000027

                                                                                                       EDGE-102-B (12/10)
                                                                                                             Page 6 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 50 of 198
4.02.02.0 I.       The date the Insured could restore its business with due diligence, to the condition that would
                   have existed had no direct physical loss or damage occurred to the lnsured1s Covered Property;
                   or

4.02.02.02.        The number of consecutive days as stated in the Declarations

4.02.02.03.        Exclusion 4.02.05.01.02.01. is deleted during the Extended Period of Liability and is
                   replaced with:

                   4.02.05.01.02.01.           A reduction in sales after the Extended Period of Liability ends due
                                              to suspension, cancellation or lapse of any lease, contract, license or
                                              orders.

4.02.03.       EXTRA EXPENSE
               The Company will pay for the reasonable and necessary Extra Expenses incurred by the Insured,
               including the cost to remove and return patients, during the Period of Liability, to resume and
               continue as nearly as practicable the Insured1s normal business activities that otherwise would be
               necessarily suspended, due to direct physical loss of or damage caused by a Covered Cause of
               Loss to Property of the type insurable under this policy at a Location.

               The Company will reduce the amount payable as Extra Expense by the fair market value remaining
               at the end of the Period of Liability for property obtained in connection with the above.

               Extra Expenses mean that amount spent to continue the Insured 1s business activities over and above
               the expenses the Insured would have normally incurred had there been no direct physical loss of or
               damage caused by a Covered Cause of Loss to Property of the type insurable under this policy at
               a Location. Extra Expense does not include any Gross Earnings loss, the cost of permanent repair
               or replacement of property that has suffered direct physical loss or damage, or expenses otherwise
               payable elsewhere in the Policy.

4.02.04.       LEASEHOLD INTEREST
               The Company will pay for the actual Leasehold Interest loss incurred by the Insured (as lessee)
               resulting from direct physical loss of or damage caused by a Covered Cause of Loss to a building
               (or structure) which is leased and not owned by the Insured, as follows:

4.02.04.01.        If the building (or structure) becomes wholly untenantable or unusable and the lease
                   agreement requires continuation of the rent, the Company will pay the Insured the present
                   value of the actual rent payable for the unexpired term of the lease, not including any options;

4.02.04.02.        If the building (or structure) becomes partially untenantable or unusable and the lease
                   agreement requires continuation of the rent, the Company will pay the Insured for the present
                   value of the proportionate amount of the actual rent payable for the unexpired term of the
                   lease, not including any options; or

4.02.04.03.        If the lease is cancelled by the lessor pursuant to the terms of the lease agreement or by
                   operation of law, this Policy will pay the Insured for their Lease Interest for the first three (3)
                   months following the loss or damage and for their Net Lease Interest for the remaining
                   unexpired term of the lease.

4.02.04.04.        The Insured must use any suitable property or service owned, controlled, or obtainable from
                   any source to reduce the loss.




                                                                                                      N-000028

                                                                                                    EDGE-102-B (12/10)
                                                                                                           Page 7 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 51 of 198
4.02.04.05.              In addition to the exclusions elsewhere in this Policy the Leasehold Interest Coverage
                         excludes:

4.02.04.05.01.               Any increase in the Leasehold Interest loss resulting from the suspension, lapse or
                             cancellation of any lease;

4.02.04.05.02.               Any loss from the Insured exercising an option to cancel the lease; or

4.02.04.05.03.               Any loss from an act or omission by the Insured that constitutes default under the lease.

4.02.05.             EXCLUSIONS
                     In addition to the exclusions elsewhere in this Policy, the following exclusions apply to Time
                     Element Coverage;

4.02.05.01.              This Policy does not insure against

4.02.05.01.0 I.              Any loss during any idle period that would have been experienced had the Suspension of
                             business activities not occurred. This includes, but is not limited to, when production,
                             operation, services, delivery or receipt of goods or services or any other business activities
                             would have ceased, or would not have taken place or would have been prevented due to:

4.02.05.01.01.0 I.               Planned or rescheduled shutdown;

4.02.05.01.01.02.                Strikes or other work stoppage; or

4.02.05.01.01.03.                Any reason other than physical loss or damage insured by this Policy.

4.02.05.01.02.               Any increase in Time Element loss due to:

4.02.05.01.02.0 I.               Suspension, cancellation or lapse of any lease, contract, license or orders;

4.02.05.01.02.02.                Fines or damages for breach of contract or for late or non-completion of orders;

4.02.05.01.02.03.                Penalties of any nature; or

4.02.05.01.02.04.                Any other consequential or remote factors.

4.02.05.01.03.               Any loss resulting from loss or damage to Finished Stock, nor the time required for their
                             reproduction.

4.02.05.01.04.               Any Time Element loss due to physical loss or damage not insured by this Policy on or
                             off of the Insured Location.

                             However, in the event that a Suspension is due to a Covered Cause of Loss and during
                             such Suspension a loss that is otherwise excluded occurs, the Company will pay for the
                             Time Element loss which is directly caused by the Covered Cause of Loss to Covered
                             Property under this Policy.

4.02.05.01.05.               Any Time Element loss resulting from damage to Property of Others; however this
                             exclusion does not apply to Time Element loss suffered by the Insured as a direct result of
                             the damage to Property of Others.




                                                                                                          N-000029

                                                                                                        EDGE-102-8 (12/10)
                                                                                                                Page 8 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 52 of 198
4.03.          PERIOD OF LIABILITY
4.03.01.         The Period of Liability applying to all Time Element Coverages, except Leasehold Interest, and as
                 shown below or if otherwise provided under any Special Coverage, and subject to any Time Limit
                 provided in 2.03.08., is as follows:

4.03.01.01.          For building and equipment: The period starting from the time of physical loss or damage of
                     the type insured against and ending when with due diligence and dispatch the building and
                     equipment could be repaired or replaced, and made ready for operations under the same or
                     equivalent physical and operating conditions that existed prior to the damage. The expiration
                     of this Policy will not limit the Period of Liability.

 4.03.01.02.         For building and equipment under construction: The equivalent of the above period of time
                     will be applied to the level of business that reasonably would have been achieved after
                     construction and startup would have been completed had there been no direct physical loss or
                     damage.    Due consideration will be given to the actual experience of the business after
                     completion of the construction and startup.

4.03.01.03.          For Stock in Process and Merchandise: The period of time required with the exercise of due
                     diligence and dispatch to restore Stock in Process to the same state of manufacture in which it
                     stood at the inception of the interruption of production or suspension of business operations or
                     services and to replace physically damaged Merchandise.

4.03.01.04.          For Raw Materials and supplies: The period of time of actual interruption of production or
                     suspension of operations or services resulting from the inability to get suitable Raw Materials
                     and supplies to replace Raw Materials and supplies damaged, but limited to that period for
                     which the damaged Raw Materials and supplies would have supplied operating needs.

4.03.02.         The Period of Liability applying to all Time Element Coverage, except Leasehold Interest, or if
                 otherwise provided under any Special Coverage, and subject to any Time Limit provided in
                 2.03.08., does not include any additional time due to the Insured's inability to resume operations
                 for any reason, including but not limited to:

4.03.02.01.          Making changes to equipment;

4.03.02.02.          Making changes to the buildings or structures except as provided in the Increased Costs of
                     Construction Coverage of the Special Coverages section; or

4.03.02.03.          Re-staffing or retraining employees.




                                                                                                     N-000030

                                                                                                   EDGE-102-B (12/10)
                                                                                                          Page 9 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 53 of 198
SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS
 5.01.         OPERATION OF SPECIAL COVERAGES & DESCRIBED CAUSES
               OF LOSS:
 5.01.01.        Special Coverages & Described Causes of Loss are subject to the applicable Limit of Liability
                 and are included within and will not increase the Policy Limit.

 5.01.02.        Special Coverages & Described Causes of Loss are subject to the Policy provisions, including
                 applicable exclusions and deductibles, all as shown in this section and elsewhere in this Policy,
                 whether or not a Limit of Liability is shown.

 5.01.03.        If coverage is afforded under any Special Coverage or Described Cause of Loss, the applicable
                 Limit of Liability for that Special Coverage or Described Cause of Loss is the most the Company
                 will pay for all the loss or damage described therein even if coverage would otherwise be available
                 under any other part of this Policy.

 5.01.04.        If no Limit of Liability is shown in this Policy, the Limit of Liability for that Special Coverage or
                 Described Cause of Loss is part of the Policy Limit.

 5.01.05.        If NCP is shown for any Special Coverage or Described Cause of Loss in this Policy, then no
                 coverage is provided for that Special Coverage or Described Cause of Loss.

 5.01.06.        If two or more Limits of Liability apply to a claim for loss or damage, or some part thereof, the
                 lesser applicable Limit of Liability shall apply to the claim, or to the part thereof.

 5.01.07.        The Company will pay no more in any one ( 1) Occurrence than our proportionate share of any
                 applicable Limit of Liability regardless of the number of Locations affected by such Occurrence
                 and regardless of whether additional or greater limits would otherwise be available under any other
                 part of this Policy.

 5.01.08.        Any Annual Aggregate limit is the most the Company will pay in the Policy Year regardless of
                 the number of Occurrences.

 5.01.09.        In the event of loss or damage involving any one or more of the following Special Coverage or
                 Described Causes of Loss, the Company will pay no more for the total of all such coverage
                 combined than our proportionate share of the Policy Limit.

 5.02.         DESCRIPTION OF SPECIAL COVERAGES
 5.02.01.        ACCOUNTS RECEIVABLE
                 The Company will pay for the actual loss sustained resulting from direct physical loss of or
                 damage caused by a Covered Cause of Loss to the Insured's accounts receivable records as
                 respects the following:

 5.02.01.01.         All sums due the Insured from customers, provided the Insured is unable to collect these sums
                     as a result of direct physical loss or damage to accounts receivable records;

 5.02.01.02.         Interest charges on any loan obtained by the Insured to offset impaired collections resulting
                     from direct physical loss of or damage to accounts receivable records but only for such period
                     of time reasonable and necessary for the Insured to resume normal collections;




                                                                                                      N-000031

                                                                                                    EDGE-102-B (12/10)
                                                                                                          Page 10 of 46

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 54 of 198
5.02.01.03.          Necessary collection expense in excess of normal collection cost due to direct physical loss of
                     or damage to accounts receivable records; and

5.02.01.04.          Other expenses, when reasonably incurred by the Insured in re-establishing accounts
                     receivable records following direct physical loss of or damage to accounts receivable records.

5.02.01.05.          For the purpose of this insurance, credit card charge records shall be deemed to represent sums
                     due the Insured from customers, until the charge records are delivered to the credit card
                     company.

5.02.01.06.          When there is proof that direct physical loss of accounts receivable records has occurred and
                     the Insured cannot accurately establish the total amount of accounts receivable outstanding as
                     of the date of loss, the amount payable shall be computed as follows:

5.02.01.06.01.            The monthly average of accounts receivable during the last available twelve ( 12) months;
                          the reasonable and necessary collection expenses in excess of no1mal collection costs due
                          to direct physical loss of or damage to accounts receivable records; and the reasonable
                          and necessary expenses incutTed in reestablishing accounts receivable records following
                          direct physical loss or damage, shall be adjusted in accordance with the percentage
                          increase or decrease in the twelve (12) months average of monthly gross revenues which
                          may have occurred in the interim.

5.02.01.06.02.            The monthly amount of accounts receivable as established in 5.02.01.06.01.above shall be
                          further adjusted in accordance with any demonstrable variance from the average for the
                          particular month in which the loss occurred. Consideration will also be given to the
                          normal fluctuations in the amount of accounts receivable within the fiscal month
                          involved.

5.02.01.06.03.           The Company shall deduct from the total amounts of account receivable, the amount of
                         accounts evidenced by records not lost or damaged, or otherwise established or collected
                         by the Insured, and an amount to allow for probable bad debts which the Insured normally
                         would have been unable to collect and for the normal collection costs incurred due to
                         accounts receivable.


5.02.01.07.          The following additional exclusion applies:

                     This Coverage does not insure against shortage resulting from bookkeeping, accounting,
                     billing errors or omissions, alteration, falsification, manipulation, concealment, destruction or
                     disposal of accounts receivable records committed to conceal the wrongful giving, taking,
                     obtaining or withholding of money, securities or other property; but only to the extent of such
                     wrongful giving, taking, obtaining or withholding.

5.02.02.         AMMONIA CONTAMINATION
                 In the event of direct physical loss of or damage to Covered Property caused by a Breakdown of
                 Covered Equipment at a Scheduled Location, the Company will pay for resulting Ammonia
                 Contamination.

5.02.03.         CIVIL OR MILITARY AUTHORITY
                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by
                 this Policy, resulting from the necessary Suspension of the Insured's business activities at an
                 Insured Location if the Suspension is caused by order of civil or military authority that prohibits
                 access to the Location. That order must result from a civil authority's response to direct physical




                                                                                                      N-000032

                                                                                                    EDGE-102-B (12110)
                                                                                                           Page 11 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 55 of 198
                 loss of or damage caused by a Covered Cause of Loss to property not owned, occupied, leased or
                 rented by the Insured or insured under this Policy and located within the distance of the Insured1s
                 Location as stated in the Declarations. The Company will pay for the actual Time Element loss
                 sustained, subject to the deductible provisions that would have applied had the physical loss or
                 damage occurred at the Insured Location, during the time the order remains in effect, but not to
                 exceed the number of consecutive days following such order as stated in the Declarations up to the
                 limit applying to this Coverage.

5.02.04.         COMPUTER SYSTEMS DAMAGE
                 The Company will pay for direct physical loss of or damage to the lnsured's Electronic Data,
                 Programs, Software and the actual Time Element loss sustained, as provided by this Policy,
                 during the Period of Interruption directly resulting from mysterious disappearance of code, any
                 failure, malfunction, deficiency, deletion, fault, Computer Virus or corruption to the Insured's
                 Electronic Data, Programs, Software at an Insured Location. The Company will also pay for
                 such loss or damage that may arise out of or result from any authorized or unauthorized access in,
                 of, or to any computer, communication system, file server, networking equipment, computer
                 system, computer hardware, data processing equipment, computer memory, microchip,
                 microprocessor, integrated circuit or similar device.

                 This Coverage will only apply when the Period of Interruption exceeds the time shown as
                 Qualifying Period in the Qualifying Period clause of the Declarations section. If the Qualifying
                 Period is exceeded, then this Policy will pay for the amount of loss in excess of the Policy
                 Deductible, but not more than the limit applying to this Coverage.

5.02.04.0 l.         The following additional exclusions apply:

5.02.04.01.01.           The Company will not pay for any loss or damage to Electronic Data, Programs or
                         Software when they are Raw Stock, Stock in Process, Finished Stock manufactured by
                         the Insured, and supplies or other Merchandise.

5.02.04.01.02.           Errors or omissions in processing or copying, except when direct physical loss or
                         damage caused by a Covered Cause of Loss results. Then only that resulting
                         damage is covered.

5.02.04.01.03.           Loss or damage to Electronic Data, Programs or Software from errors or omissions in
                         programming or machine instructions.

5.02.05.         CONTINGENT TIME ELEMENT
                 This Policy covers the actual Time Element loss as provided by the Policy, sustained by the
                 Insured during the Period of Liability directly resulting from the necessary Suspension of the
                 Insured1s business activities at an Insured Location if the Suspension results from direct physical
                 loss of or damage caused by a Covered Cause of Loss to Property (of the type insurable under
                 this Policy) at Direct Dependent Time Element Locations, Indirect Dependent Time Element
                 Locations, and Attraction Properties located worldwide, except for loss or damage in the
                 following:

                 Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                 -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                 Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                 Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                 Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                 Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                 Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,




                                                                                                     N-000033

                                                                                                   EDGE-102-B (12110)
                                                                                                         Page 12 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 56 of 198
                 Palestine, Reunion, Rwanda, Sao Tome and Principe, Senegal, Serbia, Sierra Leone, Somalia, Sri
                 Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo,
                 Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                 Any other country where prohibited by United States law or where trade relations are unlawful as
                 determined by the Government of the United States of America or its agencies.

5.02.05.01.          As respects Contingent Time Element:

5.02.05.01.01.           The Insured will influence and cooperate with the Direct Dependent Time Element
                         Locations, Indirect Dependent Time Element Locations, and Attraction Properties in
                         every way and take any reasonable and necessary action, including the use of other
                         machinery, supplies or locations, to mitigate the loss payable hereunder.

5.02.05.01.02.           In determining the indemnity payable hereunder, the Company will consider the
                         amount of income derived before the date of physical loss or damage and the
                         probable amoun:t of income after the date of loss or damage.

5.02.05.01.03.           4.02.05.01.03. does not apply.

5.02.05.02.          Any Time Element loss directly or indirectly caused by or resulting from any Terrorist
                     Activity regardless of any other cause or event, whether or not insured under this Policy,
                     contributing concurrently or in any other sequence to the loss is excluded when the Direct
                     Dependent Time Element Locations, Indirect Dependent Time Element Locations, and
                     Attraction Properties is outside of the USA, its territories, possessions and missions, and the
                     Commonwealth of Puerto Rico.

5.02.05.03.          As respects Indirect Dependent Time Element Locations and Attraction Properties any
                     Time Element loss resulting from physical loss or damage caused by or resulting from
                     Earthquake, Flood, or Named Storm regardless of any other cause or event, whether or not
                     insured under this Policy, contributing concurrently or in any other sequence to the loss is
                     excluded.

5.02.06.         DEBRIS REMOVAL
                 This Policy covers the reasonable and necessary costs incurred to demolish and remove debris of
                 property from an Insured Location that remains following direct physical loss or damage resulting
                 from a Covered Cause of Loss. This includes the cost to demolish the physically undamaged
                 portion of such property insured due to the enforcement of any law or ordinance regulating the
                 demolition, construction, repair, replacement or use of buildings or structures at an Insured
                 Location.

5.02.06.01.          This Coverage does not insure the costs to remove:

5.02.06.01.01.           Property Not Covered that is Contaminated; or

5.02.06.01.02.           The Contaminant in or on Property Not Covered, whether or not the Contamination
                         results from direct physical loss or damage caused by a Covered Cause of Loss. This
                         Coverage shall cover the costs of removal of contaminated Covered Property or the
                         Contaminant in or on Covered Property only if the Contamination, due to the actual not
                         suspected presence of Contaminant(s), of the debris resulted from direct physical loss or
                         damage caused by a Covered Cause of Loss.




                                                                                                    N-000034

                                                                                                  EDGE-102-B (12110)
                                                                                                        Page 13 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 57 of 198
5.02.07.          DECONTAMINATION COSTS
                  If Covered Property is Contaminated from direct physical loss of or damage caused by a
                  Covered Cause of Loss to Covered Property and there is in force at the time of the loss any law
                  or ordinance regulating Contamination due to the actual not suspected presence of
                  Contaminant(s), then this Policy covers, as a direct result of enforcement of such law or
                  ordinance, the increased cost of decontamination and/or removal of such Contaminated Covered
                  Property in a manner to satisfy such law or ordinance. This Coverage applies only to that part of
                  Covered Property so Contaminated due to the actual not suspected presence of Contaminant(s)
                  as a result of direct physical loss or damage. The Company is not liable for the costs required for
                  removing Contaminated uninsured property nor the Contaminant therein or thereon, whether or
                  not the Contamination results from a Covered Cause of Loss.

5.02.08.          DEFERRED PAYMENTS
                  This Policy will pay for direct physical loss of or damage caused by a Covered Cause of Loss, to
                  Personal Property (of the type insurable under this Policy). Such property must be sold by the
                  Insured under a conditional sale, trust agreement, or installment or deferred payment plan. Such
                  property must have been delivered to the buyer. Coverage is limited to the unpaid balance for
                  such property.

                  In the event of loss to property sold under deferred payment plans, the Insured will use all
                  reasonable efforts, including legal action, if necessary, to collect outstanding amounts due or to
                  regain possession of the property.

5.02.08.01.           Under this Coverage the Policy excludes loss or damage:

5.02.08.01.0 I.            Pertaining to products recalled including, but not limited to, the costs to recall, test or to
                           advertise such recall by the Insured;

5.02.08.01.02.            From theft or conversion by the buyer of the property after the buyer has taken possession
                          of such property;

5.02.08.01.03.            To the extent the buyer continues payments; or

5.02.08.01.04.             Not within the covered Territory of this Policy.

5.02.09.          ERRORS AND OMISSIONS
                  The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                  to property which is not payable under this Policy because of an error or unintentional omission at
                  the time of Policy inception in the description or inclusion of any Location owned, occupied,
                  leased or rented by the Insured to be Covered Prnperty; but only to the extent this Policy would
                  have provided coverage had the error or unintentional omission not been made.

                  The Policy also covers the actual Time Element loss sustained by the Insured, during the Period of
                  Liability resulting from the necessary Suspension of the lnsured's business activities at that
                  Location, if the Suspension is caused by direct physical loss of or damage caused by a Covered
                  Cause of Loss to such Property.

                  The Insured must report any error or unintentional omission as soon as possible.

5.02.09.01.           This Coverage does not apply:




                                                                                                         N-000035

                                                                                                       EDGE-102-B (12/10)
                                                                                                              Page 14 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 58 of 198
5.02.09.01.01.            If there is coverage available under Newly Acquired Coverage or Miscellaneous Unnamed
                          Locations Coverage of this Policy; or

5.02.09.01.02.            For any error or omission in limits or deductibles.

5.02.10.         EXPEDITING COSTS
                 This Policy covers the reasonable and necessary costs incurred to pay for the temporary repair of
                 direct physical loss of or damage caused by a Covered Cause of Loss to Covered Property and to
                 expedite the permanent repair or replacement of such damaged property.

                 This Coverage excludes costs recoverable elsewhere in this Policy, or of permanent repair or
                 replacement of damaged property.

5.02.11.         FINE ARTS
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to Fine Arts at an Insured Location.

5.02.11.01.          This Policy excludes loss or damage to Fine Arts directly or indirectly caused by or resulting
                     from the following regardless of any other cause or event, whether or not insured under this
                     Policy, contributing concurrently or in any other sequence to the loss:

5.02.11.01.01.            Breakage of bric-a-brac, glassware, marble, porcelain, statuary, and similar fragile
                          property resulting from the article being dropped or knocked over, whether intentional or
                          accidental;

5.02.11.01.02.            Any repairing, restoring or retouching process; or

5.02.11.01.03.            Any pre-existing condition.

5.02.12.         FIRE DEPARTMENT SERVICE CHARGE
                 The Company will pay for the reasonable additional expenses, resulting from costs of fire
                 extinguishing materials expended, incurred by the Insured when the Fire Department is called to
                 save or protect Covered Property from a Covered Cause of Loss at an Insured Location. The Fire
                 Department Service Charges are those assumed by contract or agreement prior to loss or damage or
                 required by local ordinance.

5.02.13.         IMPOUNDED WATER
                 The Company will pay for the actual Time Element loss as provided by this Policy, sustained by
                 the Insured during the Period of Liability resulting from the necessary Suspension of the Insured1s
                 business activities at an Insured Location if the Suspension is caused by the lack of a supply of
                 water from a water supply stored behind dams or in reservoirs on the Insured Location. The water
                 supply must be used as a Raw Material or for generation of power or for other manufacturing
                 purposes. The inadequate supply of water must result from the release of the water from the water
                 supply and be caused by direct physical loss of or damage caused by a Covered Cause of Loss to
                 the dam, reservoir, or connected equipment. The Company will pay for the actual Time Element
                 loss sustained, in excess of the applicable deductible, but not to exceed the number of consecutive
                 days as stated in the Declarations after the damaged dam, reservoir or connected equipment has
                 been repaired or replaced, with the exercise of due diligence and dispatch, up to the limit applying
                 to this Coverage.




                                                                                                     N-000036

                                                                                                   EDGE-102-B (12/10)
                                                                                                          Page 15 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 59 of 198
5.02.14.         INCREASED COST OF CONSTRUCTION
5.02.14.01.          This Policy covers the reasonable and necessary costs incurred, described in 05.02.14.03., to
                     satisfy the minimum requirements of the enforcement of any law or ordinance regulating the
                     demolition, construction, repair, replacement or use of buildings or structures at an Insured
                     Location, provided:

5.02.14.01.01.            Such law or ordinance is in force on the date of direct physical loss of or damage caused
                          by a Covered Cause of Loss to Covered Property; and

5.02.14.01.02.            Its enforcement is a direct result of direct physical loss of or damage caused by a Covered
                          Cause of Loss to Covered Property.

5.02.14.02.          This Coverage does not cover loss due to any law or ordinance with which the Insured was
                     required to comply before the loss, even when the building was undamaged, and the Insured
                     did not comply.

5.02.14.03.          This Coverage, as respects the property insured in 5.02.14.01., covers:

5.02.14.03.01.           The increased cost to repair or rebuild the physically damaged portion of such property
                         with materials and in a manner to satisfy such law or ordinance; and

5.02.14.03.02.           The increased cost to rebuild physically undamaged property that has been demolished
                         with materials and in a manner to satisfy such law or ordinance, to the extent that such
                         costs result when the demolition of the insured property is required to satisfy such law or
                         ordinance.

5.02.14.03.03.           This Coverage applies only to the costs described in 5.02.14.03. The portion of the cost to
                         repair, rebuild or replace property with property of like kind and quality is not part of this
                         Coverage and is to be considered direct physical loss of or damage under 1.01.

5.02.14.04.          This Coverage excludes any costs incurred as a direct or indirect result of enforcement of
                     any laws or ordinances regulating any form of Contamination.

5.02.14.05.          The Company's maximum liability for this Coverage in any Occurrence will not exceed the
                     actual cost incurred in 5.02.14.03. up to the limit applying to this Coverage.

5.02.15.         INGRESS/EGRESS
                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by
                 this Policy, resulting from the necessary Suspension of the lnsured's business activities at an
                 Insured Location if ingress or egress to that Insured Location by the Insured's suppliers, customers
                 or employees is prevented by physical obstruction due to direct physical loss of or damage caused
                 by a Covered Cause of Loss to property not owned, occupied, leased or rented by the Insured or
                 insured under this Policy and located within the distance of the Insured Location as stated in the
                 Declarations. The Company will pay for the actual Time Element loss sustained, subject to the
                 deductible provisions that would have applied had the physical loss or damage occurred at the
                 Insured Location, during the time ingress or egress remains prevented by physical obstruction but
                 not to exceed the number of consecutive days as stated in the Declarations following such
                 obstruction up to the limit applying to this Coverage.

5.02.16.         INTERNATIONAL INTERDEPENDENCY
                 The Company will pay for the actual Time Element loss sustained by the Insured, as provided by
                 this Policy, resulting from the necessary suspension of the Insured's business activities at an
                 Insured Location, if the suspension is caused by direct physical loss ofor damage to Property (of




                                                                                                       N-000037

                                                                                                     EDGE-102-B (12/10)
                                                                                                           Page 16 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 60 of 198
                 the type insurable under this Policy other than Finished Stock) caused by a CoveredCause of
                 Loss at a Location, that would be an Insured Location if it were located in the Coverage Territory
                 of this Policy.

                 The Location that sustains direct physical loss or damage cannot be located within the Coverage
                 Territory of this Policy and is located anywhere in the world, except for:

                 Afghanistan, Albania, Algeria, Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkina
                 -Faso, Burundi, Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of
                 Congo, Democratic Republic of the Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia,
                 Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia, Haiti, Iran, Iraq, Ivory Coast,
                 Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan(Kyrgyz Republic), Laos, Lebanon,
                 Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
                 Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan,
                 Palestine, Reunion, Rwanda, Sao Tome and Principe, Senegal, Serbia, Sierra Leone, Somalia, Sri
                 Lanka, Southern Sudan, Sudan, Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan,
                 Uganda,' Uzbekistan, Western Sahara, Yemen, Zambia, Zimbabwe; or

                 Any other country where prohibited by United States law or where trade relations are unlawful as
                 determined by the Government of the United States of America or its agencies.

                 The Insured Location must depend on the continuation of business activities at the Location that
                 sustained direct physical loss or damage caused by a Covered Cause of Loss. The Company will
                 pay for the actual Time Element loss sustained, in excess of the Policy Deductible, but not to
                 exceed the number of consecutive days following such suspension as stated in the Declarations up
                 to the limit applying to this Coverage.

5.02.16.01.      Any Time Element loss directly or indirectly caused by or resulting from any Terrorist Activity
                 regardless of any other cause or event, whether or not insured under this Policy, contributing
                 concurrently or in any other sequence to the loss is excluded when the Location, that would be an
                 Insured Location ifit were located in the Coverage Territory of this Policy is outside of the USA,
                 its territories, possessions and missions, and the Commonwealth of Puerto Rico.

5.02.17.         LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                 DISPOSAL
                 This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal of the
                 actual not suspected presence of Contaminant(s) from uninsured property consisting of land,
                 water or any other substance in or on land at the Insured Location if the release, discharge or
                 dispersal of such Contaminant(s) is a result of direct physical loss of or damage caused by a
                 Covered Cause of Loss to Covered Property.

5.02.17.01.          This Policy excludes the cost to cleanup, remove and dispose of Contaminant(s) from such
                     property:

5.02.17.01.01.           At any Location where the building or structure is not insured by this Policy;

5.02.17.01.02.           At any property insured under Newly Acquired, Errors and Omissions or Miscellaneous
                         Unnamed Location Coverage provided by this Policy; or

5.02.17.01.03.           When the Insured fails to give written notice of loss to the Company within 180 days
                         after inception of the loss.




                                                                                                    N-000038

                                                                                                  EDGE-102-B (12/10)
                                                                                                        Page 17 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 61 of 198
5.02.18.         LAND IMPROVEMENTS
                 The Company will pay for the additional cost of reclaiming, restoring or repamng Land
                 Improvements resulting from direct physical loss of or damage caused by a Covered Cause of
                 Loss to Covered Property at an Insured Location.

5.02.18.01.          As respects lawns, plants, shrubs or trees direct physical loss or damage directly or indirectly
                     caused by or resulting from Earthquake, Flood, or Named Storm regardless of any other
                     cause or event, whether or not insured under this Policy, contributing concurrently or in any
                     other ·sequence to the loss is excluded.

5.02.19.         MISCELLANEOUS PERSONAL PROPERTY
                 The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                 to the following property while within the coverage territory but away from an Insured Location.

5.02.19.01.          The Insured1s interest in Personal Property; and

5.02.19.02.          Property of Others that is:

5.02.19.02.01.           In the Insured 1s care, custody or control;

5.02.19.02.02.           In which the Insured has an insurable interest or obligation;

5.02.19.02.03.           For which the Insured is legally liable; or

5.02.19.02.04.           For which the Insured has agreed in writing prior to any loss or damage to provide
                         coverage.

5.02.19.02.05.           This Coverage excludes property in transit or insured under any other coverage in this
                         Policy.

5.02.20.         MISCELLANEOUS UNNAMED LOCATIONS

5.02.20.01.          The Company will pay for:

5.02.20.01.01.           Direct physical loss of or damage caused by a Covered Cause of Loss at a
                         Miscellaneous Unnamed Location; and

5.02.20.01.02.           The actual Time Element loss sustained by the Insured, during the Period of Liability,
                         resulting from the Suspension of the Insured1s business activities if such Suspension is
                         caused by direct physical loss or damage caused by a Covered Cause of Loss;

5.02.20.02.          To the following:

5.02.20.02.01.           Covered Property at a Miscellaneous Unnamed Location that has been reported to the
                         Insurer, but agreed by the Insurer not to be scheduled;

5.02.20.02.02.           Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                         the Insurer and is under the Insured1s care, custody and control; or

5.02.20.02.03.           Covered Property at a Miscellaneous Unnamed Location that has not been reported to
                         the Insurer and is not under the Insured1s care, custody and control.

5.02.20.03.          This Coverage will not apply for loss or damage that is payable under any other provision in
                     this Policy.



                                                                                                     N-000039

                                                                                                   EDGE-102-B (12/10)
                                                                                                         Page 18 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 62 of 198
5.02.21.      NEWLY ACQUIRED
              The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
              to property ( of the type insurable under this Policy), at any Location purchased, leased or rented
              by the Insured after the inception date of this Policy. This Coverage applies from the date of
              purchase, lease or rental. The Policy also covers the actual Time Element loss sustained by the
              Insured, during the Period of Liability resulting from the necessary Suspension of the Insured's
              business activities at that Location, if the Suspension is caused by direct physical loss of or
              damage caused by a Covered Cause of Loss to such Property (other than Finished Stock).

              The Coverage provided above will end at the earliest of: the Policy expiration, the number of
              consecutive days as stated in the Declarations after the Insured first acquired an interest in the
              Covered Property, or when the Insured reports the Location to the Insurer.

5.02.22.      OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND
              TIME ELEMENT LOSS
              The Company will pay for direct physical loss of or damage to Covered Property and for the actual
              Time Element loss sustained as provided by the Policy during the Period of Service Interruption
              at Insured Locations caused by the interruption of an incoming service consisting of electricity,
              gas, fuel, steam, water, refrigeration, voice, data or video or from the lack of outgoing voice, data,
              video or sewage service.

              The lack of service must result from direct physical loss of or damage caused by a Covered Cause
              of Loss to property (other than satellites but including transmission and distribution lines) of the
              supplier of such service located within this Policy's Territory, that immediately prevents in whole
              or in part the delivery of such usable services.

              This Coverage will only apply when the Period of Service Interruption exceeds the time shown
              as Qualifying Period in the Qualifying Period clause of the Declarations section. If the
              Qualifying Period is exceeded, then this Policy will pay for the amount of loss in excess of the
              applicable deductible, but not more than the limit applying to this Coverage.

5.02.22.01.       Exclusions 3.03.01.02.and 3.03.04. do not apply to Off Premises Service Interruption Property
                  Damage and Time Element Loss.

5.02.22.02.       The following additional exclusion applies:

                  This Policy excludes direct physical loss or damage and Time Element loss directly or
                  indirectly caused by or resulting from the interruption of such services, when such interruption
                  is caused directly or indirectly by the failure of the Insured to comply with the terms and
                  conditions of any contracts the Insured has for the supply of such specified services regardless
                  of any other cause or event, whether or not insured under this Policy, contributing
                  concurrently or in any other sequence to the loss.

5.02.23.      PROFESSIONAL FEES
              This Policy covers the actual costs incurred by the Insured, of reasonable fees paid to the Insured's
              accountants, architects, auditors, engineers, or other professionals and the cost of using the
              Insured's employees, for producing and certifying any details contained in the Insured 1s books or
              documents, or such other proofs, information or evidence required by the Company resulting from
              loss or damage payable under this Policy for which the Company has accepted liability.




                                                                                                    N-000040

                                                                                                  EDGE-102-B (12/10)
                                                                                                        Page 19 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 63 of 198
                 This Coverage will not include the fees and costs of attorneys, Public Adjusters, and loss
                 appraisers, all including any of their subsidiary, related or associated entities either partially or
                 wholly owned by them or retained by them for the purpose of assisting them, nor the fees and
                 costs of loss consultants who provide consultation on coverage or negotiate claims.


5.02.24.         PROTECTION AND PRESERVATION OF PROPERTY
                 This Policy covers, up to the limit applying to this Coverage:

5.02.24.01.          The reasonable and necessary costs incurred for actions to temporarily protect or preserve
                     Covered Property; provided such actions are necessary due to actual or imminent physical loss
                     or damage due to a Covered Cause of Loss to such Covered Property; and

5.02.24.02.          The Gross Earnings loss sustained by the Insured for a period of time not to exceed the hours
                     listed in the Declarations prior to and after the Insured first taking reasonable action for the
                     temporary protection and preservation of Covered Property.

5.02.24.03.          This Coverage is subject to the deductible provisions that would have applied had the physical
                     loss or damage occun·ed.

5.02.25.         RADIOACTIVE CONTAMINATION
                 The Company will pay for direct physical loss of or damage to Covered Property at an Insured
                 Location caused by sudden and accidental radioactive contamination, including resultant radiation
                 damage, provided:

5.02.25.01.          Radioactive contamination arises out of material at the Insured Location:

5.02.25.01.01.           Which is commonly known to be radioactive;

5.02.25.01.02.           Is used as part of the Insured's business activities; and

5.02.25.01.03.           There is neither a nuclear reactor capable of sustaining nuclear fission in a self-supporting
                         chain reaction, nor any new or used nuclear fuel which is intended for or which has been
                         used in that type of nuclear reactor at the Insured Location.

5.02.26.         RESEARCH AND DEVELOPMENT
                 The Company will pay for the fixed charges and fixed expenses (including Ordinary Payroll)
                 actnally incurred by the Insnred directly attributable to the interruption of research and
                 development project(s) after direct physical loss of or damage caused by a Covered Cause of Loss
                 to research and development project(s) up to the limit applying to this Coverage.

5.02.26.01.          Coverage starts when there is direct physical loss of or damage caused by a Covered Cause of
                     Loss to research and development project(s) and ends the earlier of:

5.02.26.01.01.           The time period stated in the Declarations; or

5.02.26.01.02.           When the research and development project(s) has resumed.

5.02.26.02.          This Policy will not pay for any other Time Element loss under this Coverage. Loss under
                     this Coverage does not include any fixed charges and/or fixed expenses (including Ordinary
                     Payroll) otherwise payable elsewhere in the Policy.




                                                                                                       N-000041

                                                                                                    EDGE-102-8 (12/10)
                                                                                                         Page 20 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 64 of 198
5.02.27.         RESEARCH ANIMALS

                 The Company will pay for death of Research Animals and the lnsured's reasonable and necessary
                 costs incurred to research, replace or restore the animal lost to the condition that existed prior to
                 the loss when caused by a Covered Cause of Loss, while anywhere within this Policy's Territory,
                 including while in transit, when the loss is in excess of the amount stated in the Declarations. No
                 deductible applies to this Coverage. This Coverage does not apply to loss of the Research Animals
                 that cannot be replaced to the condition that existed prior to the loss.

5.02.27.01.          The following additional exclusions apply:

5.02.27.01.01.           Death or destruction from natural causes, unknown causes, medical procedures including
                          surgery, inoculation, parturition, or abortion;

5.02.27.01.02.            Errors or omission in processing and/or failure on the part of the Insured to provide
                         nourishment, medicine or sanitary conditions;

5.02.27.01.03.            Contamination of animal, food or medicine;

5.02.27.01.04.           The intentional slaughter of animals;

5.02.27.01.05.            Escape, unless directly resulting from a Covered Cause of Loss; or

5.02.27.01.06.           Death or destruction resulting from activities of any animal, unless resulting from a
                         Covered Cause of Loss.

5.02.28.         SPOILAGE
                 In the event of spoilage of Raw Materials, Stock in Process, Finished Stock or Merchandise,
                 caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, the
                 Company will pay for such spoilage provided the Raw Materials, Stock in Process, Finished
                 Stock or Merchandise is in storage or in the course of being manufactured.

5.02.29.         TENANTS PROHIBITED ACCESS
                 The Company will pay for the actual Gross Earnings loss sustained, as provided by this Policy,
                 resulting from the necessary Suspension of the Insured's business activities at an Insured Location
                 if access to that Location by the Insured's suppliers, customers or employees is physically
                 obstructed due to the owner, landlord or a legal representative of the building owner or landlord,
                 prohibiting access to the Insured Location. This Coverage will only apply when the period of time
                 that access is prohibited exceeds the time shown as Qualifying Period in the Qualifying Period
                 clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay
                 for the amount of loss in excess of the Policy Deductible, but not more than the limit applying to
                 this Coverage.

5.02.29.01.          The following additional exclusion applies:

                     This Policy excludes loss directly or indirectly caused by or resulting from prohibited access
                     to the Insured Location, when such prohibited access is caused directly or indirectly by the
                     failure of the Insured to comply with the terms and conditions of any contracts the Insured has
                     for the use of such Location regardless of any other cause or event, whether or not insured
                     under this Policy, contributing concurrently or in any other sequence to the loss.




                                                                                                      N-000042

                                                                                                    EDGE-102-B (12/10)
                                                                                                          Page 21 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 65 of 198
5.02.30.             TRANSIT

5.02.30.01.            The Company will pay for direct physical loss of or damage caused by a Covered Cause of
                       Loss to Covered Property while in transit within the coverage Territory and including:

5.02. 30.01.01.            The Insured's interest in Free on Board (F.0.B) shipments, Free-Along-Side (F.A.S)
                           shipments and Returned shipments. The Insured's contingent interest is admitted.

5.02. 30.01.02.            The Insured's loss of property caused by fraud or deceit perpetrated by any person or
                           persons who may represent themselves to be the proper party or parties to receive goods
                           for shipment or accept goods for delivery.

5.02. 30.01.03.            The Insured's legal liability as a carrier of lawful goods and merchandise by vehicles
                           under bills of lading or shipping receipts issued by the Insured, while in the lnsured1s
                           custody or in the custody of connecting carriers in transit.

5.02. 30.01.04.            The Insured's interest in general average, salvage and other charges on shipments covered
                           hereunder.

5.02. 30.01.05.            The Insured is granted the privilege to ship under released or limited bills of lading or
                           shipment receipts.

5.02. 30.02.           The Policy also covers the actual Time Element loss sustained by the Insured, during the
                       Period of Liability resulting from the necessary Suspension of the Insured 1s business activities
                       at the destination Location, if the Suspension is caused by direct physical loss of or damage
                       caused by a Covered Cause of Loss to such Property (other than Finished Stock).

                       The Company will pay for the reasonable and necessary extra expenses incurred by the
                       Insured, during the Period of Liability, to resume and continue as nearly as practicable the
                       Insured's normal business activities that otherwise would be necessarily suspended, due to
                       direct physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                       insurable under this policy.

                       The Company will reduce the amount payable as extra expense by the fair market value
                       remaining at the end of the Period of Liability for property obtained in connection with the
                       above.

                       Extra expenses mean that amount spent to continue the Insured's business activities over and
                       above the expenses the Insured would have normally incurred had there been no direct
                       physical loss of or damage caused by a Covered Cause of Loss to Property of the type
                       insurable under this policy. Extra expense does not include any Gross Earnings loss, the cost
                       of permanent repair or replacement of property that has suffered direct physical loss or
                       damage, or expenses otherwise payable elsewhere in the Policy.

5.02. 30.03.           Coverage starts when Covered Property is in or on the transporting vehicle and the vehicle
                       leaves the originating Location and ends upon arrival at the destination Location and the
                       goods are transferred to the custody and control of the consignee, warehouseman, or receiver.

5.02. 30.04.           The Company will not pay for loss or damage to:

5.02. 30.04.01.            Property while waterborne, except:

5.02. 30.04.01.01.             While on the navigable inland waterways of a country;

5.02. 30.04.01.02.             While on roll-on/roll-off ferries between countries; or




                                                                                                        N-000043

                                                                                                      EDGE-102-B (12/10)
                                                                                                            Page 22 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 66 of 198
5.02. 30.04.01.03.                  While on coastal shipments.

5.02. 30.04.02.                 Property shipped by mail from the time it passes into custody of any governmental postal
                                service;

5.02. 30.04.03.                 Property for sale while in the care, custody or control of the Insured's sales persons or
                                representatives;

5.02. 30.04.04.                 Any conveyance used for property in transit;

5.02. 30.04.05.                 Property insured under any import or export ocean marine insurance; or

5.02. 30.04.06.                 Property under airborne shipment unless by regularly scheduled passenger airlines or air
                                freight Carriers.

5.02. 30.05.             If this Policy expires during the due course of transit, coverage is extended until the shipment
                         is delivered to its final destination.


5.02.31.             VALUABLE PAPERS AND RECORDS
                     The Company will pay for direct physical loss of or damage caused by a Covered Cause of Loss
                     to Valuable Papers aud Records at an Insured Location. For all Valuable Papers and Records,
                     the Company will pay for the value of the blank personal property, and the Insured's reasonable
                     and necessary costs incurred to research, replace or restore the information lost or damaged
                     thereon.

                     Except:

                     For Electronic Data and/or Program (Software), the Company will pay for the value of the
                     blank Media, and the cost of reproducing the Electronic Data and/or Program (Software) from
                     duplicates or originals of the previous generation of the data.

                     This Coverage does not apply to loss or damage to property that cannot be repaired or restored
                     with like kind or quality.

5.02.32.             NEW CONSTRUCTION OR ADDITIONS
                     The Company will pay, up to the limit applying to this Coverage, for:

5.02.32.01.              Direct physical loss of or damage to Property of the type insurable under this policy that is
                         New Construction or Additions;

5.02.32.02.              The actual Time Element loss sustained by the Insured arising out of the Delay in
                         Completion; and

5.02.32.03.              The Actual Loss Sustained incurred by the Insured as Soft Costs dming such Delay in
                         Completion.

5.02.32.04.              The Coverage for Time Element will only apply when the Delay in Completion exceeds the
                         time shown as Qualifying Period in the Qualifying Period clause of the Declarations section.
                         If the Qualifying Period is exceeded, then this Policy will pay up to the number of
                         consecutive days stated in the Declarations after the Qualifying Period.




                                                                                                          N-000044

                                                                                                         EDGE-102-B (12/10)
                                                                                                               Page 23 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 67 of 198
5.02.32.05.       The following additional exclusion applies to coverage provided in NEW CONSTRUCTION
                  OR ADDITIONS:

                  This Policy excludes direct physical loss or damage directly or indirectly caused by or
                  resulting from the effects of rain, sleet, or snow, whether or not driven by wind, on the interior
                  portion of buildings under construction or addition when the installation of the roof, walls or
                  windows of such buildings has not been completed regardless of any other cause or event,
                  whether or not otherwise insured under this Policy, contributing concurrently or in any other
                  sequence to the loss.


5.02.33.      OFF PREMISES STORAGE FOR PROPERTY UNDER CONSTRUCTION
              This Policy covers direct physical loss or damage to property (of the type insurable under this
              Policy) caused by a Covered Cause of Loss that is under contract to be used in a const1uction
              project at an Insured Location. Coverage attaches at the time such property is delivered to the
              Insured or its contractor (with respect to the property under construction) by the manufacturer or
              supplier and such property is located at a storage site within this Policy's Territory but away from
              the Insured Location.

              This Coverage includes necessary expendable materials and supplies to be used in the construction
              project but does not include any property owned or rented by the contractor.

5.02.34.      HOME HEALTH CARE MEDICAL EQUIPMENT

              This Policy insures direct physical loss or damage caused by a Covered Cause of Loss to Covered
              Property that is placed in the care, custody and control of your patients. Coverage attaches at the
              time such property is delivered into the patients' care, custody and control and such property is
              located within this Policy's Territory but away from the Insured Location.

              This Coverage will not apply to loss or damage that is payable under any other provision in this
              Policy.

5.02.35.      INTERRUPTION BY COMMUNICABLE DISEASE

              The Company will pay for the actual Gross Earnings loss sustained by the Insured, as provided by
              this Policy, resulting from the necessary Suspension of the Insured's business activities at an
              Insured Location if the Suspension is caused by order of an authorized governmental agency
              enforcing any law or ordinance regulating communicable diseases and that such portions of the
              location are declared uninhabitable due to the threat of the spread of communicable disease,
              prohibiting access to those portions of the Location.

              This Policy also covers the reasonable and necessary cost incurred for the cleanup, removal and
              disposal of the actual not suspected presence of substances(s) causing the spread of such
              communicable disease and to restore the locations in a manner so as to satisfy such authorized
              governmental agency.

              This Coverage will only apply when the period of time that access is prohibited exceeds the time
              shown as Qualifying Period in the Qualifying Period clause of the Declarations section. If the
              Qualifying Period is exceeded, then this Policy will pay for the amount of loss in excess of the
              Policy Deductible, but not to exceed the number of consecutive days following such order as stated
              in the Declarations up to the limit applying to this Coverage.

              This Coverage will not apply to loss or damage that is payable under any other provision in this
              Policy.




                                                                                                    N-000045

                                                                                                  EDGE-102-8 (12/10)
                                                                                                       Page 24 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 68 of 198
5.02.36.     MOBILE MEDICAL EQUIPMENT
             The Company insures for direct physical loss of or damage caused by a Covered Cause of Loss to
             Covered Property used in the Insured business activities while within the coverage Territory but
             away from an Insured Location.

             The Policy also covers the actual Time Element loss sustained by the Insured, <luting the Period of
             Liability resulting from the necessary Suspension of the lnsured's business activities, if the
             Suspension is caused by direct physical loss of or damage caused by a Covered Cause of Loss to
             such Property.

             This Coverage will not apply to loss or damage that is payable under any other provision in this
             Policy.

5.02.37.     PROTECTION OF PATIENTS
             This Policy insures reasonable and necessary costs incurred for actions to temporarily remove and
             return patients at the Insured Location; provided such actions are necessary due to impending,
             physical loss or damage due to a Covered Cause of Loss to Covered Property when the cost is in
             excess of the amount stated in the Declarations. No deductible applies to this Coverage.

             This coverage will not apply if direct physical loss or damage by a Covered Cause of Loss to
             Covered Property occurs at the Insured Location.

5.02.38.     RESTORATION OF EMERGENCY GENERATORS
             The Company will pay for the actual Extra Expense incurred by the Insured resulting from direct
             physical loss of or damage caused by a Covered Cause of Loss to covered generating equipment
             used as part of a back up system, when the expenses are incurred to prevent a Suspension of the
             Insured's business activities at an Insured Location if the Suspension would be caused by the
             enforcement by an authorized governmental agency of any law or ordinance regulating generating
             equipment used as part of a back up system.

             The Company will pay for the actual Extra Expense loss sustained, in excess of the applicable
             deductible, not to exceed the number of consecutive days as stated in the Declarations up to the
             limit applying to this Coverage.

5.03.      DESCRIBED CAUSES OF LOSS
5.03.01.     BREAKDOWN OF EQUIPMENT
             The Company will pay for direct physical loss of or damage to Covered Equipment, Time
             Element loss and Special Coverages loss as provided by this Policy, if such loss or damage is
             caused by a sudden and accidental Breakdown of Covered Equipment or a part thereof, which
             manifests itself by physical damage at the time of its Occurrence and necessitates repair or
             replacement; subject to the terms and conditions set forth in this Policy, regardless of any other
             cause or event contributing concurrently or in any other sequence of loss.

             All Breakdo,vn(s) at any one Insured Location that manifest themselves at the same time and are
             the result of the same cause will be considered one Breakdown.




                                                                                                N-000046

                                                                                              ED'GE-102-B (12110)
                                                                                                     Page 25 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 69 of 198
5.03.02.     EARTH MOVEMENT

             The Company will pay for direct physical loss of or damage to Covered Property, Time Element
             loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
             Earth Movement regardless of any other cause or event contributing concurrently or in any other
             sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
             sprinkler leakage or Flood will not be considered loss by Earth Movement within the terms and
             conditions of this Policy.

             All Earth Movement that occurs within the period defined in the Declarations will constitute a
             single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
             elect the point in time when the period defined in the Declarations begins; but such point in time
             must not precede loss or damage to Covered Property.

5.03.03.     FLOOD
             The Company will pay for direct physical loss of or damage to Covered Property, Time Element
             loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
             Flood regardless of any other cause or event contributing concurrently or in any other sequence of
             loss. However, ensuing physical loss or damage by fire, explosion. theft, vandalism or sprinkler
             leakage will not be considered to be loss by Flood within the terms and conditions of this Policy.


5.03.04.     NAMED STORM
             The Company will pay for direct physical loss of or damage to Covered Property, Time Element
             loss and Special Coverages loss as provided by this Policy, if such loss or damage is caused by
             Named Storm; regardless of any other cause or event contributing concurrently or in any other
             sequence of loss. However, ensuing physical loss or damage by fire, explosion, theft, vandalism,
             sprinkler leakage or Flood will not be considered loss by Named Storm within the terms and
             conditions of this Policy.

             All Named Storm damage that occurs within the period defined in the Declarations will constitute
             a single Occurrence. The expiration of this Policy will not reduce that period. The Insured may
             elect the point in time when the period defined in the Declarations begins; but such point in time
             must not precede loss or damage to Covered Property.




                                                                                                N-000047

                                                                                              EDGE-102-B (12/10)
                                                                                                     Page 26 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 70 of 198
SECTION VI -GENERAL POLICY CONDITIONS
 6.01.              CANCELLATION/NON-RENEWAL

 6.01.0 I.              Cancellation

 6.01.01.0 I.                The First Named Insured shown in the Declarations may cancel this Policy by mailing or
                             delivering to the Company advance written notice of cancellation.

 6.01.01.02.                 The Company may cancel this Policy by mailing or delivering to the First Named Insured
                             written notice of cancellation at least:

 6.01.01.02.01.                   The number of days before the effective date of cancellation if the Company cancels for
                                  nonpayment of premium, as stated in the Declarations; or

 6.01.0 l .02.02.                 The number of days before the effective date of cancellation if the Company cancels for
                                  any other reason, as stated in the Declarations.

 6.0l.Ol.03.                 The Company will mail or deliver notice to the First Named Insured's mailing address
                             shown in the Declarations of this Policy or any Endorsement attached thereto.

 6.0 l .01.04.               Notice of cancellation will state the effective date of cancellation. The Policy Period will end
                             on that date.

 6.0l.01.05.                 If this Policy is cancelled, the Company will send the First Named Insured any premium
                             refund due. If the Company cancels, the refund will be pro rata. If the First Named Insured
                             cancels, the refund may be less than pro rata but no less than the customary short rate amount.
                             The cancellation will be effective even if the Company has not made or offered a refund.

 6.01.0 l .06.               If notice is mailed, proof of mailing will be sufficient proof of notice.

 6.0l.Ol.07.                 !funder the laws of the jurisdiction in which the property is located, such cancellation te1ms
                             or conditions are different, then cancellation terms or conditions will be as permitted by such
                             laws.

 6.01.02.               Non-renewal

 6.01.02.01.                 The Company may non-renew this Policy by mailing or delivering to the First Named
                             Insured written notice, the number of days before the non-renewal, as permitted by law in the
                             jurisdiction where in the property is located.

 6.02.              CERTIFICATES OF INSURANCE
                    Any certificate of insurance issued in connection with this Policy is provided solely as a matter of
                    convenience or information for the addressee(s) or holder(s) of such certificate of insurance, except as
                    provided under the Policy when a loss payee(s) or mortgagee(s) are named. The certificate does not
                    amend, extend or alter the coverage afforded by the Policy.
                    In the event this policy is cancelled pursuant to the CANCELLATION/NON-RENEWAL provision,
                    other than for nonpayment of premium, and except as provided otherwise, the Company shall endeavor
                    to provide notice of cancellation to those entities set out in the certificates of insurance on file with the
                    Company, as soon as practicable, after notifying the First Named Insured. However, in no event will
                    failure to provide notice to entities set out in certificates of insurance waive the Company's right or
                    ability to cancel the policy as allowed by law.




                                                                                                                 N-000048

                                                                                                               EDGE-102-B (12/10)
                                                                                                                      Page 27 of 46

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 71 of 198
              The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance
              consistent with the foregoing.


6.03.         CONCEALMENT, MISREPRESENTATION OR FRAUD

6.03.01.          This Policy is void as to all Insureds in any case of fraud by any Insured as it relates to this Policy
                  at any time. It is also void if any Insured, at any time, intentionally conceals or misrepresents a
                  material fact concerning:

6.03.01.01.            This Policy;

6.03.01.02.            The Covered Property;

6.03.01.03.            The Insured1s interest in Covered Property; or

6.03.01.04.            A claim under this Policy.

6.04.         CONFORMITY TO STATUTES
              Any provisions required by law to be included in policies issued by the Company shall be deemed to
              have been included in this Policy:

              If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies,
              and if certain provisions are required by law to be stated in this Policy, this Policy shall be read so as
              to eliminate such conflict or deemed to include such provisions for Insured Locations within such
              jurisdictions.

6.05.         CONTROL OF DAMAGED GOODS
              In the event of direct physical loss of or damage caused by a Covered Cause of Loss to Finished
              Stock or Merchandise that carries the Insured1s brand or trade name; this Policy gives control of the
              physically damaged properly as follows, all subject to 6.05.05.

6.05.01.          The Insured will have full rights to the possession, control and disposition of damaged property in
                  the event of insured direct physical loss or damage to such property provided the Company agrees
                  that the property is physically damaged.

6.05.02.          The Insured, using reasonable judgment, will decide if the Insured can reprocess or sell the
                  physically damaged property.

6.05.03.          If the Company takes possession of property that carries the Insured1s brand or trade name that
                  has sustained direct physical loss or damage, the Company will pay for the Insured or the
                  Insured representative to stamp "salvage", remove, or obliterate the brand, label or trade name
                  on the property or its containers if doing so will not damage the property. In either event, the
                  Insured must re-label such property or its containers to comply with any applicable law.

6.05.04.          The salvage value of property that is claimed damaged shall be determined at the time ofloss.

6.05.05.          The Insured will allow the Company to deduct from the amount of loss otherwise payable, the fair
                  market value of such salvage, which could have been obtained on any sale or other disposition of
                  goods or products through normal insurance industry salvage practices.




                                                                                                          N-000049

                                                                                                        EDGE-102-8 (12/10)
                                                                                                               Page 28 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 72 of 198
6.06.            CURRENCY FOR LOSS PAYMENT
6.06.01.             Losses will be adjusted and paid in the currency designated in 2.02., unless directed otherwise by
                     the Insured. In the event of a loss adjustment involving Local Currency, the exchange-selling rate
                     will be calculated as follows:

6.06.01.01.               As respects the calculation of deductibles and Limits of Liability, the rate of exchange
                          published in the Midwest Ed. of The Wall Street Journal on the date of settlement.

6.06.01.02.               As respects direct physical loss or damage to Real and Personal Property:

6.06.01.02.01.                The cost to repair or replace Real and Personal Property will be converted at the time the
                              cost of repair or replacement is incurred based on the rate of exchange published in the
                              Midwest Ed. of The Wall Street Journal on the date of settlement.

6.06.01.02.02.                If such property is not replaced or repaired, the conversion will be based on the rate of
                              exchange published in the Midwest Ed. of The Wall Street Journal on the date of loss.

6.06.01.03.               As respects Time Element loss the conversion will be based on the average of the rate of
                          exchange published in the Midwest Ed. of The Wall Street Journal on the date ofloss and the
                          rate of exchange published in the Midwest Ed. of The Wall Street Journal on the last day of
                          the Period of Liability.

6.06.01.04.              If the Midwest Ed. of The Wall Street Journal was not published on the stipulated date, or the
                          rate of exchange was not published on the stipulated date, the rate of exchanged will be as
                          published on the next business day the rate is published.


6.07.            INSPECTIONS AND SURVEYS
6.07.01.             The Company has the right but not the obligation to make inspections and surveys at any time, to
                     give the Insured reports on the conditions found, and to recommend changes.

6.07 .02.            Any inspections, surveys, reports or recommendations relate only to insurability and the premiums
                     to be charged. The Company does not make safety inspections. The Company does not undertake
                     to perform the duty of any person or organization to provide for the health or safety of workers or
                     the public, nor does it represent that conditions are safe, healthful, or comply with laws,
                     regulations, codes or standards.

6.07.03.             This condition applies not only to the Company, but also to any rating, advisory, rate service or
                     similar organization that makes insurance inspections, surveys, reports or recommendations.

6.08.            JOINT LOSS
                 This clause applies only if all of the following requirements are met:

6.08.01.             The BREAKDOWN OF EQUIPMENT Coverage is shown as NCP in the Declarations of this
                     Policy and the BREAKDOWN OF EQUIPMENT Coverage carried by the Named Insured,
                     insuring the Covered Property contains a similar Joint Loss provision with substantially the same
                     requirements, procedures, and conditions as contained in this Policy.

6.08.02.             The loss or damage to the Covered Property was caused by a Covered Cause of Loss for which
                     both the lnsurer(s) of the Property Coverage and the lnsurer(s) of the BREAKDOWN OF
                     EQUIPMENT Coverage admit to some liability for payment under the respective policies.




                                                                                                         N-000050

                                                                                                       EDGE-102-B (12/10)
                                                                                                             Page 29 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 73 of 198
6.08.03.      The total amount of loss is agreed to by the Insured, the Insurer(s) of the Property Coverage and
              the Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage.

6.08.04.      The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
              EQUIPMENT Coverage disagree as to the amount of loss that both should pay that is attributable
              to:

6.08.04.01.       An accident covered under the BREAKDOWN OF EQUIPMENT Coverage; and

6.08.04.02.       A Covered Cause of Loss under the Property Coverage.

6.08.05.      If the requirements listed above are satisfied, the Insurer(s) of the Property Coverage and of the
              BREAKDOWN OF EQUIPMENT Coverage will make payments to the extent, and in the
              manner, described in the following:

6.08.05.01.       The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage will pay, after the Insured's
                  written request, the entire amount of loss that they have agreed as being covered by
                  BREAKDOWN OF EQUIPMENT Coverage and one-half (1/2) the amount of loss that is in
                  disagreement.

6.08.05.02.       The Insurer( s) of the Property Coverage will pay, after the lnsured's written request, the entire
                  amount of loss that they have agreed as being covered by the Property Coverage and one-half
                  (1/2) the amount of loss that is in disagreement.

6.08.05,03.       The amount in disagreement to be paid by the Insurer(s) of the BREAKDOWN OF
                  EQUIPMENT Coverage and the Insurer(s) of the Property Coverage under this Joint Loss
                  provision shall not exceed the amount payable under the equivalent loss adjustment provisions
                  of the Insurer(s) of the Property Coverage and the BREAKDOWN OF EQUIPMENT
                  Coverage.

6.08.06.      The amount to be paid under this Joint Loss provision shall not exceed the amount that would
              have been paid had no Property Coverage or, in the alternative, no BREAKDOWN OF
              EQUIPMENT Coverage been in effect at the time ofloss.

6.08.07.      Acceptance by the Insured of sums paid under this Joint Loss provision does not alter, waive or
              surrender any other rights against the Insurer(s).

6.08.08.      Additional Conditions:

6.08.08.01.       The Insurer(s) of the Property Coverage and the Insurer(s) of the BREAKDOWN OF
                  EQUIPMENT Coverage agree to submit their differences to arbitration within 90 days after
                  payment of the loss under the terms of this Joint Loss provision.

6.08.08.02.       The Insured agrees to cooperate with any arbitration procedures. There will be three
                  arbitrators: one will be appointed by the Insurer(s) of the BREAKDOWN OF EQUIPMENT
                  Coverage and the one will be appointed by the Insurer(s) of the Property Coverage. The two
                  arbitrators will select a third arbitrator. If they cannot agree, either may request that selection
                  be made by a judge of a court having jurisdiction. A decision agreed to by two of the three
                  arbitrators will be binding on both parties. Judgment on any award can be entered in any
                  court that has jurisdiction. The Insurer(s) of the BREAKDOWN OF EQUIPMENT Coverage
                  will pay their designated arbitrator and the Insurer(s) of the Property Coverage will pay their
                  designated arbitrator. The Insurer(s) of the BREAKDOWN OF EQUIPMENT and the
                  Insurer(s) of the Property Coverage will split the expense of the third arbitrator.




                                                                                                     N-000051

                                                                                                   EDGE-102-B (12/10)
                                                                                                          Page 30 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 74 of 198
6.09.          JURISDICTION
               Any disputes arising hereunder will be exclusively subject to the jurisdiction of a court of competent
               jurisdiction within the USA.

6.10.          LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
               OBLIGATIONS
6.10.01.           When specified in the Policy or in Certificates of Insurance on file with the Company, the
                   Company will pay for covered loss to prope1ty insured under this Policy to each:

6.10.01.01.            Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear, in order of
                       precedence; or

6.10.01.02.            Mortgagee as its interest may appear, in order of precedence.

6.10.02.           The interest of the specified Lender or Mortgagee in property insured under this Policy will not
                   be invalidated by:

6.10.02.0 I.           Any act or neglect of any Insured.

6.10.02.02.            Commencement of foreclosure, notice of sale, or similar proceedings with respect to the
                       property.

6.10.02.03.            Change in the title or ownership of the property.

6.10.02.04.            Change to a more hazardous occupancy.

6.10.03.           The Lender or Mortgagee will notify the Company of any known change in ownership, occupancy,
                   or hazard and, within ten (10) days of written request by the Company, may pay the increased
                   premium associated with such known change. If the Lender or Mortgagee fails to pay the
                   increased premium, all coverage under this Policy will cease.

6.10.04.           In the event of a claim, upon request of the Company, the Lender or Mortgagee will cooperate in
                   any claim investigation.

6.10.05.           If this Policy is cancelled at the request of the Insured or its agent, the coverage for the interest of
                   the Lender or Mortgagee will terminate ten (10) days after the Company sends to the Lender or
                   Mortgagee written notice of cancellation, unless:

6.10.05.01.            Earlier terminated by authorization, consent, approval, acceptance, or ratification of the
                       Insured's action by the Lender, Mortgagee, or its agent.

6.10.05.02.            This Policy is replaced by the Insured, with a policy providing coverage for the interest of the
                       Lender or Mortgagee, in which event coverage under this Policy with respect to such interest
                       will terminate as of the effective date of the replacement policy, notwithstanding any other
                       provision of this Policy.

6.10.06.               The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under this
                       Policy, by sending the specified Lender or Mortgagee written notice sixty (60) days prior to
                       the effective date of cancellation, if cancellation is for any reason other 'than non-payment of
                       premium. If the Insured has failed to pay any premium due under this Policy, the Company
                       may cancel this Policy for such non-payment, but will send the Lender or Mortgagee written
                       notice ten (10) days prior to the effective date of cancellation. If the Lender or Mortgagee
                       fails to pay the premium due by the specified cancellation date, all coverage under this Policy
                       will cease.




                                                                                                           N-000052

                                                                                                         EDGE-102-B (12/10)
                                                                                                               Page 31 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 75 of 198
6.10.07.          The Company has the right to invoke this Policy's Suspended Property clause. When the Company
                  suspends the insurance, it will apply to the interest of any Lender or Mortgagee. The Company
                  will send the specified Lender or Mortgagee, at the last known address, a copy of such notice.

6.10.08.          If the Company pays a Lender or Mortgagee for any loss, and denies payment to the Insured, the
                  Company will, to the extent of the payment made to the Lender or Mortgagee be subrogated to the
                  rights of the Lender or Mortgagee under all securities held as collateral. No subrogation will
                  impair the right of the Lender or Mortgagee to recover the full amount of its claim. At its option,
                  the Company may pay to a Lender or Mortgagee the whole principal due on the debt or mortgage
                  plus any accrued interest and charges. In this event, all rights and securities wi11 be assigned and
                  transferred from the Lender or Mortgagee to the Company, and the remaining debt or mortgage
                  will be paid to the Company.

6.10.09.          If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the Insured's
                  failure to do so, will render proof of loss within sixty (60) days of notice and will be subject to the
                  Insured's duties, obligations and provisions of this Policy when presenting a claim.

6.10.10.          In no event will the amount payable to a Lender or Mortgagee exceed the amount which would
                  be payable to the Named Insured.

6.11.         LIBERALIZATION
              If during the period that insurance is in force under this Policy, any filed rules or regulations are
              revised by statute so as to broaden this insurance without additional premium charge, such extended or
              broadened insurance will inure to the benefit of the Insured within such jurisdiction, effective the date
              of the change specified in such statute.

6.12.         LOSS ADJUSTMENT/PAYABLE
              Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or
              as directed by the First Named Insured.

              When a Lender or Mortgagee is named in the Certificates of Insurance on file with the Company, the
              Lender or Mortgagee will be included in loss payment as their interests may appear.

              When a Loss Payee is named in the Certificates of Insurance on file with the Company, the loss payee
              will be included in loss payments made to the insured as their interests may appear. The loss payee has
              no other rights under the policy.

6.13.         LOSS CONDITIONS
6.13.01.          DUTIES IN THE EVENT OF LOSS OR DAMAGE

                  The Insured must see that the following are done in the event of direct physical loss or damage to
                  Covered Property:

6.13.01.01.           Notify the police if a law may have been broken.

6.13.01.02.           Give the Company prompt notice of the loss or damage. Include a description of the property
                       involved.

6.13.01.03.           As soon as possible, give the Company a description of how, when and where the loss or
                      damage occurred.




                                                                                                         N-000053

                                                                                                       EDGE-102-B (12/10)
                                                                                                              Page 32 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 76 of 198
6.13.01.04.       Take all reasonable steps to protect the Covered Property from further damage caused by a
                  Covered Cause of Loss. If feasible, set the damaged property aside and in the best possible
                  order for examination. Also, keep a record of expenses for emergency and temporary repairs
                  for consideration in the settlement of the claim. This will not increase the Limit of Liability.

6.13.01.05.       At the Company's request, provide a complete inventory of the damaged and undamaged
                  property, including quantities, costs, values and amount of loss claimed.

6.13.01.06.       As often as reasonably required, permit the Company to inspect the property and records
                  evidencing the loss or damage, including taking some or all of damaged and undamaged
                  property for inspection, testing and analysis, and permit the Company to make copies of the
                  Insured's books and records.

6.13.01.07.       Permit the Company to question the Insured, the Insured's employees and agents under oath,
                  while not in the presence of any other insured and at such times as may be reasonably
                  required, about any matter relating to this insurance or the loss or damage, including an
                  Insured1s books and records. In the event of this examination, an lnsured 1s answers must be
                  signed or attested to by a notary public or certified court reporter.

6.13.01.08.       Give the Company a signed sworn statement of loss containing the information necessary to
                  investigate the claim. If requested by the Company, the Company will supply the necessary
                  form and the Insured must return this completed form within sixty (60) days of the request or
                  as required by law.

6.13.01.09.       Cooperate with the Company in the investigation or settlement of the claim.

6.13.02.      ABANDONMENT

              There may be no abandonment of any property to the Company.

6.13.03.      SUBROGATION

              The Insured is required to cooperate in any subrogation proceedings. To the extent of the
              Company1s payment, the Insured's rights of recovery against any party are transferred to the
              Company.

              The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss,
              nor will such waiver affect the Insured1s rights under this Policy.

              Any recovery from subrogation proceedings, less costs incurred by the Company in such
              proceedings, will be payable to the Insured in the proportion that the amount of any applicable
              deductible and/or any provable uninsured loss, bears to the entire provable loss amount.

6.13.04.      APPRAISAL

              If the Insured and the Company fail to agree on the value of the property or the amount of loss,
              each will, on the written demand of either, select a competent, disinterested, and impartial
              appraiser, who has no direct or indirect financial interest in the claim. Each will notify the other
              of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal
              unless it has first fully complied with all provisions of this Policy, including Duties in the Event of
              Loss or Damage and has provided the Company with a signed and sworn statement of loss.

              The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers
              fail to agree upon an umpire within 15 days then, on the request of the Insured or the Company, a
              judge of a court of record in the jurisdiction in which the appraisal is pending will select the
              umpire. The




                                                                                                     N-000054

                                                                                                   EDGE-102-B (12110)
                                                                                                         Page 33 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 77 of 198
                  appraisers will then appraise the value of the property or the amount of loss. They will state
                  separately, the actual cash value and replacement cost value, as of the date of loss and the amount
                  of loss, each item of physical loss or damage or, if for Time Element loss, the amount of loss for
                  each Time Element Coverage of this Policy.

                  If the appraisers fail to agree, they will submit their differences to the umpire. An award
                  stating separately the actual cash value and replacement cost value, as of the date of loss and
                  the amount of loss, for each item of physical loss or damage or, if for Time Element loss, the
                  amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two
                  will determine the amount of loss.

                  Once there is an award, the Company retains the right to apply all policy terms and conditions
                  (including but not limited to deductibles, exclusions, and Limits of Liability) to the award.
                  The Company further retains its right to deny the claim in whole or in part.

                  The Insured and the Company will each pay its chosen appraiser and bear equally the other
                  expenses of the appraisal and umpire.

6.13.05.          SUIT AGAINST THE COMPANY

                  No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
                  equity unless the Insured has fully complied with all the provisions of this Policy. Legal action
                  must be started within (12) twelve months after the date of direct physical loss or damage to
                  Covered Property or to other property as set forth herein.

                  If under the laws of the jurisdiction in which the property is located, such twelve months'
                  limitation is invalid, then, any such legal action needs to be started within the shortest limit of time
                  permitted by such laws.

6.14.         NO REDUCTION BY LOSS
              Loss or damage shall not reduce the amount of insurance recoverable, except where an Annual
              Aggregate applies. The reinstatement of any exhausted Annual Aggregate is not permitted unless
              authorized by the Company in writing.

6.15.         OTHER INSURANCE
              Insurance that is intended to pay proportionally with this insurance as a part of a property insurance
              plan or program expressly written with other participants is not other insurance as described below ..

6.15.01.          The Company will not be liable if, at the time of loss or damage, there is any other insurance that
                  would attach in absence of this insurance; except that this insurance shall apply only as excess,
                  Difference in Conditions/Difference in Limits and in no event as contributing insurance, and then
                  only after all other insurance has been exhausted.

6.15.02.          The Company gives the Insured permission to purchase insurance for all or any part of the
                  deductibles in this Policy, and the existence of underlying insurance shall not prejudice the
                  Insured's rights under this Policy.

6.15.02.01.           The deductible and any amount paid under such insurance that would be covered under this
                      Policy, shall apply to the deductible that would apply in this Policy.

6.15.02.02.           This Policy shall then apply on an excess, Difference in Conditions/Difference in Limits basis.




                                                                                                          N-000055

                                                                                                        EDGE-102-8 (12110)
                                                                                                               Page 34 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 78 of 198
6.15.03.             The Insured can purchase excess insurance commencing on or after the inception of this Policy that
                     is specifically excess over the Limits of Liability set forth in this Policy without prejudice to this
                     Policy and the existence of such insurance shall not reduce any liability under this Policy.

6.15.04.             The Company will not be liable if, at the time of loss or damage, there is any insurance with
                     National Flood Insurance Program (NFIP); except that this insurance shall apply only as excess
                     and in no event as contributing insurance, and then only after all NFIP insurance has been
                     exhausted.

6.15.05.             The Company will not be liable if, at the time of loss or damage, there is any insurance for New
                     Construction and Additions under a specific policy for such New Construction and Additions;
                     except that this insurance shall apply only as excess and in no event as contributing insurance, and
                     then only after all specific insurance has been exhausted.

6.15.06.             The Company will not be liable if, at the time of loss or damage, there is any insurance for stock
                     under a specific policy for such stock; except that this insurance shall apply only as excess and in
                     no event as contributing insurance, and then only after all specific insurance has been exhausted.

6.16.            POLICY MODIFICATION
6.16.01.             This Policy contains all of the agreements between the Insured and the Company concerning this
                     insurance. The Insured and the Company may request changes to this Policy. Only endorsements
                     issued by the Company and made a part of this Policy can change this Policy.

6.16.02.             Notice to any agent or knowledge possessed by any agent or by any other person will not create a
                     waiver or change any part of this Policy or prevent the Company from asserting any rights under
                     the Policy.

6.17.            PRIVILEGE TO ADJUST WITH OWNER
                 In the event of loss or damage involving Property of Others in your care, custody or control, we have
                 the right, but not the duty to:

6.17.01.             Settle the loss or damage with the owners of the Property.

6.17.02.             Provide a defense for legal proceedings brought against the Insured. If provided, the expense for
                     this defense will be at the Company's cost and will not reduce any applicable limit of insurance.

6.18.            SETTLEMENT OF CLAIMS
6.18.0 I.            Loss Payment

6.18.01.01.              In the event of loss or damage to Covered Property, the Company will, at its option, either:

6.18.01.01.01.                Pay the value oflost or damaged property;

6.18.01.01.02.                Pay the cost of repairing or replacing the lost or damaged property;

6.18.01.01.03.                Take all or any part of the property at any agreed valuation; or

6.18.01.01.04.                Repair, rebuild or replace the property with other property of like kind and quality.

6.18.02.             The Company will give notice of its intentions within thirty (30) days after receiving the sworn
                     statement of loss or as required by law.




                                                                                                           N-000056

                                                                                                         EDGE-102-B (12/10)
                                                                                                                Page 35 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 79 of 198
6.18.03.           The Company will not pay more than the Insured's financial interest in the Covered Property.

6.18.04.           The Company will pay for covered loss or damage within thirty (30) days or as required by law,
                   after receiving the sworn statement of loss, if the Insured has complied with all the terms of this
                   Policy; and

6.18.04.0 I.           The Company has reached agreement on the amount of loss; or

6.18.04.02.            An appraisal award has been made, subject to 6.13.04.

6.18.05.           Priority of Payment

                   In the event of a claim that involves more than one interest and/or coverage and/or peril; the
                   insured has the option to apportion recovery under this Policy when submitting final proof of loss,
                   subject to the overall amount of claim not exceeding the applicable limit ofliability and subject to
                   all other te1ms and conditions of the policy.

                   For the purpose of attachment of coverage for excess layers, claims involving any interest and/or
                   peril covered in the primary or underlying excess layers, but not covered in higher excess layers,
                   will be recognized by such excess layers as eroding or exhausting the occurrence limits of the
                   primary and/or underlying excess layer(s). Nothing, however, will extend coverage in such
                   layers(s) to include loss from any interest and/or peril not covered in the excess layer(s) itself.

6.19.          SUSPENDED PROPERTY
               When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's
               representatives may immediately suspend this insurance for that property. This can be done by
               delivering or mailing a written notice to the First Named Insured's mailing address or to the address
               where the Covered Property is located. Once suspended, this insurance can be reinstated only by an
               endorsement. Any unearned premium due will be returned by the Company.

6.20.          TITLES
               The titles of the various paragraphs and endorsements are solely for reference and shall not in any way
               affect the provisions to which they relate.

6.21.          TRANSFER OF RIGHTS AND DUTIES
               The Insured rights and duties under this Policy may not be transferred without the Company giving
               written consent.

6.22.          VALUATION
               In the event of any claim for direct physical loss of or damage to Covered Property:

6.22.01.           The basis of adjustment is on a replacement cost basis unless a specific valuation applies.
                   Replacement Cost shall be the cost to repair, rebuild or replace the damaged property (without
                   deduction for depreciation) with materials of like kind, quality and capacity at the same or another
                   site, but no more than the lesser of:

6.22.01.01.            The cost to repair;

6.22.01.02.            The cost to rebuild or replace on the same or another site with materials of equivalent size,
                       kind, quality and capacity;




                                                                                                        N-000057

                                                                                                      EDGE-102-8 (12/10)
                                                                                                           Page 36 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 80 of 198
6.22.01.03.          The necessary cost actually expended in repairing, rebuilding or replacing on the same or
                     another site, but not exceeding the operating capacity that existed at the time of the loss; or

6.22.01.04.          The Limits of Liability applicable to the lost or damaged property.

6.22.02.         If there is direct physical loss of or damage to Covered Property for which repair, rebuilding or
                 replacement has not started within two (2) years from the date of direct physical loss or damage,
                 the Company will not be liable for more than the actual cash value of the property destroyed.

6.22.03.         The Company, will pay the reduction in value of insured components or parts of products directly
                 resulting from physical loss or damage caused by a Covered Cause of Loss to other insured
                 components or parts of products, or part of a pair or set as follows:

6.22.03.01.          In case of loss or damage to any components or parts of products, or part of a pair or set, the
                     Company will at its option:

6.22.03.01.01.           Pay the cost of repairing or replacing any part to restore the components or parts of
                         products, pair or set to its value before the loss or damage;

6.22.03.01.02.           Repair or replace any part to restore the components or parts of products, pair or set to its
                         value before the loss or damage; or

6.22.03.01.03.           Pay the difference between the value of the components or parts of products, pair or set
                         before and after the loss or damage.

6.22.03.02.          If settlement is based on a constructive total loss, the Insured will surrender the undamaged
                     parts of such property to the Company.

6.22.04.         The following property shall be valued as specified below:

6.22.04.01.          For Raw Materials and supplies, the replacement cost.

6.22.04.02.          For Stock in Process, the value of Raw Materials and labor expended plus the proportion of
                     overhead charges attributable to that Stock in Process.

6.22.04.03.          For Finished Stock manufactured by the Insured, the valuation as stated in the Declarations.
                     If valued at Selling Price, this Policy will also pay the increased tax liability incurred by the
                     Insured due to the profit portion of a loss payment involving Finished Stock being greater
                     than the tax liability of the profits that would have been incurred had no loss occurred.

6.22.04.04.          For Merchandise that carries the Insured's brand or trade name, the valuation as stated in the
                     Declarations.

6.22.04.05.          For all other Merchandise, the valuation as stated in the Declarations.

6.22.04.06.          For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such
                     property to the physical condition that existed on the date of loss or the cost to replace the
                     article or the value if stated on a schedule on file. If the Fine Arts article cannot be replaced
                     and an appraisal is not available, the valuation shall be market value based on prevailing
                     conditions at the time of loss or damage.

6.22.04.07.          For property covered under Deferred Payments, the lesser of the total amount of unpaid
                     installments less finance charges or the actual cash value of the property at the time of loss or
                     the cost to repair or replace with material of like size, kind and quality.




                                                                                                      N-000058

                                                                                                    EDGE-102-B (12/10)
                                                                                                          Page 37 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 81 of 198
6.22.04.08.      The selling price of buildings (or structures) or machinery and equipment, other than stock,
                 offered for sale on the date of loss, but no more than the cost to repair or replace.

6.22.04.09.      The cost to replace non-repairable electrical or mechanical equipment, including computer
                 equipment, with equipment that is the most functionally equivalent to that damaged or
                 destroyed, even if such equipment has technological advantages, represents an improvement in
                 function, or forms part of a program of system enhancement.

6.22.04.10.      Improvements and Betterments at replacement cost if such property is repaired or replaced
                 at the expense of the insured. If there is direct physical loss of or damage to Improvements
                 and Betterments which are not repaired, rebuilt or replaced at the expense of the insured, the
                 Company will not be liable for more than a proportion of the original cost determined as
                 follows:

6.22.04.10.01.       Multiply the original cost of the Improvements and Betterments by the number of days
                     from the loss or damage to the expiration of the lease; and

6.22.04.10.02.       Divide the amount determined in 6.22.04.10.01 by the number of days from the
                     installation of the Improvements and Betterments to the expiration of the lease.

6.22.04.10.03.       If the lease contains a renewal option, the expiration of the renewal option period will
                     replace the expiration of the lease in this procedure.

6.22.04.11.      For property that is useless to the Insured or obsolete, the actual cash value.

6.22.04.12.      For vehicles, the valuation as stated in the Declarations.

6.22.04.13.      For Life Support Equipment and Medical Monitors, the cost to replace damaged Life
                 Support Equipment and Medical Monitors, with new equipment or monitors that is the
                 most functionally equivalent to that damaged or destroyed, even if such new equipment or
                 monitors has technological advantages or represents an improvement in function.

                 The Insured using reasonable judgment will decide if the physically damaged property can be
                 repaired or replaced.

6.22.04.14.      The Insured may elect not to repair or replace such damaged Covered Property, however, if
                 loss settlement proceeds are expended on other capital expenditures, on property of the type
                 insurable under this policy, related to the business activities of the Insured within two years
                 from the date of loss, the lesser of the repair or replacement cost of such property will be paid.
                 As a condition of collecting under this clause, such expenditure must be unplanned as of the
                 date of loss and be made at a Scheduled Location. This clause does not extend to Increased
                 Cost of Construction.




                                                                                                    N-000059

                                                                                                   EDGE-102-B (12/10)
                                                                                                         Page 38 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 82 of 198
SECTION VII - DEFINITIONS
               The following term(s) wherever used in this Policy means:

  7.01.            Ammonia Contamination - The loss or damage, including salvage expense, caused by ammonia
                   contacting or permeating Covered Property under refrigeration or in process requiring ref1igeration, as
                   the result of any one accident.

  7.02.            Annual Aggregate - The maximum amount of loss or damage payable in any one (I) Policy Year
                   regardless of the number of Occurrences within the same policy year.

  7.03.            Anticipated Date of Completion - The date on which the work is scheduled to be completed, as
                   stated in the construction contract or amendments to such contract, for the start of commercial
                   operations or use and occupancy.

  7.04.            Attraction Properties - A property within the distance described in the declarations of an Insured
                   Location that attracts customers to the Insured1s business.

  7.05.            Average Daily Value (ADV) - The 100% Gross Earnings value at the Location(s) where the direct
                   physical loss or damage occurred and all other Locations where Time Element loss ensues for the
                   Policy Period divided by the number of working days in the Policy period.

  7.06.            Breakdown-

 7.06.01.              A failure of pressure or vacuum equipment;

 7.06.02.              An electrical failure including arcing; or

 7.06.03.              A mechanical failure including rupture or bursting caused by centrifugal force.

 7.06.04.              7.06.01., 7.06.02., 7.06.03. includes an explosion to a steam boiler, electric steam generator, steam
                       piping, steam turbine, steam engine, gas turbine, or moving or rotating machine1y when such
                       explosion is caused by centrifugal force or mechanical failure; but not the explosion of gases or
                       fuel within the furnace of any Covered Equipment or within the flues or passages through which
                       the gases of combustion pass; nor combustion explosion outside the Covered Equipment.

 7.06.05.              Breakdown does not mean or include:

 7.06.05.01.               Malfunction including but not limited to adjustment, alignment, calibration, cleaning or
                           modification;

 7.06.05.02.               Defects, erasures, errors, limitations or viruses in computer equipment and programs;

 7.06.05.03.               Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;

 7.06.05.04.               Damage to any vacuum tube, gas tube or brush;

 7.06.05.05.               Damage to any structure or foundation supporting any Covered Equipment or any of its
                           palis;

 7.06.05.06.               Functioning of any safety or protective device; or

 7.06.05.07.               Cracking of any part on an internal combustion gas turbine exposed to the products of
                           combustion.




                                                                                                             N-000060

                                                                                                            EDGE-102-B (12/10)
                                                                                                                  Page 39 of 46

   Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 83 of 198
7.07.         Carrier - Contract or public truck men and motor transit companies or connecting carriers.

7.08.         Computer Virus - Any Software, Electronic Data or code that affects the operation or functionality
              of any computer, communication system, file server, networking equipment, computer system,
              computer hardware, data processing equipment, computer memo1y, microchip, microprocessor
              (computer chip), integrated circuit or similar device in computer equipment, Program, Computer
              Software or operating systems, programming inshuctions, or data including, but not limited to any
              destructive Program, computer code, Computer Virus, worm, logic bomb, denial of service attack,
              smurf attack, vandalism, Trojan Horse or any other data introduced into any electronic system causing
              deletion, destruction, degradation, corruption, malfunction or compromise of Electronic Data,
              Sofhvare or electronic business systems.

7.09.         Contamination(Contaminated) - Any condition of property due to the actual presence of any foreign
              substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism,
              bacteria, virus, disease causing or illness causing agent, Fungus, mold or mildew.

7.10.         Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant,
              including but not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including
              materials to be recycled, reconditioned or reclaimed), asbestos, ammonia, other hazardous substances,
              Fungus or Spores.

7.11.         Covered Cause of Loss - All risks of direct physical loss of or damage from any cause unless
              excluded.

7.12.         Covered Equipment - Any boiler fired pressure vessel, unfired vessel normally subject to vacuum or
              internal pressure other than weight of its contents, refrigerating and air conditioning systems, any metal
              piping and its accessory equipment, and mechanical, or electrical machines or apparatus used for the
              generation, transmission, or utilization of mechanical or electrical power, not otherwise excluded as
              Covered Property.

7.12.01           Covered Equipment does not include any of the following:

7.12.01.01.            Part of pressure or vacuum equipment that is not under internal pressure of its contents or
                       internal vacuum;

7.12.01.02.            Insulating or refractory material, but not excluding the glass lining of any Covered
                       Equipment;

7.12.01.03.           Non-metallic pressure or vacuum equipment unless it is constructed and used in accordance
                      with the American Society of Mechanical Engineers (ASME) code or another appropriate and
                      approved code;

7.12.01.04.            Catalyst;

7.12.01.05.            Vessels, piping and other equipment that is buried below ground and requires the excavation
                       of materials to inspect, remove, repair or replace;

7.12.01.06.           Vehicle, aircraft, self-propelled equipment or floating vessel including any Covered Property
                      (equipment) that is mounted upon or used solely with any one or more Vehicle(s), aircraft,
                      self-propelled equipment or floating vessel;

7.12.01.07.           Drag-line, excavation or construction equipment including any Covered Property or Covered
                      Equipment that is mounted upon or used solely with any one or more drag-lines, excavation,
                      or construction equipment;




                                                                                                        N-000061

                                                                                                      EDGE-102-B (12110)
                                                                                                             Page 40 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 84 of 198
 7.12.01.08.              Felt, wire, screen, die, extrusion plate, swing hammer, grinding disc, cutting blade,
                          non-electrical cable, chain, belt, rope, clutch plate, brake pad, non-metal part or any part or
                          tool subject to periodic replacement;

 7.12.01.09.              Equipment or any part of such equipment manufactured by the Insured for sale.

 7.13.           Daily Value (DV) - The 100% Gross Earnings value at the Location(s) where the direct physical loss
                 or damage occurred and all other Locations where Time Element loss ensues, for the Period of
                 Liability divided by the number of working days in such Period of Liability.

7.14.            Delay in Completion - The period of time between the Anticipated Date of Completion and the
                 actual date on which commercial operations or use and occupancy can commence with the exercise of
                 due diligence and dispatch.

7 .15.           Described Cause(s) of Loss - Breakdown of Equipment, Earth Movement, Flood, or Named Storm.

7.16.            Direct Dependent Time Element Location -

7.16.01.             Any Location of a direct: customer, supplier, contract manufacturer or contract service provider to
                     the Insured;

7.16.02.             Any Location of any company under a royalty, licensing fee or commission agreement with the
                     Insured.

7.16.03.             A Direct Dependent Time Element Location does not include Locations that are Insured
                     Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                     receiving from, the Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or
                     video.

7.17.            Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth
                 sinking, rising, shifting, or sinkhole collapse.
7 .18.           Electronic Data - Data of any kind that is recorded or transmitted in a form usable in electronic
                 computer systems or networks, microchips, integrated circuits or similar devices in non-computer
                 equipment, and which can be stored on Media for use by Programs.
7.19.            Fine Arts - Includes, but is not limited to, bona fide works of art, works ofrarity, works of historical
                 values, works of artistic merit, photographs (positives and negatives), lithographs, illustrations, gallery
                 proofs, original records, and similar property.

7.20.            Finished Stock- Stock, which is ready for sale by the Insured, that is manufactured:

7.20.01.             By the Insured; or

7.20.02.             Under the Insureds' direction and to the Insureds' specifications.

7.20.03.             For the purposes of the Gross Earnings Coverage only:

7.20.03.01.              Finished Stock also includes whiskey and alcoholic products being aged.

7.20.03.02.              Finished Stock does not include stock that is held for sale at any retail outlet insured under
                         this Policy or that has been sold, that is manufactured:

7.20.03.02.01.                By the Insured; or

7.20.03.02.02.                Under the Insureds' direction and to the Insureds' specifications.




                                                                                                            N-000062

                                                                                                          EDGE-102-8 (12/10)
                                                                                                               Page 41 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 85 of 198
7.21.         First Named Insured - The First Insured listed under Named Insured.

7.22.         Flood - A general and temporary condition of partial or complete inundation of normally dry land
              areas or structure(s) caused by:

7.22.01.          The unusual and rapid accumulation or runoff of surface waters, waves, tides, tidal waves, tsunami,
                  the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                  bodies of water; or the spray there from all whether driven by wind or not; or

7.22.02.          Mudflow or mudslides caused by accumulation of water on or under the ground.

7.22.03.          Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by
                  Flood.

7.22.04.          Flood also includes Storm Surge if shown on the declarations as part of Flood.

7.23.         Fungus (or Fungi) - Any form of fungus including, but not limited to, yeast, mold, mildew, rust, smut,
              mushroom, spores, mycotoxins, odors, or any other substances or gases, products or byproducts
              produced by, released by, or arising out of the current or past presence of Fungi.

7.24.         Improvements and Betterments - Fixtures, alterations, installation or additions comprising part of a
              building occupied, but not owned by the Insured and acquired or made at the Insured's expense which
              the Insured cannot legally move.

7.25.         Indirect Dependent Time Element Location -

7.25.01.          Any Location of a company that is a direct: customer, supplier, contract manufacturer or conh·act
                  service provider to a Direct Dependent Time Element Location; or

7.25.02.          Any Location of a company that is an indirect: customer, supplier, contract manufacturer or
                  contract service provider to a Direct Dependent Time Element Location.

7.25.03.          An Indirect Dependent Time Element Location does not include Locations that are Insured
                  Locations under this Policy or the Locations of any company directly or indirectly supplying to, or
                  receiving from, the Direct Dependent Time Element Location, electricity, fuel, gas, water,
                  steam, refrigeration, sewage, voice, data or video.

7.26.         Land Improvements - Lawns, plants, shrubs or trees; pavements, roadways, sidewalks or similar
              works, but not including any fill or land beneath such property.

7.27.         Lease Interest _- The excess rent paid for the same or similar replacement property over actual rent
              otherwise payable had there been no loss or damage, plus cash bonuses or advance rent paid (including
              any maintenance or operating charges) for each month during the unexpired term of the lease.

7.28.         Life Support Equipment - Equipment used to maintain a patient's bodily function. These include but
              are not limited to medical ventilators, heart-lung machines, ECMO, and dialysis machines.

7.29.         Location-

7.29.01.          As specified in the Schedule of Locations;

7.29.02.          Ifnot so specified in the Schedule of Locations:

7.29.02.01.           a Location is a building(s) bounded on all sides by public streets, clear land space or open
                      waterways, each not less than fifty feet wide;




                                                                                                     N-000063

                                                                                                   EDGE-102-B (12/10)
                                                                                                          Page 42 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 86 of 198
7.29.02.02.       A site or tract of land occupied or available for occupancy with tangible property; or

7.29.03.          If the Insured is a tenant,

7.29.03.01.            those portions of the building not rented by the Insured; or

7.29.03.02.            those portions of the building not intended to be rented by the Insured or others.

7.30.         Media - Tangible personal property on which Electronic Data or Programs can be recorded, but not
              the Data or Programs themselves. Money or Securities are not Media.

7.31.         Medical Monitors - Monitors that allow medical staff to measure a patient's medical state. Monitors
              may measure patient vital signs and other parameters including but not limited to ECG, EEG, blood
              pressure, and dissolved gases in the blood.

7.32.         Merchandise - Goods kept for sale by the Insured which are not Raw Stock, Stock in Process or
              Finished Stock.
7.33.         Miscellaneous Unnamed Location - A Location owned, leased or rented by the Insured, but not
              specified in the Schedule of Locations.

7.34.         Moderate Flood Hazard Area (MFHA) - Is an area defined by FEMA (The Federal Emergency
              Management Agency) or any foreign equivalent, between the limits of the base flood and the
              0.2-percent-annual-chance or 500-year flood. A Moderate Flood Hazard Area is shown on the FIRM
              per FEMA and includes but is not limited to Zone B or Zone X (shaded). If not defined by FEMA or
              any foreign equivalent, it is an area between the limits of the base flood and the
              0.2-percent-annual-chance or 500-year flood.

7.35.         Money - Currency, coins and bank notes whether or not in current use; travelers checks, register
              checks and money orders held for sale to the public.

7.36.         Named Storm - Any storm or weather disturbance that is named by the U. S. National Oceanic and
              Atmosphetic Administration (NOAA) or the U. S. National Weather Service or the National Hurricane
              Center or any comparable worldwide equivalent.

              Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

7.375.        NCP - No Coverage Provided.

7.38.         Net Lease Interest - That sum which placed at six percent 6% interest compounded annually would
              equal the Lease Interest (less any amounts otherwise payable).

7.39.         New Construction or Additions - Additional square footage beyond what existed and was usable for
              the Insured's business activities as of the inception of the policy period.

7.40.         Occurrence - All loss( es) or damage that is attributable directly or indirectly to one cause or a series of
              similar or related causes. All such loss(es) or damage will be treated as one Occurrence. }Iowever, if
              Occurrence is specifically defined anywhere in this Policy, that definition will apply to the applicable
              coverage provided.

7.41.         Operations - The Insured's business activities at the Insured Location.

7.42.         Ordinary Payroll - Payroll expenses for all employees except officers, executives, department
              managers, employees under contract, and other important professional employees. Payroll expenses
              include the payroll, employee benefits (if directly related to payroll), FICA payments, Union dues and
              Workers1 Compensation premiums the Insured pays for.




                                                                                                          N-000064

                                                                                                        EDGE-102-8 (12/10)
                                                                                                             Page 43 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 87 of 198
7.43.      Period of Interruption - The period starting when the Insured's Electronic Data Processing Equipment
           or Media fails to operate and ending when with due diligence and dispatch, the Insured's Electronic
           Data Processing Equipment or Media could be restored to the same or equivalent operating condition
           that existed prior to the failure. The Period of Interruption does not include the additional time to
           make changes to the Insured's Electronic Data Processing Equipment or Media.
7.44.      Period of Service Interruption - The period starting when an interruption of a specified service
           occurs and ending when with due diligence and dispatch, the service could be restored to the same or
           equivalent operating condition that existed prior to the failure.

7.45.      Policy Year - The (12) twelve consecutive months after the date coverage begins on this Policy.

7.46.      Program (Software) - Any computer software, computer applications, or recorded instructions,
           whether digital or otherwise, for the processing, sequencing, collecting, transmittal, recording, retrieval
           or storage of Electronic Data.

7.47.      Public Adjusters - Individuals or groups, including consultants, secured specifically for the purpose of
           representing the Insured's interest in the adjustment ofa claim(s) under this Policy.

7.48.      Qualifying Period - The continuous period of time expressed in hours or days which must be
           exceeded before coverage under this Policy begins.

7.49.      Raw Stock (or Raw Material) - Materials in the state in which the Insured receives it for conversion
           into stock in process or Finished stock.

7.50.      Scheduled Location - A Location scheduled on this Policy.

7.51.      Securities - Negotiable and non-negotiable instruments or contracts representing either Money (but
           does not include Money) or other property and includes:

7.51.01.       Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value
               in a meter) in current use; and

7.51.02.       Evidences of debt issued in connection with credit or charge cards, which are not issued by the
               Insured.

7.52.      Selling Price - The regular cash selling price at the Location where the loss occurs, less all discounts,
           pilferage, waste, returns and charges to which the Finished Stock and Merchandise would have been
           subject had no loss occurred.

7.53.      Soft Costs - Expenses which are necessarily incurred during the Period of Liability, that would not
           have been incu1Ted if the Delay in Completion had not occurred, at Locations undergoing renovation
           or in the course of construction, limited to the following:

7.53.01.       Construction loan fees -The additional cost incurred to rearrange loans necessary for the
               completion of construction, repairs or reconstruction, including; the cost to arrange refinancing,
               accounting work necessary to restructure financing, legal work necessary to prepare new
               documents, charges by the lenders for the extension or renewal of loans necessary.

7.53.02.       Commitment fees, leasing and marketing expenses - The additional cost of returning any
               commitment fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and
               marketing due to loss oftenant(s) orpurchaser(s).

7.53.03.       Additional fees - The additional cost for: architects, engineers, consultants, attorneys and
               accountants needed for the completion of construction, repairs or reconstruction.




                                                                                                      N-000065

                                                                                                    EDGE-102-8 (12/10)
                                                                                                         Page 44 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 88 of 198
7.53.04.          Carrying costs - The additional cost of: property taxes, building permits, additional interest on
                  loans, realty taxes and insurance premiums.

7.54.         Special Flood Hazard Area (SFHA) - Is an area defined by FEMA (The Federal Emergency
              Management Agency) or any foreign equivalent that will be inundated by the flood event having a
              I-percent chance of being equaled or exceeded in any given year. The I-percent annual chance flood is
              also referred to by FEMA as the base flood or 100-year flood. SFHA's per FEMA include but are not
              limited to Zone A, Zone AO, Zone AH, Zones Al-A30, Zone AE, Zone A99, Zone AR, Zone AR/AE,
              Zone AR/AO, Zone AR/Al-A30, Zone ARIA, Zone V, Zone VE, and Zones Vl-V30. If not defined
              by FEMA or any foreign equivalent, it is an area that will be inundated by the flood event having a
              I-percent chance of being equaled or exceeded in any given year.

7.55.         Spores - Any reproductive body produced by or arising out of any Fungus ( or Fungi).

7.56.         Stock in Process - Raw Stock (or material) which has undergone any aging, seasoning, mechanical or
              other process of manufacture at the Insured Location, but which has not become Finished Stock.

7.57.         Storm Surge - A general and temporary condition of partial or complete inundation by salt water,
              caused by wind driven waves that result from a Named Storm, of normally dry land areas or
              structure(s) in coastal areas, bays or inland waters connected to an ocean or sea.

7.58.         Suspension (Suspended) -

7.58.01.          The slowdown or cessation of the lnsured's business activities: or

7.58.02.          As respects rental income that a part or all of the Insured Location is rendered untenantable.

7.59.         Terrorist Activity - Any activity;

7.59.01.          Defined as Terrorist Activity under the laws of the place where it is committed, or

7.59.02.          Which involves any of the following:

7.59.02.01.           The hijacking or sabotage of any conveyance (including an aircraft, vessel, or vehicle).

7.59.02.02.           The seizing or detaining of, or threatening to kill, injure or continue to detain any person in
                      order to compel a third person (including a governmental organization) to do or abstain from
                      doing any act as an explicit or implicit condition for the release of the individual seized or
                      detained.

7.59.02.03.           A violent attack upon an internationally protected person (as defined in section 1116(b)(4) of
                      title 18, United States Code) or upon the liberty of such a person.

7.59.02.04.           An assassination.

7.59.02.05.           The use of any biological agent, chemical agent, or nuclear weapon or device, explosive or
                      firearm (other than for mere personal monetary again), with intent to endanger, directly or
                      indirectly, the safety of one or more individuals or to cause damage to property.

7.59.02.06.           A threat, attempt, or conspiracy to do any of the foregoing.

7.59.02.07.           Any act or acts deemed or declared by any government official, law enforcement agency,
                      intelligence agency or other public authority to be terrorism or a terrorist act(s).




                                                                                                        N-000066

                                                                                                      EDGE-102-B (12110)
                                                                                                             Page 45 of 46

  Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 89 of 198
7.60.     Valuable Papers and Records - Inscribed or printed or written documents, manuscripts or records,
          including abstracts, books, deeds, drawings, films, maps, mortgages, prints and tracings, card index
          systems, files, tapes, discs, drums, cells, magnetic recordings or storage Media for electronic data
          processing, Electronic Data, Program(Sofhvare); but Valuable Papers and Records does not mean
           Money or Securities.




                                                                                               N-000067

                                                                                             EDGE-102-B (12/10)
                                                                                                   Page 46 of 46

 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 90 of 198
Appendix A - Earth Movement/Earthquake Zones for
USA including its Commonwealths and Territories                                                                                ©

This list is for is for informational purposes only and does not convey any coverage under the policy .       ZURICH
..
COUNTRY. The United States       of America
     STATE        ZONE                                COUNTIES/PARIS HES/INDEPENDENT CITIES
ALABAMA              3           Colbert Franklin Lauderdale Lawrence. Limestone, Morgan
                     4           Balance of State
ALASKA               l           Balance of State                                                                        ··~
                     2           North Slone
ARIZONA              4           Entire State
ARKANSAS             l           Clav, Crai2:head, Crittenden, Cross, Greene, Lee, Mississinni, Poinsett, St Francis
                     2           Independence, Jackson, Lawrence, Lonoke, Monroe, Phillips, Prairie, Randolph, Sharp, White,
                                 Woodruff
                           3     Arkansas, Cleburne, Cleveland, Desha, Drew, Faulkner, Fulton, Grant, Izard, Jefferson,
                                 Lincoln, Pulaski. Saline, Stone
                           4     Balance of State
CALIFORNIA                  I    Entire State
COLORADO                   4     Entire State
CONNECTICUT                4     Entire State                                                                .
DELAWARE                   4     Entire State
D. C. (Territorv)          4     District of Columbia- Washington D. C.
FLORIDA                    4     Entire State
GEORGIA                    4     Entire State
HAWAII                     l     Entire State
IDAHO                      3     Bannock, Bear Lake, Caribou, Franklin, Oneida, Power
                           4     Balance of State
ILLINOIS                   1     Alexander, Pulaski
                           2     Bond, Clay, Clinton, Edwards, Franklin, Gallatin, Hamilton, Hardin, Jackson, Jefferson,
                                 Johnson, Lawrence, Madison, Marion, Massac, Monroe, Perry, Pope, Randolph, Richland, St.
                                 Clair, Saline, Union, Wabash, Washington, Wayne, White, Williamson
                           3     Calhoun, Christian, Clark, Coles, Crawford, Cumberland, Douglas, Edgar, Effingham, Fayette,
                                 Greene, Jasper, Jersey, Macoupin, Montgomery, Morgan, Moultrie, Pike, Sangamon, Scott,
                                 Shelby
                           4     Balance of State
INDIANA                    2     Crawford, Daviess, Dubois, Gibson, Greene, Knox, Lawrence, Martin, Orange, Perry, Pike,
                                 Posey, Spencer, Sullivan, Vanderburgh, Warrick
                           3     Brown, Clay, Fayette, Johnson, Morgan, Monroe, Owen, Rush, Shelby, Union, Vigo
                           4     Balance of State
IOWA                       4     Entire State                                         .                   .
KANSAS                     4     Entire State
KENTUCKY                   1     Ballard, Carlisle, Fulton, Hickman, McCracken
                           2     Breckinridge, Butler, Caldwell, Calloway, Christian, Crittenden, Daviess, Graves, Hancock,
                                 Henderson, Hopkins, Livingston, Logan, Lyon, Marshall, McLean, Muhlenberg, Ohio,
                                 Simpson, Todd, Trigg, Union, Warren, Webster
                           4    Balance of State
LOUISIANA                  4    Entire State                                                                          --
                             --
MAINE                      4    Entire State
MARYLAND                   4     Entire State


                                                                                                               N-000068

                                                                                                              EDGE-450-B (06/14)
                                                                                                                    Page 1 of 3

       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 91 of 198
     STATE       ZONE                         COUNTIES/PARISHES/INDEPENDENT CITIES

MASSACHUSETTS        4    Entire State
MICHIGAN             4    Entire State
MINNESOTA            4    Entire State

MISSISSIPPI          I    DeSoto, Tunica
                     2    Alcorn, Benton, Bolivar, Coahoma, Lafayette, Leflore, Marshall, Panola, Pontotoc, Prentiss,
                          Ouitman Sunflower. Tallahatchie Tate Tinnah Tishomin2:o. Union. Yalobusha
                     3    Calhoun, Carroll, Chickasaw, Choctaw, Clay, Grenada, }Iolmes, Humphreys, Issaquena,
                          Itawamba, Lee, Lowndes, Monroe, Montgomery, Oktibbeha, Sharkey, Warren, Washington,
                          Webster. Yazoo
                     4    Balance of State
MISSOURI             1    Bollinger, Butler, Cape Girardeau, Dunklin, Mississippi, New Madtid, Pemiscot, Scott,
                          Stoddard
                     2    Carter, Iron, Jefferson, Madison, Oregon, Perry, Reynolds, Ripley, St. Francois, Ste.
                          Genevieve, St. Charles, St. Louis, Washington, Wayne, and the City of St Louis
                     3    Audrain, Callaway, Cole, Crawford, Dent, Franklin, Gasconade, I--Iowell, Lincoln, Maries,
                          Marion. Miller. Mont2:ome•·., Osaoe Phelns. Pike Pulaski Ralls Shannon. Texas Wa1Ten
                     '4   Balance of State
MONTANA               4   Entire State
NEBRASKA              4   Entire State
NEVADA                1   Carson Citv, DouPlas
                      2   Lvon, Storev, Washoe
                      3   Clark
                      4   Balance of State

NEW HAMPSHIRE        4    Entire State
NEW JERSEY           4    Entire State
NEW MEXICO           4    Entire State
NEW YORK             4    Entire State
NORTH CAROLINA       4    Entire State
NORTH DAKOTA         4    Entire State
OHIO                 4    Entire State
OKLAHOMA             4    Entire State
OREGON           -
                     2    Clackamas Multnomah. WashinPton
                     3    Benton, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine, Lane,
                          Lincoln, Linn, Marion, Polk, Tillamook, Yamhill
                     4    Balance of State
PENNSYLVANIA         4    Entire State
RHODE ISLAND         4    Entire State
SOUTH DAKOTA         4    Entire State                     -~-------
SOUTH CAROLINA       1    Berkely, Charleston, Dorchester

                     3    Bamberg, Beaufort, Calhoun, Clarendon, Colleton, Georgetown, Hampton, Jasper,
                          Orangeburg, Richland, Sumter, Williamsburg
                     4    Balance of State
TENNESSEE            1    Crockett, Dver, Haywood Lake, Lauderdale, Obion, Shelbv Tipton
                     2    Benton, Carroll, Chester, Decatur, Fayette, Gibson, Hardeman, Hardin, Henderson, llenry,
                          Humohrevs Madison McNaim Weaklev
                     3    Cheatham, Davidson, Dickson, Hickman, Houston, Lawrence, Lewis, Montgomery, Perry,
                          Robertson Stewart Wavne
                     4    Balance of State
TEXAS                4    Entire State



                                                                                                         N-000069

                                                                                                       EDGE-450-B (06114)
                                                                                                             Page 2 of 3

     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 92 of 198
STATE                   ZONE                      COUNTIES/PARISHES/INDEPENDENT CITIES
UTAH                      2  Davis Salt Lake Utah
                          3  Cache. Morgan Rich, Summit. Wasatch. Weber
                          4  Balance of State                                                   .
VERMONT                   4  Entire State
VIRGINIA                  4  Entire State
WASHINGTON                1  Clallam, Island, Jefferson, King, Kitsap, Mason, Pierce, San Juan Thurston
                               ""

                          2  Skaait Snohomish" Whatcom
                          3  Clark, Cowlitz. Gravs Harbor Lewis Pacific. Skamania Wahkiakum.
                          4  Balance of State                                 .
WEST VIRGINIA             4  Entire State
WISCONSIN                 4  Entire State
WYOMING                   4  Entire State

Commonwealths and Territories of The United States of America
                                          ZONE
                                          "

AMERICAN SAMOA                               2      Entire Territo!}'.
GUAM                                         1      Entire Territorv
NORTHERN MARIANA ISLANDS                     2      Entire Commonwealth
PUERTO RICO                                  1      Entire Commonwealth                                                   "


U.S. VIRGIN ISLANDS                          I      Entire Territorv for Limits of Liabili!Y               .
                                             2      Entire Territorv for Deductibles
All other US Territories and Possessions     2      Entire Territory




                                                                                                               N-000070

                                                                                                          EDGE-450-B (06/14)
                                                                                                                Page 3 of 3

       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 93 of 198
Appendix B - Earth Movement/Earthquake Zones                                                                                   ©

Worldwide except USA its Commonwealths and                                                                  ZURICH
Territories
This list is for is for informational purposes only and does not convey any coverage under the policy.



 Country                                           Zone     Provinces/Territories/States/Counties
 ALBANIA                                             I      Entire Country
 ALGERIA                                             2      Balance of Country
                                                     4      Adrar, Bechar, Tamanghasset, Ouargla, Illizi, Tindouf, Ghardaia
 ANDORRA                                             4      Entire Country
 ANGUILLA                                            I      Entire Country for Limits of Liability
                                                     2      Entire Country for Deductibles
 ANTARCTICA                                          3      Entire Country
 ANTIGUA & BARBUDA                                   I      Entire Country for Limits of Liability
                                                     2      Entire Country for Deductibles
 ARGENTINA                                           I      Mendoza, Neuquen, San Juan
                                                     2      Catamarca, Jujuy, Salta, Tucuman
                                                     4      Balance of Country
 ARMENIA                                             I      Entire Country
ARUBA                                                3      Entire Country
AUSTRALIA including Christmas Island,                2      Christmas Island , Cocos (Keeling) Islands
Cocos (Keeling) Islands                              3      Western Australia
                                                     4      Balance of Coun!Iy
AUSTRIA                                              4      Entire Country
AZERBAIJAN                                           I      Entire Country
BAHAMAS                                              4      Entire Country
BAHRAIN                                              4      Entire Country
BANGLADESH                                           I      Entire Country
BARBADOS                                             I      Entire Country for Limits of Liability
                                                     2      Entire Country for Deductibles
BELARUS                                              4      Entire Country
BELGIUM                                              3      Entire Country
BELIZE                                               2      Entire Country
BENIN                                                4      Entire Country
BERMUDA                                              4      Entire Country
BHUTAN                                               I      Balance of Country
                                                     2      Gas a
BOLIVIA                                              I      La Paz
                                                     2      Oruro, Potosi, Tarija
                                                     3      Beni, Chuquisaca, Cochabamba, Pando, Santa Cruz
BOSNIA & HERZEGOVINA                                 2      Entire Country



                                                                                                                 N-000071

                                                                                                               EDGE-451-D (02/16)
                                                                                                                     Page 1 of 9

           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 94 of 198
Country                            Zone   Provinces/Territories/States/Counties
BOTSWANA                            4     Entire Countly
BRAZIL                              4     Entire Country
BRITISH VIRGIN ISLANDS              I     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
BRUNEI DARUSSALAM                   3     Entire Country
BULGARIA                            2     Entire Country
BURKINA FASO                        4     Entire Country
BURUNDI                             2     Entire Country
CAMBODIA                            4     Entire Country
CAMEROON                            3     Entire Country
CANADA                              2     British Columbia, Ontario, Quebec, Yukon except listed postal codes
                                          with first 3 characters in Zones 3 and 4
                                    3     British Columbia Postal Codes: V8C, V8G, VOM, VOT, VOV, V l M, V2P,
                                          V2R,V2S,V2T,V2V,V2W,V2X,V2Y,V3B,V3C,V3E,V3G,V3H,V3J.
                                          V3K,V3L,V3N,V3R,V3T,V3V,V3Y,V4N,V4R,V4S,V4W,V4X,V4Z,
                                          V5A,V5B,V5C,V5E,V5G,V5H,V5J,V5K,V5L,V5M,V5N,V5R,V5T,
                                          V5V,V5Y,V5Z,V6A,V6B,V6C,V6E,V6G,V6H,V6J,V6K,V6L,V6R,
                                          V6T,V6Z,V7G,V7H,V7J,V7K,V7L,V7M,V7N,V7P,V7R,V7S,V7T,
                                          V7V,V7W,V7X,V7Y,V8B,V8J
                                          New Brnnswick Postal Codes: EIG,EIN,EIV,EIX,E2A,E2E,E2G,
                                          E2H,E2J,E2K,E2L,E2M,E2N,E2P,E2R,E2S,E2V,E3A,E3B,E3C,E3E,
                                          E3L,E3N,E3V,E3Y,E3Z,E4A,E4B,E4C,E4E,E4G,E4J,E4S,E4T,E4V,
                                          E4W,E4X,E4Y,E4Z,E5A,E5B,E5C,E5E,E5H,E5J,E5K,E5L,E5M,
                                          E5N,E5P,E5R,E5S,E5T,E5V,E6A,E6B,E6C,E6E,E6G,E6H,E6J,E6K,
                                          E6L,E7 A,E7B,E7C,E7E,E7G,E7H,E7J,E7K,E7L,E7M,E7N,E7P ,E8A,
                                          E8B,E8C,E8E,E8G,E8J,E8K,E8L,E8M,E8N,E8P,E8R,E9A,E9B,E9C,
                                          E9E,E9G,E9H,
                                          Ontario Postal Codes: KOE,KOG,K6T,K6V,K7 A,K7H
                                          Quebec Postal Codes:GOE,GOJ,GOK,GOM,GON,GOP,GOS,GOV,GOY,
                                          GOZ,G4R,G4S,G5B,G5J,G5X,G5Y,G5Z,G6A,G6B,G6E,G6G,G6H,
                                          G6J,G6K,G6L,G6P,G6R,G6S,G6T,G7A,G7B,G7G,G7H,G7J,G7K,
                                          G7N,G7P,G7S,G7T,G7X,G7Y,G7Z,G8A,JOA,JOB,JOE,JOH,JOJ,JlA,
                                          JI C,J IE,Jl G,JI H,J I J,J IK,Jl L,J IM,J IN ,JI R,Jl S,Jl T ,JIX,J2G ,J2H,
                                          J2J,J2K,J2L,J2M,J2N,J2R,J2S,J2T,J2X,J3M,J9V




                                                                                                     N-000072

                                                                                                   EDGE-451-D (02/16)
                                                                                                          Page 2 of 9

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 95 of 198
Country                            Zone   Provinces/Territories/States/Counties
CANADA (continued)                  4     British Columbia Postal Codes: VOC,VOJ,VIJ,V2K,V2M,VOA,VOB,
                                          VOE,VOG,VOH,VOK,VOL,VOW,VOX,VlA,VIB,VIC,VlE,VlG,VlH,
                                          VIK,VlL,VIN,VlP,VIR,VIS,VlT,VlV,VIW,VlX,VlY,VlZ,V2A,
                                          V2B,V2C,V2E,V2G,V2H,V2J,V2L,V2N,V4T,V4V
                                          Ontario Postal Codes: KOH,KOK,KOL,KOM,K7G,K7K,K7L,K7M,
                                          K7N,K7P,K7R,K8N,K8P,K8R,K8V,K9A,K9H,K9J,K9K,K9L,K9V,
                                          LOA,LOB,LOC,LOE,LOG,LOH,LOJ,LOK,LOL,LOM,LON,LOP,LOR,LOS,
                                          LlA,LIB,Ll C,Ll E,Ll G,L!H,LIJ,LIK,Ll L,LIM,LIP,LIR,LIS,Ll T,
                                          L l V,L 1W,L 1X,L 1Y ,LI Z,L2A,L2E,L2G ,L2H,L2J ,L2M,L2N ,L2P,
                                          L2R,L2S,L2T,L2V,L2W,L3B,L3C,L3K,L3M,L3P,L3R,L3S,L3T,
                                          L3V,L3X,L3Y,L3Z,L4A,L4B,L4C,L4E,L4G,L4H,L4J,L4K,L4L,L4M
                                          L4N,L4P,L4R,L4S,L4T,L4V,L4W,L4X,L4Y,L4Z,L5A,L5B,L5C,
                                          L5E,L5G,L5H,L5J,L5K,L5L,L5M,L5N,L5P,L5R,L5S,L5T,L5V,
                                          L5W,L6A,L6B,L6C,L6E,L6G,L6H,L6J,L6K,L6L,L6M,L6P,L6R,
                                          L6S,L6T,L6V ,L6W ,L6X,L6Y ,L6Z,L7A,L 7B,L7C,L 7E,L7G ,L 7J,
                                          L7K,L7L,L7M,L7N ,L7P ,L7R,L7S,L7T ,L8E,L8G ,L8H,L8J,L8K,L8L,
                                          L8M,L8N,L8P,L8R,L8S,L8T,L8V,L8W,L9A,L9B,L9C,L9G,L9H,
                                          L9K,L9L,L9M,L9N,L9P,L9R,L9S,L9T,L9V,L9W,L9Y,L9Z,MlB,
                                          MlC,MlE,MlG,MIH,MIJ,MlK,MlL,MlM,MlN,MIP,MlR,MlS,
                                          Ml T,M 1V,MI W,M lX,M2H,M2J,M2K,M2L,M2M,M2N,M2P,M2R,
                                          M3A,M3B,M3C,M3H,M3J,M3K,M3L,M3M,M3N,M4A,M4B,M4C,
                                          M4E,M4G,M4H,M4J,M4K,M4L,M4M,M4N,M4P,M4R,M4S,M4T,
                                          M4V,M4W,M4X,M4Y,M5A,M5B,M5C,M5E,M5G,M5H,M5J,M5K,
                                          M5L,M5M,M5N,M5P,M5R,M5S,M5T,M5V,M5W,M5X,M6A,M6B,
                                          M6C,M6E,M6G,M6H,M6J,M6K,M6L,M6M,M6N,M6P,M6R,M6S,
                                          M7A,M7Y,M8V,M8W,M8X,M8Y,M8Z,M9A,M9B,M9C,M9L,M9M,
                                          M9N,M9P,M9R,M9V,M9W,NOA,NOB,NOC,NOE,NOG,NOH,NOJ,
                                          NOK,NOL,NOM,NON,NOP,NOR,NlA,NlC,NlE,NlG,NlH,NlK,NlL,
                                          NlM,NlP,NIR,Nl S,Nl T,N2A,N2B,N2C,N2E,N2G,N2H,N2J,N2K,
                                          N2L,N2M,N2N,N2P,N2R,N2T,N2V,N2Z,N3A,N3B,N3C,N3E,N3H,
                                          N3L,N3P,N3R,N3S,N3T,N3V,N3W,N3Y,N4B,N4G,N4K,N4L,N4N,
                                          N4S,N4T,N4V,N4W,N4X,N4Z,N5A,N5C,N5H,N5L,N5P,N5R,N5V,
                                          N5W,N5X,N5Y,N5Z,N6A,N6B,N6C,N6E,N6G,N6H,N6J,N6K,N6L,
                                          N6M,N6N,N6P,N7A,N7G,N7L,N7M,N7S,N7T,N7V,N7W,N7X,
                                          N8A,N8H,N8M,N8N,N8P,N8R,N8,N8T,N8V,N8W,N8X,N8Y,N9A,
                                          N9B,N9C,N9E,N9G,N9H,N9J,N9K,N9V,N9Y,POA,POB,POC,POE,
                                          POG,POH,POJ,POK,POL,POM,PON,POP,POR,POS,POT,POV,POW,POX,
                                          POY,PlA,PlB,PlC,PlH,PIL,PlP,P2A,P2B,P2N,P3A,P3B,P3C,P3E,
                                          P3G,P3L,P3N,P3P,P3Y,P4N,P4P,P4R,P5A,P5E,P5N,P6A,P6B,P6C,
                                          P7A,P7B,P7C,P7E,P7G,P7J,P7K,P7L,P8N,P8T,P9A,P9N
                                          Quebec Postal Codes: GOC,GOG,GOW,G4T,G4X,G8B,G8C,G8E,
                                          G8G,G8H,G8J,G8K,G8L,G8M,G8N,G8P,JOM,JOY,JOZ,J9P,J9T,J9X,
                                          J9Y,J9Z
                                          Balance of Country
CAPE VERDE                          4     Entire Country
CAYMAN ISLANDS                      1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
CENTRAL AFRICAN REPUBLIC            4     Entire Country




                                                                                           N-000073

                                                                                         EDGE-451-0 (02/16)
                                                                                               Page 3 of 9

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 96 of 198
Country                            Zone   Provinces/Territories/States/Counties
CHAD                                4     Entire Country
CHILE                               I     Entire Country
CHINA                               I     Liaoning, Tianjin, Hebei, Shandong, Gansu, Sichuan, Shaanxi,
                                          Yunnan
                                    2     Tibet Autonomous Region, Macau
                                    3     Balance of Country
                                    4     Hong Kong
COLOMBIA                            1     Antioquia, Cauca, Choco, Narino, Quindio, Risaralda, Valle del
                                          Cauca, Bogota
                                    2     Balance of Country
                                    3     Amazona, Arauca, Caqueta, Casanare, Guainia, Guaviare, Meta,
                                          Putumayo, San Anres and Providencia, Vaupes, Vichada
COMOROS                             4     Entire Country
CONGO, REPUBLIC OF                  2     Entire Country
COOK ISLANDS                        2     Entire Country
COSTA RICA                          I     Entire Country
CROATIA                             2     Entire Country
CURACAO                             3     Entire Country
CYPRUS                              2     Entire Country
CZECH REPUBLIC                      3     Entire Country
DENMARK                             4     Entire Country
DJIBOUTI                            2     Entire Country
DOMINICA                            1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
DOMINICAN REPUBLIC                  1     Entire Countrv
ECUADOR                             I     Entire Country
EGYPT                               2     Cairo, Dakahlia, Damietta, Gharbia, lsmailia, Kafr el-Sheikh,
                                          Monufia, North Sinai, Port Said, Red Sea, Sharqia, Suez
                                    3     Balance of Country
EL SALVADOR                         I     Entire Country
EQUATORIAL-GUINEA                   4     Entire Country
ERITREA                             2     Entire Country
                                                                          -
ESTONIA                             4     Entire Country
ETHIOPIA                            2     Balance of Country
                                    3     Benishangul, Dure Dawa, Gambela, Harari, Somalia, Tigray
FAROE ISLANDS                       4     Entire Country
FEDERATED STATES OF MICRONESIA      2     Entire Country
FIJI                                1     Entire Country
FINLAND                             4     Entire Country
FRANCE                              3     Entire Country
FRENCH GUIANA                       4     Entire Country
FRENCH POLYNESIA                    4     Entire Country
GABON                               2     Ogooue-Ivindo, Ogooue-Lolo
                                    3     Balance of Country
GAMBIA                              4     Entire Country
GERMANY                             3     Entire Country



                                                                                                N-000074

                                                                                              EDGE-451-D (02/16)
                                                                                                     Page 4 of 9

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 97 of 198
Countrv                            Zone   Provinces/Territories/States/Counties
GHANA                               1     Accra
                                    2     Balance of Country
GIBRALTAR                           3     Entire Country
GREECE                              1     Entire Country
GREENLAND                           3     Entire Country
GRENADA                             1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
GUADELOUPE                          I     Entire Country for Limits of Liability
                                    2     Entire Countly for Deductibles
GUATEMALA                           1     Balance of Country
                                    3     Peten
GUINEA                              2     Boke
                                    3     Balance of Countly
GUINEA-BISSAU                       3     Entire Country
GUYANA                              3     Entire Country
HAITI                               1     Entire Country
HONDURAS                            1     Balance of Countty
                                    3     Atlantida, Colon, Cornayagua, El Paraiso, Francisco Morazan,
                                          Gracias a Dios, Islas de la Bahia, Olancho, Yoro
HUNGARY                             3     Entire Country
ICELAND                             2     Northeast Region, South Region, Southern Peninsula Region,
                                          Capital Region
                                    3     Balance of Country
INDIA                               1     Arunachal Pradesh, Assam, Gujarat, Haryana, Himachal Pradesh,
                                          Jammu and Kashmir, Manipur, Meghalaya, Mizoram, Nagaland,
                                          Punjab, Uttarakhand
                                    3     Balance of Country
INDONESIA                           2     Balance of Country
                                    3     (Borneo )-East Kalimantan, South Kalimantan, West Kalimantan,
                                          Central Kalimantan, Riau, Jambi, South Sulawesi, Southeast
                                          Sulawesi, Bengka-Belitung, West Nusa Tenggara
IRAQ                                2     Entire Country
IRELAND                             4     Entire Country
ISLE OF MAN                         3     Entire Country
ISRAEL                              1     Entire Countty
ITALY                               I     Balance of Country
                                    3     Liguria, Lombardy, Marche, Piedmont, Aosta Valley, Trentino-Alto
                                          Adige/Siidtirol, Veneta, Sardinia
IVORY COAST (COTE-D'IVOIRE)         4     Entire Country
JAMAICA                             1     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
JAPAN                               1     Balance of Country
                                    2     Prefectures of Akita, Fukui, Fukuoka, Gifu, Gunma, Hiroshima,
                                          Ishikawa, Kagoshima, Niigata, Okayama, Okinawa, Saga, Shimane,
                                          Tochigi, Tottori, Toyama, Yamaguchi




                                                                                               N-000075

                                                                                             EDGE-451-D (02/16)
                                                                                                   Page 5 of 9

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 98 of 198
Country                            Zone   Provinces/Territories/States/Counties
JORDAN                              I     Balance of Country
                                    3     Ma'an
KAZAKHSTAN                          I     Entire Country
KENYA                               2     Entire Country
KIRIBATI                            2     Entire Country
KOSOVO                              3     Entire Country
KUWAIT                              4     Entire Country
KYRGYZSTAN (KYRGYZ REPUBLIC)        I     Entire Country
LAOS                                2     Balance of Country
                                    3     Attapu, Bolikhamxai, Champasak, Khammouan, Salavan,
                                          Savannakhet, Xekong
LATVIA                              4     Entire Countty
LEBANON                             I     Entire Country
LESOTHO                             2     Balance of Country
                                    3     Berea, Butha-Buthe, Leribe, Mokhotlong, Thaba-Tseka
LIBERIA                             4     Entire Country
LIBYA                               2     Entire Country
LIECHTENSTEIN                       4     Entire Country
LITHUANIA                           4     Entire Country
LUXEMBOURG                          4     Entire Country
MACEDONIA                           I     Entire Country
MADAGASCAR                          3     Entire Country
MALAWI                              2     Entire Country
MALAYSIA                            3     Entire Country
MALDIVES                            4     Entire Country
MALI                                4     Entire Country
MALTA                               4     Entire Country
MARSHALL ISLANDS                    4     Entire Country
MARTINIQUE                          I     Entire Country for Limits of Liability
                                    2     Entire Country for Deductibles
MAURITANIA                          4     Entire Country
MAURITIUS                           4     Entire Country
MAYOTTE                             2     Entire Country
MEXICO                              I     Balance of Countiy
                                    4     Chihuahua, Campeche, Coahuila, Durango, Nuevo Leon, Quintana
                                          Roo, San Luis Potosi, Sonora, Tamaulipas, Yucatan, Zacatecas
MOLDOVA                             2     Entire Country
MONACO                              3     Entire Country
MONGOLIA                            I     Balance of Country
                                    2     Govi-Altai, Arkhangai, Bulgan, Selenge, Tov, Ovorkhangai
                                    3     Khentii, Dundgovi, Domogovi, Domod, Sukhbaatar
MONTENEGRO                          2     Entire Country
MONTSERRAT                          I     Entire Country For Limits
                                    2     Entire Country for Deductibles




                                                                                             N-000076

                                                                                           EDGE-451-D (02/16)
                                                                                                     Page 6 of 9

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 99 of 198
Countrv                          Zone   Provinces/Territories/States/Counties
MOROCCO                           2     Fes-Boulemane (Fes), Gharb-Chrarda-Beni Hssen (Kenitra),
                                        Tangier-Tetouan (Tangier)
                                   3    Taza-Al Hoceima-Taounate (Al Hoceima)
                                   4    Balance of Country
MOZAMBIQUE                         2    Manica, Sofala, Zambezia
                                   3    Balance of Country
NAMIBIA                            4    Entire Country
NAURU                              2    Entire Country
NEPAL                              l    Entire Country
NETHERLANDS                        4    Balance of Country
                                   3    Bonaire
                                   I    Saba, Sint Eustatius for Limits of Liability
                                  3     Saba, Sint Eustatius for Deductibles
NEW CALEDONIA                     3     Entire Country
NEW ZEALAND                        I    Balance of Country
                                  3     Northland, Auckland, Waikato
NICARAGUA                          I    Balance of Country
                                  3     RAAN (Bilwi), RAAS (Bluefields)
NIGER                             4     Entire Country
NIGERIA                           4     Entire Country
NIUE                              2     Entire Country
NORFOLK ISLAND                    2     Entire Country
NORWAY                            4     Entire Country
OMAN                              4     Entire Country
PAKISTAN                           I    Balance of Country
                                  3     Punjab
PALAU                             2     Entire Country
PALESTINE                          I    Entire Counhy
PANAMA                            2     Entire Country
PAPUA NEW GUINEA                  I     Entire Country
PARAGUAY                          4     Entire Country
PERU                              I     Entire Country
PHILIPPINES                       I     Entire Country
PITCAIRN ISLANDS                  2     Entire Country
POLAND                            4     Entire Country
PORTUGAL                          2     Lisbon, Santarern, Faro, Azores Autonomous Region
                                  4     Balance of Country
QATAR                             4     Entire Country
REUNION                           4     Entire Country
ROMANIA                           2     Entire Country
RUSSIAN FEDERATION                I     Kamchatka, Buryatia, Tuva, Altai Republic,, Stavropol, Chechnya,
                                        Adygea, Krasnodar, Karachay-Cherkessia, lngushetia, Dagestan,
                                        Kabardino-Balkaria, North Ossetia-Alania
                                  3     Balance of Country




                                                                                            N-000077

                                                                                          EDGE-451-D (02/16)
                                                                                                Page 7 of 9

        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 100 of 198
Country                         Zone   Provinces/Territories/States/Counties
RWANDA                           2     Entire Country
SAMOA (WESTERN)                  2     Entire Country
SAN MARINO                       2     Entire Country
SAO TOME & PRINCIPE              4     Entire Country
SAUDI ARABIA                     2     Jizan, Tabuk
                                 4     Balance of Country
SENEGAL                         3      Entire Country
SERBIA                          2      Entire Country
SEYCHELLES                      4      Entire Country
SIERRA LEONE                    4      Entire Country
SINGAPORE                       4      Entire Country
SINT MAARTEN                     I     Entire Country for limits of Liability
                                3      Entire Country for Deductibles
SLOVAKIA                        3      Entire Country
SLOVENIA                        2      Entire Country
SOLOMON ISLANDS                  I     Entire Country
SOMALIA                         3      Entire Country
SOUTH AFRICA                    2      Free State, Western Cape
                                3      Balance of Country
SOUTH KOREA                     3      Entire Country
SOUTHERN SUDAN                  3      Entire Country
SPAIN                           2      Andalusia, Murcia
                                3      Balance of Country
SRI LANKA                       3      Entire Country
ST. BARTHELEMY                  I      Entire Country for Limits of Liability
                                2      Entire Country for Deductibles
ST. KITTS AND NEVIS             I      Entire Country for Limits of Liability
                                2      Entire Country for Deductibles
ST. LUCIA                       I      Entire Country for Limits of Liability
                                2      Entire Country for Deductibles
ST.MARTIN                       I      Entire Country for Limits of Liability
                                2      Entire Country for Deductibles
ST. VINCENT AND GRENADINES      I      Entire Country for Limits of Liability
                                2      Entire Country for Deductibles
SURINAME                        4      Entire Country
SWAZILAND                       2      Entire Countly
SWEDEN                          4      Entire Country
SWITZERLAND                     4      Entire Country
TAIWAN                          I      Entire Country
TAJIKISTAN                      I      Entire Country
TANZANIA                        2      Kigoma, Arusha, Singida, Dodoma, Manyara, Ruk:wa, Mbeya,
                                       Iringa, Ruvuma, Mtwara
                                3      Balance of Country




                                                                                        N-000078

                                                                                      EDGE-451-D (02/16)
                                                                                            Page 8 of 9

      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 101 of 198
 Country                                            Zone     Provinces/Territories/States/Counties
 THAILAND                                             2      Chiang Rai, Payao, Nan, Chang Mai, Mae Hong Son, Lampang,
                                                             Lampun, Phrae, Uttaradit, Sukhothai, Tak, Phitsanulok, Kamphaeng
                                                             Phet, Phichit, Nakhon Sawan, Uthai Thani, Kanchanaburi, Chai Nat,
                                                             Lop Buri, Sara Buri, Nakon Nayok, Ang Thong, Phra Nakhon Si
                                                             Ayuthaya, Nakhon Pathom, Sing Buri, Pathum Thani, Bangkok,
                                                             Samut Songkhram, Samut Sakhon, Nonthaburi, Samut Prakan,
                                                             Phetchaburi
                                                      3      Balance of Country
 TIMOR-LESTE                                          2      Entire Country
 TOGO                                                 3      Entire Country
 TONGA                                                2      Entire Country
 TRINIDAD AND TOBAGO                                  I      Entire Country for Limits of Liability
                                                      2      Entire Country for Deductibles
 TUNISIA                                              2      Ariana, Beja, Ben Arous, Bizerte, Gafsa, Jendouba, Manouba,
                                                             Monastir, Nabeul, Sousse, Tunis, Zaghouan
                                                      3      Balance of Country
 TURKEY                                               I      Entire Country
 TURKMENISTAN                                         I      Entire Country
 TURKS AND CAICOS                                     I      Entire Country for Limits of Liability
                                                      3      Entire Country for Deductibles
 TUVALU                                               4      Entire Country
 UGANDA                                               2      Entire Country
 UKRAINE                                              4      Entire Country
 UNITED ARAB EMIRATES                                 4      Entire Country
 UNITED KINGDOM including Guernsey,                   3      Entire Country
 Jersey
 URUGUAY                                              4      Entire Country
 UZBEKISTAN                                           I      Entire Country
 VANUATU                                              2      Entire Country
 VATICAN CITY                                         l      Entire Country
 VENEZUELA                                            I      Balance of Country
                                                      2      Carabobo, Aragua, Guarico, Vargas, Miranda, Dpto Capital,
                                                             Anzoategui, Monagas
                                                      4      Delta Amacuro, Bolivar, Amazonas
 VIETNAM .                                            2      Lai Chau, Lao Cai, Yen Bai, Son La, Hoa Binh, Vinh Phu, Hanoi,
                                                             Hai Phong, Ha Tay, Hai Hung, Thai Binh, Norn Ha, Ninh Binh,
                                                             Thanh Hoa, Nghe An, Ha Tinh, Quang Binh, Quang Ngai, Binh
                                                             Dinh, Phu Yen, Khanh Hoa, Ninh Thuan
                                                      3      Balance of Country
 WESTERN SAHARA                                       4      Entire Country
 YEMEN                                                4      Entire Country
 ZAMBIA                                               2      Northern, Southern
                                                      3      Balance of Country
ZIMBABWE                                              3      Entire Country




Any country not listed is Zone I unless stated differently in the Declarations of the Policy.



                                                                                                                 N-000079

                                                                                                               EDGE-451-D (02/16)
                                                                                                                     Page 9 of 9

         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 102 of 198
   Appendix C-Named Storm Zones for USA including
   its Commonwealths and Territories                                                                                                 ®

   This list is for is for infonnational purposes only and does not convey any coverage under the policy.     ZURICH
WIND ZONES ARE DEFINED AS FOLLOWS:
COUNTRY - The United States of America




                                          ----
                                                                                                                               .
STATE                      ZONE                          COUNTIES/PARISHES/INDEPENDENT CITIES
Alabama                      I       Baldwin. Mobile
                             2       Clarke. Covin2:ton. Escambia. Geneva Houston Washine:ton
Florida                      I       Bay, Brevard, Broward, Calhoun, Charlotte, Citrus, Collier, Dixie, Duval, Escambia,
                                     Flagler, Franklin, Glades, Gulf, Hendry, Hernando, Hillsborough, Indian River, Jefferson,
                                     Lee, Levy, Liberty, Manatee, Martin, Miami-Dade, Monroe, Nassau, Okaloosa, Okeechobee,
                                     Palm Beach, Pasco, Pinellas, Saint Johns, Saint Lucie, Santa Rosa, Sarasota, Taylor,
                                     Volusia Wakulla Walton Washinoton
                             2       Balance of State
Georgia                      I       Brvan. Camden Chatham. Glvnn Libertv. Mcintosh
                             2       A....... Iino- Brantlev. Bulloch Charlton Effingham. Evans. Long, Pierce. Tattnall Wavne
llawaii                      I       Entire State
Louisiana                    I       Ascension, Assumption, Cameron, Iberia, Jefferson, Lafourche, Livingston, Orleans,
                                     Plaquemines, St. Bernard, St. Charles, St. James, St. John the Baptist, St. Martin, St. Mary,
                                     St. Tammanv. Tanoinahoa Terrebonne Vermilion. Washington
                             2       Acadia, Allen, Beauregard, Calcasieu, East Baton Rouge, East Feliciana, Evangeline,
                                     Iberville, Jefferson Davis, Lafayette, Pointe Coupee, St. Landry, St. Helena, West Baton
                                     Rouge. West Feliciana
Maryland                     I       Somerset, Wicomico, Worcester
Mississinni                  I       Geon)e, Hancock. Harrison- Jackson Pearl River. Stone
                             2       Amite. Forrest. Greene Lamar Marion Perrv. Pike. Walthall. Wilkinson
North Carolina               I       Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Columbus, Craven, Currituck,
                                     Dare, Hyde, Jones, New Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans,
                                     Tvrrell Washinoton
                             2       Bladen Dunlin. Gates. Greene. llertford Lenoir Pitt. Robeson Samnson
South Carolina                1      Beaufort. Berkelev_ Charleston. Colleton. Dorchester Geon!etown Hom, Jasner
                             2       Allendale, Bambere, Clarendon, Dillon, Florence, Hamoton, Marion, Williamsburg
Texas                        I       Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jackson, Jefferson, Kenedy,
                                     Klebero Mataoorda Nueces Oranoe Refue:io. San Patricio. Willacv
                             2       Austin, Bee, Brooks, Colorado, DeWitt, Duval, Fort Bend, Goliad, Grimes, Hardin, Harris,
                                     Hidalgo, Jasper, Jim Hogg, Jim Wells, Lavaca, Liberty, Live Oak, McMullen, Montgomery,
                                     Newton Polk San Jacinto Starr Tvler Victoria. Walker. Waller. Wharton
Virginia                      I      Accomack, Gloucester, Isle of Wight, James City, Lancaster, Mathews, Middlesex,
                                     Northampton, Northumberland, Southampton, Surry, York
                             1       Independent Cities: Chesapeake, Franklin City, Hampton, Newport News. Norfolk,
                                     Poauoson, Portsmouth, Suffolk, Virginia Beach, and Williamsbure::
                             2       Caroline, Charles City, Essex, Henrico, King and Queen, King George, King William, New
                                     Kent. Prince Geor0 e Richmond Sussex Westmoreland




                                                                                                                  N-000080

                                                                                                                EDGE-452-B (06/14)
                                                                                                                       Page 1 of 2

           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 103 of 198
Commonwealths and Ten·itories of The United States of America
                         --              ZONE                        -
AMERICAN SAMOA                               2      Entire Territo!Y                  -
GUAM                                          I     Entire Territory
NORTHERN MARIANA ISLANDS                      I     Entire Commonwealth
                       -
PUERTO RICO                                   I     Entire Commonwealth
U.S. VIRGIN ISLANDS                           I     Entire Territory
All other US Territories and Possessions      I     Entire Territory




                                                                           N-000081

                                                                          EDGE-452-B (06/14)
                                                                                Page 2 of 2

        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 104 of 198
Appendix D-Named Storm Zones Worldwide except                                                                           ®

USA and its Commonwealths and Territories     ZURICH

This list is for informational purposes only and does not convey any coverage under the policy.

                                                                                     -
Country                    Zone       Provinces/Territories/States/Counties
ALBANIA                    4          Entire Country            ..

ALGERIA                    3          Entire Country
ANDORRA                    3          Entire Country
ANGUILLA                   1          Entire Country     ..

ANTARCTICA                 4          Entire Country
ANTIGUA & BARBUDA          1          Entire Country
ARMENIA                    4          Entire Country
ARGENTINA                  4          Entire Country
ARUBA                      1          Entire Country for Limits of Liability
                           3          Entire Country for Deductibles
AUSTRALIA including     1            Western Australia Postcodes:
Christmas Island, Cocos              6701,6707,6710,6711,6712,6713,6714,6716,6718,6720,6721,6722,6725,6726,
(Keeling) Islands                    6728,6731,6733,6740,6743,6751,6754,6760,6762,6765,
                                     Northern Territory Postcodes: 0800,0810,0812,0820,0822,0828,0829,0830,0832,
                                     0835, 0836,083 7, 0838 ,0840 ,0841, 0845,0846, 084 7 ,0850 ,0852,0853 ,0854, 0862,
                                     0880,0885,0886,
                                     Christmas Island, Cocos (Keeling) Islands
                           2         Queensland Postcodes: 4580,4581,4620,4621,4630,4650,4655,4659,4660,
                                     4662 ,4670 ,4671 ,4673,467 4 ,4676,4677,4678,4680 ,4694,4695,4697,4699 ,4 700,
                                     4 701,4 702,4 703,4 704,4 705,4706,4 707 ,4 710,4 711,4712,4714,4715,4 716,4 717,
                                     4 718,4 720,4 721,4 723,4 737,4 738,4 739,4 740,4 741,4 742,4 743,47 44,4 745,4 746,
                                     4 750,4 751,4753,4 754,4 756,4 757,4 798,4 799,4800,4801,4802,4803,4804,4805,
                                     4806,4807,4808,4809,4810,4811,4812,4813,4814,4815,4816,4817,4818,4819,
                                     4820,4830,4849,4850,4852,4854,4855,4856,4857,4858,4859,4860,4861,4865,
                                     4868,4869 ,4870 ,4871,4872 ,48 73 ,487 4,4875,4876,4877,48 78,48 79 ,4880,4881 ,
                                     4882 ,4883 ,4884 ,4885,4886 ,488 7 ,4888,4890 ,4891,4895
                           3         Balance of Country -
-·
AUSTRIA                    4         Entire Country
AZERBAIJAN                 4         Entire Country
BAHAMAS                    1         Entire Country
-·
BAHRAIN                   4          Entire Country
BANGLADESH                 1         Entire Country
BARBADOS                   1         Entire Country
BELARUS                   4          Entire Country


                                                                                                             N-000082

                                                                                                           EDGE-453-E (09/19)
                                                                                                                 Page 1 of 7

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 105 of 198
                                              --~--··
Country               Zone   Provinces/Territories/States/Counties
BELGIUM               3      Entire Country
BELIZE                1      Entire Country
BENIN                 4      Entire Country
BERMUDA               1      Entire Country
BHUTAN                4      Entire Country
BOLIVIA               4      Entire Country
BOSNIA&               4      Entire Country
HERZEGOVINA
BOTSWANA              3      Entire Country
BRAZIL                4      Entire Country
BRITISH VIRGIN        1      Entire Country
ISLANDS
BRUNEI DARUSSALAM 4          Entire Country
BULGARIA              4      Entire Country
BURKINA FASO          4      Entire Country
BURUNDI               1      Entire Country
CAMBODIA              3      Entire Country
CAMEROON              4      Entire Country
CANADA                4      Entire Country
CAPE VERDE            3      Entire Country
CAYMAN ISLANDS        1      Entire Country
CENTRAL AFRICAN       4      Entire Country
REPUBLIC
CHAD                  3      Entire Country
CHILE                 3      Entire Country
CHINA                 1      Hainan, Macau, Guangdong, Fujian, Zhejiang, Shanghai, Jiangsu, Shangdong
                      2      Hong Kong
                      4      Balance of Country
COLOMBIA              3      Entire Country
COMOROS               3      Entire Country
CONGO, REPUBLIC OF 4         Entire Country
COOK ISLANDS          1      Entire Country
COSTA RICA            1      Entire Country
CROATIA               3      Entire Country
CURACAO               1      Entire Country for Limits of Liability
                      3      Entire Country for Deductibles
CYPRUS                4      Entire Country
CZECH REPUBLIC        4      Entire Country




                                                                                           N-000083

                                                                                         EDGE-453-E (09/19)
                                                                                               Page 2 of 7


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 106 of 198
DENMARK               3      Entire Country
DJIBOUTI              4      Entire Country
DOMINICA              1      Entire Country
Country               Zone   Provinces/Territories/States/Counties
DOMINICAN REPUBLIC 1         Entire Country
ECUADOR               4      Entire Country
EGYPT                 4      Entire Country
EL SALVADOR           2      Entire Country
EQUATORIAL GUINEA     4      Entire Country
ERITREA               4      Entire Country
ESTONIA               3      Entire Country
ETHIOPIA              4      Entire Country
FAROE ISLANDS         3      Entire Country
FEDERATED STATES      1      Entire Country
OF MICRONESIA
FIJI                  1      Entire Country
FINLAND               3      Entire Country
FRANCE                4      Entire Country
FRENCH GUIANA         4      Entire Country
FRENCH POLYNESIA      1      Entire Country
GABON                 3      Entire Country
GAMBIA                4      Entire Country
GERMANY               3      Entire Country
GHANA                 3      Entire Country
GIBRALTAR             3      Entire Country
GREECE                4      Entire Country
GREENLAND             4      Entire Country
GRENADA               1      Entire Country
GUADELOUPE            1      Entire Country
GUATEMALA             1      lzabal
                      2      Balance of Country
GUINEA                4      Entire Country
GUINEA- BISSAU        4      Entire Country
GUYANA                3      Entire Country
HAITI                 1      Entire Country
HONDURAS              1      Entire Country
HUNGARY              4       Entire Country
ICELAND              4       Entire Country




                                                                           N-000084

                                                                          EDGE-453-E (09/19)
                                                                                Page 3 of 7


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 107 of 198
              -
INDIA                 1      Andhra Pradesh, Jharkhand, Mizoram, Orissa, Tamil Nadu, Telangana, Tripura,
                             West Bengal
                      3      Balance of Country
INDONESIA             3      Entire Country
IRAQ                  4      Entire Country
IRELAND               3      Entire Country
ISLE OF MAN           3      Entire Country
Country               Zone   Provinces/Territories/States/Counties
ISRAEL                4      Entire Country
ITALY                 3      Entire Country
IVORY COAST           4      Entire Country
(COTE-D'IVOIRE)
JAMAICA               1      Entire Country
JAPAN                 3      Regions of Hokkaido, Tohoku
                      1      Balance of Country
JORDAN                4      Entire Country
KAZAKHSTAN            4      Entire Country
KENYA                 3      Entire Country
KIRIBATI              1      Entire Country
KOSOVO                4      Entire Country
KUWAIT                4      Entire Country
KYRGYZSTAN            4      Entire Country
(KYRGYZ REPUBLIC)
LAOS                  3      Entire Country
LATVIA                3      Entire Country
LEBANON               4      Entire Country
LESOTHO               4      Entire Country
LIBERIA               4      Entire Country
LIBYA                 4      Entire Country
LIECHTENSTEIN         4      Entire Country
LITHUANIA             3      Entire Country
LUXEMBOURG           4       Entire Country
MACEDONIA            4       Entire Country
MADAGASCAR           2       Entire Country
MALAWI               4       Entire Country
MALAYSIA             3       Entire Country
MALDIVES             3       Entire Country
MALI                 4       Entire Country
MALTA                4       Entire Country




                                                                                            N-000085

                                                                                          EDGE-453-E (09/19)
                                                                                                Page 4 of 7


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 108 of 198
~------··                             '"                                                                -·~·-
MARSHALL ISLANDS      2      Entire Country
MARTINIQUE            1      Entire Country
MAURITANIA            4      Entire Country
MAURITIUS             1      Entire Country
MAYOTTE               1      Entire Country
MEXICO                1      Baja California Sur, Colima, Campeche, Chiapas, Guerrero, Jalisco, Michoacan,
                             Oaxaca, Quintana Rao, Tabasco, Tamaulipas, Veracruz, Yucatan
                      4      Balance of Country
MOLDOVA               4      Entire Country
MONACO                3      Entire Country
Country               Zone   Provinces/Territories/States/Counties
MONGOLIA              4      Entire Country
MONTENEGRO            4      Entire Country
MONTSERRAT            1      Entire Country
MOROCCO               4      Entire Country
MOZAMBIQUE            1      Entire Country
NAMIBIA               4      Entire Country
NAURU                 4      Entire Country
NEPAL                 4      Entire Country
NETHERLANDS           4      Balance of Country
                      1      Bonaire for Limits of Liability
                      3      Bonaire for Deductibles
                      1      Saba
                      1      Sint Eustatius
NEW CALEDONIA         1      Entire Country
NEW ZEALAND           3      Entire Country
NICARAGUA             1      RAAN (Bilwi), RAAS (Bluefields)
                      2      Balance of Country
NIGER                4       Entire Country
NIGERIA              4       Entire Country
NIUE                  1      Entire Country
NORFOLK ISLAND       2       Entire Country
NORWAY               3       Entire Country
OMAN                 3       Entire Country
PAKISTAN             3       Entire Country
PALAU                 1      Entire Country
PALESTINE            4       Entire Country
PANAMA               3       Entire Country
PAPUA NEW GUINEA     3       Entire Country
PARAGUAY             4       Entire Country
PERU                 4       Entire Country                                                  ..
                                                                                            EDGE-453-E (09/19)
                                                                                                  Page 5 of 7


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 109 of 198
       -·..- -
PHILIPPINES               1   Entire Country
PITCAIRN ISLANDS          1   Entire Country
POLAND                3       Entire Country
PORTUGAL              3       Azores Autonomous Region
                      4       Entire Country
QATAR                 4       Entire Country
REUNION               1       Entire Country
ROMANIA               4       Entire Country
RUSSIAN               4       Entire Country
FEDERATION
Country               Zone    Provinces/Territories/States/Counties
RWANDA                4       Entire Country
SAMOA (WESTERN )      I       Entire Country
SAN MARINO            4       Entire Country
SAO TOME&             4       Entire Country
PRINCIPE
SAUDI ARABIA          4       Entire Country
SENEGAL               4       Entire Country
SERBIA                4       Entire Country
SEYCHELLES            3       Entire Country
SIERRA LEONE          4       Entire Country
SINGAPORE             4       Entire Country
SINT MAARTEN          I       Entire Country
SLOVAKIA              4       Entire Country
SLOVENIA              4       Entire Country
SOLOMON ISLANDS       2       Entire Country
SOMALIA               4       Entire Country
SOUTH AFRICA          4       Entire Country
SOUTH KOREA           2       Entire Country
SOUTHERN SUDAN        4       Entire Country
SPAIN                 4       Entire Country
SRI LANKA             2       Entire Country
ST. BARTHELEMY        I       Entire Country
ST. KITTS AND NEVIS   I       Entire Country
ST. LUCIA             I       Entire Country
ST. MARTIN            I       Entire Country
ST. VINCENT AND THE I         Entire Country
GRENADINES
SURINAME              4       Entire Country               -                     · · - - - -..--...




                                                                           N-000087

                                                                         EDGE-453-E (09/19)
                                                                               Page 6 of 7

          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 110 of 198
 SWAZILAND                  4          Entire Country
 SWEDEN                     3          Entire Country
 SWITZERLAND                4          Entire Country
 TAIWAN                     I          Entire Country
 TAJIKISTAN                 4          Entire Country
 TANZANIA                   4          Entire Country
THAILAND                    3          Entire Country
Tl MOR-LESTE                3          Entire Country
TOGO                        4          Entire Country
TONGA                       I          Entire Country
TRINIDAD AND                I          Entire Country
TOBAGO
TUNISIA                     4          Entire Country
 Country                    Zone       Provinces/Territories/States/Counties
TURKEY                      4          Entire Country
TURKMENISTAN                4          Entire Country
TURKS AND CAICOS            1          Entire Country
TUVALU                      3          Entire Country
 UGANDA                     4          Entire Country
UKRAINE                     4          Entire Country
UNITED ARAB                 4          Entire Country
EMIRATES
UNITED KINGDOM              3          Entire Country
including Guernsey,
Jersey
URUGUAY                     3          Entire Country
UZBEKISTAN                  4          Entire Country
VANUATU                     1          Entire Country
VATICAN CITY                4          Entire Country
VENEZUELA                   3          Entire Country
VIETNAM                     2          Entire Country
WESTERN SAHARA              4          Entire Country
YEMEN                       3          Entire Country
ZAMBIA                      4          Entire Country
ZIMBABWE                    4          Entire Country


Any country not listed is designated as Zone 1 unless stated differently in the Declarations of this Policy




                                                                                                               N-000088

                                                                                                              EDGE-453-E (09/19)
                                                                                                                    Page 7 of 7


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 111 of 198
                                                                                                                                           ®
Amendatory Endorsement - Alaska                                                                                    ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   Section VI-General Policy Conditions, Cancellation/Non-renewal, is deleted in its entirety and replaced by the following:

     CANCELLA TION/NON-RENEWALICONDITIONAL RENEWAL

     Cancellation

     The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
     written notice of cancellation.

     The Company may cancel this Policy by mailing or delivering to the First Named Insured and to the agent or broker of record
     written notice of cancellation at least the greater of:

          Ten (I 0) days before the effective date of cancellation if the Company cancels for discovery of fraud or material
          misrepresentation by the insured;

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
         premium, as stated in the Declarations; or

         Sixty (60) days or the number of days before the effective date of cancellation if the Company cancels for any other reason,
         as stated in the Declarations.

     The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
     Policy or any Endorsement attached thereto and to the agent or broker of record.

     Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

     If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
     the refund will be pro rata. If the First Named Insured cancels, the refund may be subject to a cancellation fee of 7.5% of any
     unearned premium. If the Company cancels, any unearned premium will be returned before the effective date of cancellation or
     forty-five (45) days after the cancellation notice is given in cases of nonpayment, misrepresentation or fraud. If the Insured
     cancels, any unearned premium will be returned the later of the effective date of cancellation or 45 days after receipt of the
     request for cancellation.

     If notice is mailed, proof of mailing will be sufficient proof of notice.

     If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
     cancellation terms or conditions will be as permitted by such laws.

     Non-renewal

     The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, the number of
     days before the non-renewal, as permitted by law in the jurisdiction where in the property is located.

     Conditional Renewal

     If the premium to renew this policy increases more than 10% for a reason other than an increase in coverage or exposure basis,
     or if after the renewal there will be a material restriction or reduction in coverage not specifically requested by the First Named
     Insured, the Company shall mail written notice of the change(s) to the First Named Insured the number of days before the
     expiration date of the policy, as permitted by law in the jurisdiction where in the property is located.            N-000089

                                                                                                                      EDGE-201-B (03/11)
                                                                                                                            Page 1 of 3

           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 112 of 198
 2.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRSENTATION OR FRAUD, is deleted in its
      entirety and replaced by the following:

      CONCEALMENT, MISREPRESENTATION OR FRAUD
         The Company will not pay for any loss or damage in any case involving misrepresentations, omissions, concealment of
         facts, or incorrect statements:
                    That are fraudulent;
                    That are material either to the acceptance of the risk, or to the hazard assumed by the Company; or
                    If the Company, in good faith, would not have:
                             Issued the policy or contract;
                             Issued a policy or contract in as large an amount, or at the same premium or rate; or
                             Provided coverage with respect to the hazard resulting in the loss;
                   if the true facts had been made known to the Company as required either by the application for the policy or
                   contract or otherwise.

3.    Section VI-General Policy Conditions, Loss Conditions, Appraisal is deleted in its entirety and replaced by the following:

      APPRAISAL

      If the Insured and the Company fail to agree on the value of the property or the amount of loss, each will, on the written
      demand of either, select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the
      claim. Each will notify the other of the appraiser selected within 10 days of such demand. The Insured may not invoke
      appraisal unless it has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage
      and has provided the Company with a signed and sworn statement of loss.

      The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
      within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
      appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
      They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
      item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash
      value and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or,
      if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any
      two will determine the amount of loss and will be binding on the Company.

      Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
      deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in
      whole or in part.

      All expenses and fees, not including counsel or adjuster fees, incurred because of the appraisal shall be paid as determined
      by the umpire.

3.    The following is added to Subsection 6.13.01 of Section VI-General Policy Conditions, Loss Conditions, Duties in the Event of
      Loss or Damage:

      The Insured has the right to an attorney being present during any examination under oath.

4.    The following is added to Section VI-General Policy Conditions and supersedes any provision to the contrary:

      As required by Alaska Statute Section 21.36.212, we will not deny a claim if a risk, hazard or contingency insured against is the
      dominant cause of a loss and an excluded risk, hazard, or contingency is also in the chain of causes but operates on a secondary
      basis.



                                                                                                                        N-000090

                                                                                                                      EDGE-201-8 (03/11)
                                                                                                                           Page 2 of 3


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 113 of 198
5.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
     fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date on which
     the cause of action accrues.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                    N-000091

                                                                                                                  EDGE-201-8 (03/11)
                                                                                                                         Page 3 of 3


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 114 of 198
                                                                                                                                          ®
Amendatory Endorsement - Connecticut                                                                                ZURICH

 Insured Name                                                Policy Number                       Effective Date
 Novant Health, Inc.                                         ZMD8591943-01                       02/01/2020


THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN CONNECTICUT. PLEASE
READ IT CAREFULLY.

I.   SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, DESCRIPTION OF SPECIAL COVERAGES, is
     amended by the addition of the following:

     In the event of an electrical outage or interruption of electrical service at an Insured Location from a Covered Cause of Loss,
     Personal Property that is perishable food that you donate to a temporary emergency shelter operated or supervised by a
     municipality or the state during a state of emergency for a limited time period will be considered physically damaged, for the
     purpose of coverage as required by Connecticut Public Act 12-123 only, if:

     a)   The Insured's food establishment is classified as class III or class IV pursuant to regulations adopted under section l 9a-36
          of Connecticut general statutes;

     b)   The Governor proclaims that a state of emergency exists;


     c)   The electrical outage or interruption of electrical service to the Insured Location is forecast by the electric supplier to last
          longer for that Insured Location than the time period prescribed by the Department of Public Health or local director of
          health, or an authorized agent thereof, for the safe handling of such perishable food;

     d)   Such perishable food is donated prior to the expiration of the time period described inc) above; and

     e)   The Insured provides us written documentation from such shelter stating the date and time of such donation.

     Coverage under this provision is provided only up the applicable Limit of Liability and subject to all other terms and conditions
     of the policy.

2.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEW AL, is deleted in its entirety and
     replaced by the following:

     Cancellation

          The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
          advance written notice of cancellation.

          For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the First
          Named Insured written notice of cancellation at least:

              Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium.




                                                                                                                       N-000092

                                                                                                                     EDGE-207-F (09/14)
                                                                                                                          Page 1 of 4


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 115 of 198
         Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

    If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
    Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
    cancellation at least ten (! 0) days before the effective date of cancellation if the Company cancels for one or more of the
    following reasons:

         Nonpayment of premium;

         Conviction of a crime arising out of acts increasing the hazard insured against;

         Discovery of fraud or material misrepresentation by the Insured in obtaining the Policy or in perfecting any claim;

         Discovery of any willful or reckless act or omission by the Insured increasing the hazard insured against; or;

         A determination by the Commissioner that continuation of the Policy would violate or place the Company in violation
         of the law.

    If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by the
    Company, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
    cancellation at least sixty (60) days before the effective date of cancellation if the Company cancels for one or more of the
    following reasons:

         Physical changes in the property which increase the hazard insured against;

        A material increase in the hazard insured against; or

        A substantial loss of reinsurance by the Company affecting this particular line of insurance.

    The Company may not cancel policies in effect for sixty (60) days or more or renewal policies for any reason other than the
    reasons described above.

    If the Company cancels for nonpayment of premium, the Insured may continue the coverage and avoid the effect of
    cancellation by payment in full at any time prior to the effective date of cancellation.

    Notice of cancellation will state the reason(s) for cancellation.

    Notice of Cancellation will be delivered or sent by Registered mail, Certified mail, or Mail evidenced by a United States
    Post Office certificate of mailing.

    The Company will give notice to the First Named Insured at the last mailing address known.

   Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
   cancellation will be effective even if the Company has not made or offered a refund. Notice of cancellation will state that
   the excess premium (if not tendered) will be refunded on demand.

    If notice is mailed, proof of mailing will be sufficient proof of notice.

Non-renewal




                                                                                                                    N-000093

                                                                                                               EDGE-207-F (09/14)
                                                                                                                        Page 2 of 4


     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 116 of 198
     The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
     non-renewal at least sixty (60) days before the expiration date of this Policy stating the reason for non-renewal . This
     notice will be delivered or sent by Registered mail or Certified mail to the last address known to us. The Company is not
     required to send this notice if nonrenewal is due to the Insured failure to pay any advance premium required for renewal.

3.   SECTION VI - GENERAL POLICY CONDITIONS, LENDERS LOSS PAYEE AND MORTGAGE HOLDER
     INTERESTS AND OBLIGATIONS, is modified to add the following:

     Mortgagee interests and obligations. If loss hereunder is made payable, in whole or in part, to a designated mortgagee not
     named herein as the insured, such interest in this policy may be cancelled by giving to such mortgagee a ten days' written
     notice of cancellation.

     If the insured fails to render proof of loss such mortgagee, upon notice, shall render proof of loss in the form herein
     specified within sixty (60) days thereafter and shall be subject to the provisions hereof relating to appraisal and time of
     payment and ofbringing suit. If this Company shall claim that no liability existed as the mortgagor or owner, it shall, to the
     extent of payment of loss to the mortgagee, be subrogated to all the mortgagee's rights of recovery, but without impairing
     mortgagee's right to sue; or it may pay off the mortgage debt and require an assignment thereof and of the mortgage. Other
     provisions relating to the interests and obligations of such mortgagee may be added hereto by agreement in writing.


4.   The following is added to SECTION VI -GENERAL POLICY CONDITIONS:

     For any loss subject to the Standard Fire Insurance Policy of the State of Connecticut, as set forth in the General Statutes of
     Connecticut, if any conditions of the Standard Fire Insurance Policy of the State of Connecticut are construed to be more
     liberal than the conditions of this Policy, then the conditions of The Standard Fire Insurance Policy of the State of
     Connecticut will apply with respect to the perils insured by the Standard Fire Policy of Connecticut.

5.   SECTION VI -GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
     following and supersede anything to the contrary:

     Any provisions required by Connecticut law to be included in policies issued by the Company shall be deemed to have
     been included in this Policy.

     If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy applies, and if certain
     provisions are required by Connecticut law to be stated in this Policy, this Policy shall be read so as to eliminate such
     conflict or deemed to include such provisions for Insured Locations within such jurisdictions.

6.   SECTION VI -GENERAL POLICY CONDITIONS, SUIT AGAINST THE COMPANY, is amended by the addition of the
     following and supersede anything to the contrary:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
     Insured has fully complied with all the provisions of this Policy. Legal action must be started within twenty-four (24)
     months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

     If under the laws of the jurisdiction in which the property is located, such twenty-four months' limitation is invalid, then,
     any such legal action needs to be started within the shortest limit of time permitted by such laws.


7.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

     For Fine Arts articles, the lesser of the reasonable and necessary cost to repair or restore such property to the physical
     condition that existed on the date of loss or the cost to replace the article or the value if stated on a




                                                                                                                 N-000094

                                                                                                               EDGE-207-F (09/14)
                                                                                                                      Page 3 of 4


      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 117 of 198
    schedule on file. If the Fine Arts article cannot be replaced and an appraisal is not available, the valuation shall be market
    value based on prevailing conditions at the time of loss or damage.

    and

    The cost to replace non-repairable electrical or mechanical equipment, including computer equipment, with equipment that is the
    most functionally equivalent to that damaged or destroyed, even if such equipment has technological advantages, represents an
    improvement in function, or forms part of a program of system enhancement


All other terms, conditions and limitations of this Policy remain unchanged




                                                                                                                    N-000095

                                                                                                                  EDGE-207-F (09/14)
                                                                                                                       Page 4 of 4


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 118 of 198
                                                                                                                                      ®
Amendatory Endorsement - Florida                                                                                ZURICH
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         A single claim on a property insurance policy which is the result of water damage may not be used as the sole cause for
         cancellation or nonrenewal unless the insurer can demonstrate that the insured has failed to take action reasonably requested
         by the insurer to prevent a future similar occurrence of damage to the insured property.

         Cancellation for Policies in Effect for Ninety (90) Days or Less

             If this Policy has been in effect for ninety (90) days or less, the Company may cancel this Policy by mailing or
             delivering to the First Named Insured written notice of cancellation, accompanied by the specific reasons for
             cancellation, at least:

                    Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

                    Twenty (20) days before the effective date of cancellation if the Company cancels for any other reason, except the
                    Company may cancel immediately if there has been a material misstatement or misrepresentation, or a failure to
                    comply with underwriting requirements established by the Company.

             The Company may not cancel:

                    On the basis of property insurance claims that are the result of an act of God, unless the Company can
                    demonstrate, by claims frequency or otheiwise, that the Insured has failed to take action reasonably necessary as
                    requested by the Company to prevent recurrence of damage to the insured property; or

                    Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                    can demonstrate that the Insured has failed to take action reasonably requested by us to prevent a future similar
                    occurrence of damage to the insured property.

        Cancellation for Policies in Effect for More Than Ninety (90) Days

             If this Policy has been in effect for more than ninety (90) days, the Company may cancel this Policy only for one or
             more of the following reasons:

                    (a) Nonpayment of premium;

                    (b) The Policy was obtained by a material misstatement;

                    (c) In the event of failure to comply, within ninety (90) days after the effective date of coverage, with
                        underwriting requirements established by the Company before the effective date of coverage;

                 ( d) There has been a substantial change in the risk covered by the Policy;

                 (e) The cancellation is for all Insureds under such Policies for a given class of Insured;

                 (f) On the basis of property insurance claims that are the result of an act of God, if the Company can demonstrate,
                     by claims frequency or otheiwise, that the Insured has failed to take action reasonably necessary by the
                     Company to prevent recurrence of damage to the insured property;                              N-000096

                                                                                                                 EDGE-210-D (07/16)
                                                                                                                        Page 1 of 9


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 119 of 198
              (g) On the basis of a single property insurance claim which is the result of water damage, if the Company can
                  demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                  similar occurrence of damage to the insured property; or

              (h) The cancellation of some or all of our policies is necessary to protect the best interests of the public or
                  policyholders and such cancellation is approved by the Florida Office of Insurance Regulation.

        If the Company cancels this Policy for any of these reasons, the Company will mail or deliver to the First Named
        Insured written notice of cancellation, accompanied by the specific reasons for cancellation, at least:

              Ten (10) days before the effective date of cancellation if cancellation is for nonpayment of premium; or

              Forty-five (45) days before the effective date ofcancellation if:

              (a) Cancellation is for one of the other reasons stated in paragraphs (a) through (g) above and this policy does not
                  cover a residential structure or its contents; or

              (b) Cancellation is based upon the reason stated in (h) above.

             120 days before the effective date of cancellation if cancellation is for one of the reasons stated in paragraphs (b)
             through (g) above and this policy covers a residential structure or its contents.

        If this policy has been in effect for more than 90 days and covers a residential structure or its contents, the Company
        may not cancel this policy based on credit information available in public records.

   Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
   cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata hut no less
   than 90% of the pro rata unearned premium. If the return premium is not refunded with the notice of cancellation or when
   this policy is returned to us, the Company will mail the refund within 15 working days after the date cancellation takes
   effect, unless this is an audit policy.

   If this is an audit policy, then subject to the Insured's full cooperation with us or our agent in securing the necessary data
   for audit, the Company will return any premium refund due within 90 days of the date cancellation takes effect. If our audit
   is not completed within this time limitation, then the Company shall accept the Insured's own audit, and any premium
   refund due shall be mailed within 10 working days of receipt of the Insured's audit.

   The cancellation will be effective even if the Company has not made or offered a refund.

   If notice is mailed, proof of mailing will be sufficient proof of notice.


Non-Renewal

   l.   The Company may non-renew this Policy by mailing or delivering to the First Named Insured, at the Insured's last
        mailing address known to us, written notice of non-renewal, accompanied by the specific reason for non-renewal at
        least:

        (a) Forty-five (45) days prior to the expiration of this Policy if this policy does not cover a residential structure or its
            contents of it is necessary to protect the best interests of the public or policyholders and such nonrenewal is
            approved by the Florida Office of Insurance Regulation; or

        (b) 120 days prior to the expiration of the policy if this policy covers a residential structure or its contents.

   2.   Any notice of nonrenewal will be mailed or delivered to the first Named Insured at the last mailing address known to
        the Company. If notice is mailed, proof of mailing will be sufficient proof of notice.




                                                                                                                   N-000097

                                                                                                                 EDGE-210-D (07/16)
                                                                                                                        Page 2 of 9


    Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 120 of 198
         3.   The Company may not refuse to renew this policy:

              (a) On the basis of property insurance claims that are the result of an act of God, unless the Company can
                  demonstrate, by claims frequency or otherwise, that the Insured failed to take action reasonably necessary as
                  requested by the Company to prevent recurrence of damage to the insured property;

              (b) On the basis of filing of claims for Sinkhole Loss. However, the Company may refuse to renew this policy if:

                     (I) The total of such property insurance claim payments for this policy equals or exceeds the policy limits in
                         effect on the date of loss for property damage to the covered building; or
                     (2) The Insured has failed to repair the structure in accordance with the engineering recommendations upon which
                         any loss payment or policy proceeds were based; or
              (c) Solely on the basis of a single property insurance claim which is the result of water damage, unless the Company
                  can demonstrate that the Insured has failed to take action reasonably requested by the Company to prevent a future
                     similar occu1Tence of damage to the insured property.

              (d) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if this policy
                     includes Sinkhole Loss coverage. If the Company nonrenews this policy for purposes of removing Sinkhole Loss
                     coverage, pursuant to section 627.706, Florida Statutes, the Company will offer the Insured a policy that includes
                     catastrophic ground cover collapse coverage.

              (e) Notwithstanding the provisions of Paragraph 3., the Company may refuse to renew this policy if nonrenewal of
                     some or all of the Company's policies is necessary to protect the best interests of the public or policyholders and
                     such nonrenewal is approved by the Florida Office of Insurance Regulation.

     Limitations on Cancellation and Nonrenewal In the Event ofI·Iurricane or Wind Loss- Residential Property

         The following provisions apply to a policy covering a residential structure or its contents, if such property has sustained
         damage as a result of a hurricane or windstorm that is the subject of a declaration of emergency by the Governor and filing
         of an order by the Commissioner of Insurance Regulation:

         (a) Except as provided in the paragraph (b), the Company may not cancel or nonrenew the policy until at least 90 days
              after repairs to the residential structure or its contents have been substantially completed so that it is restored to the
              extent that it is insurable by another insurer writing policies in Florida. If the Company elects to not renew the policy,
              the Company will provide at least I 00 days' notice that the Company intends to nonrenew 90 days after the substantial
              completion of repairs.

         (b) The Company may cancel or nonrenew the policy prior to restoration of the structure or its contents for any of the
             following reasons:

              ( l)   Nonpayment of premium;
              (2)    Material misstatement or fraud related to the claim;
              (3)    The Company determines that the Insured has unreasonably caused a delay in the repair of the structure; or
              (4)    The Colllpany has paid the policy limits.

              If the Company cancels or nonrenew for nonpayment of premium, the Company will give the Insured 10 days' notice.
              If the Company cancels or nonrenews for a reason listed in Paragraph (b)(2), (b)(3) or (b)(4), the Company will give
              the Insured 45 days' notice.
       With respect to a policy covering a residential structure or its contents, any cancellation or nonrenewal that would otherwise
       take effect during the duration of a hurricane will not take effect until the end of the duration of such hurricane, unless a
       replacement policy has been obtained and is in effect for a claim occurring during the duration of the hurricane. The
       Company may collect premium for the period of time for which the policy period is extended.
       With respect to the above paragraph, a hurricane is a sto1m system that has been declared to be a hurricane by the National
       Hurricane Center of the National Weather Service (hereafter referred to as NHC). The hurricane occurrence begins at the time
       a hurricane watch or hurricane warning is issued for any part of Florida by the NHC and ends 72 hours after the termination
       of the last hurricane watch or hurricane warning issued for any part of Florida by the NHC.

2.   SECTION VI. · GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:
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                                                                                                                   EDGE-210-D (07/16)
                                                                                                                         Page 3 of 9


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 121 of 198
       CONCEALMENT, MISREPRESENTATION OR FRAUD

           This Policy may be void as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It may
           also be void if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

                This Policy;

                The Covered Property;

               The Insured's interest in Covered Property; or

               A claim under this Policy.

3.    SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
      its entirety and replaced by the following:

           No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
           Insured has fully complied with all the provisions of this Policy. Legal action must be started within five (5) years from the
           date ofloss.

4.    The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
      Payment:

      The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
      statement of loss, if the Insured has complied with all the terms of this Policy; and

           The Company has reached agreement on the amount of loss; or

           An appraisal award has been made,

      and replaced by the following:

      If the Insured has complied with all the terms of this Policy, the Company will pay for covered loss or damage within:

           Twenty (20) days after receiving the sworn statement of loss and reaching written agreement with the Insured; or

           Thirty (30) days after receiving the sworn statement of loss; and

           There is an entry of a final judgment; or

          A filing of an appraisal award with the Company.

5. SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS Is amended by adding the following:

     A claim, supplemental claim or reopened claim for loss or damage caused by the peril of windstorm or hurricane is barred unless
     notice of the claim supplemental claim or reopened claim is given to the Company within 3 years after the hurricane first made
     landfall or the windstorm caused covered damage.

     For purposes of this section, the term ''supplemental claim" or "reopened claim" means any additional claim for recovery from
     the insurer for losses from the same hurricane or windstorm which the insurer has previously adjusted pursuant to the initial
     claim.

6. SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

     Upon receipt of a claim for a Sinkhole Loss to a covered building, the Company shall meet the following standards in
     investigating a claim:

     (I) Inspect the Insured's premises to determine if there is Structural Damage that may be the result of Sinkhole Activity.

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                                                                                                                     EDGE-210-D (07/16)
                                                                                                                           Page 4 of 9


            Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 122 of 198
(2) If the Company confirms that Structural Damage exists but is unable to identify a valid cause of such damage or discovers
    that such damage is consistent with Sinkhole Loss, the Company shall engage a Professional Engineer or a Professional
    Geologist to conduct testing as provided ins. 627.7072, Florida Statutes to determine the cause of the loss within a
   reasonable professional probability and issue a report as provided ins. 627. 7073, Florida Statutes only if Sinkhole Loss is
   covered under the policy. Except as provided in subsections (4) and (6), the fees and costs of the Professional Engineer or
   Professional Geologist shall be paid by the Company.

(3) Following the initial inspection of the policyholder's premises, the Company shall provide written notice to the Insured
    disclosing the following information:

   (a) What the Company has determined to be the cause of damage, if the Company has made such a determination.

   (b) A statement of the circumstances under which the Company is required to engage a Professional Engineer or a
       Professional Geologist to verify or eliminate Sinkhole Loss and to engage a Professional Engineer to make
      recommendations regarding land and building stabilization and foundation repair.

   (c) A statement regarding the right of the Insured to request testing by a Professional Engineer or a Professional Geologist,
       the circumstances under which the Insured may demand certain testing, and the circumstances under which the Insured
       may incur costs associated with testing.

(4)(a) If the Company determines that there is no Sinkhole Loss, the Company may deny the claim.

   (b) If coverage for Sinkhole Loss is available and the Company denies the claim without performing testing under
       s. 627.7072, Florida Statutes, the Insured may demand testing by the Company under s. 627.7072, Florida Statutes.

      1. The Insured's demand for testing must be communicated to the Company in writing within 60 days after the Insured's
        receipt of the insurer's denial of the claim.

      2. The Insured shall pay 50 percent of the actual costs of the analyses and services provided underss. 627.7072, Florida
         Statutes and 627.7073, Florida Statutes or $2,500, whichever is less.

      3. The Company shall reimburse the Insured for the costs if the Company's engineer or geologist provides written
         certification pursuant to s. 627.7073, Florida Statutes that there is Sinkhole Loss.

(5) If a Sinkhole Loss is verified, the Company shall pay to stabilize the land and building and repair the foundation in
   accordance with the recommendations of the Professional Engineer retained pursuant to subsection (2), with notice to the
   Insured, subject to the coverage and terms of the policy. The Company shall pay for other repairs to the structure and contents
   in accordance with the terms of the policy. If a covered building suffers a Sinkhole Loss, the insured must repair such
   damage or loss in accordance with the Company's Professional Engineer's recommended repairs. However, if the Company1s
   Professional Engineer determines that the repair cannot be completed within policy limits, the Company must pay to
   complete the repairs recommended by the insurer's Professional Engineer or tender the policy limits of the affected building
   to the Insured.

   (a) The Company may limit its total claims payment to the actual cash value of the Sinkhole Loss, which does not include
       underpinning or grouting or any other repair technique performed below the existing foundation of the building, until the
       Insured enters into a contract for the performance of building stabilization or foundation repairs in accordance with the
       recommendations set forth in the Company's report issued pursuant to s. 627.7073, Florida Statutes.

   (b) In order to prevent additional damage to the building or structure, the Insured must enter into a contract for the
      performance of building stabilization and foundation repairs within 90 days after the Company confirms coverage for the
      Sinkhole Loss and notifies the Insured of such confiimation. This time period is tolled if either party invokes the Neutral
      Evaluation process, and begins again 10 days after the conclusion of the Neutral Evaluation process.

   (c) After the Insured enters into the contract for the performance of building stabilization and foundation repairs, the
       Company shall pay the amounts necessary to begin and perform such repairs as the work is performed and the expenses
       are incurred. The Company may not require the Insured to advance payment for such repairs.

     If repair has begun and the aforementioned professional engineer determines that the repairs will exceed the applicable
     Limit of Insurance, the Company will pay only the remaining portion of the applicable Limit of Insurance upon such

                                                                                                                N-000100

                                                                                                              EDGE-210·0 (07/16)
                                                                                                                   Page 5 of 9


      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 123 of 198
           determination. The most the Company will pay for the total of all Sinkhole Loss, including building and land stabilization
           and foundation repair, is the applicable Limit of Insurance on the affected building.

        (d) The stabilization and all other repairs to the structure and contents must be completed within 12 months after entering into
            the contract for repairs described in paragraph (b) unless:

             1. There is a mutual agreement between the Company and the Insured;

            2. The claim is involved with the Neutral Evaluation process;

            3. The claim is in litigation; or

            4. The claim is under appraisal or mediation.

        (e) Upon the Company's obtaining the written approval of any lienholder, the Company may make payment directly to the
            persons selected by the Insured to perfmm the land and building stabilization and foundation repairs. The decision by the
            Company to make payment to such persons does not hold the Company liable for the work performed. The Insured may
            not accept a rebate from any person perfo1ming the repairs specified in this section. If an Insured does receive a rebate,
            coverage is void and the Insured must refund the amount of the rebate to the Company.

     (6) If the Company obtains, pursuant to s. 627.7073, Florida Statutes, written certification that there is no Sinkhole Loss or that
         the cause of the damage was not Sinkhole Activity, and if the Insured has submitted the Sinkhole claim without good faith
         grounds for submitting such claim, the Insured shall reimburse the Company for 50 percent of the actual costs of the analyses
         and services provided under ss. 627.7072, Florida Statutes and 627.7073, Florida Statutes; however, an Insured is not
        required to reimburse the Company more than $2,500 with respect to any claim. The Insured is required to pay reimbursement
         only if the Insured requested the analysis and services provided under ss. 627. 7072, Florida Statutes and 627 .7073, Florida
        Statutes and the Company, before ordering the analysis under s. 627.7072, Florida Statutes, informs the Insured in writing of
        the Insured's potential liability for reimbursement and gives the Insured the opportunity to withdraw the claim.

     (7) The Company may engage a professional structural engineer to make recommendations as to the repair of the structure.

     (8) Any claim, including but not limited to, initial, supplemental, and reopened claims under an insurance policy that provides
        sinkhole coverage is barred unless notice of the claim was given to the insurer in accordance with the terms of the policy
        within 2 years after the policyholder knew or reasonably should have known about the sinkhole loss.


7.     SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS is amended by adding the following:

        (a) Within 90 days after an insurer receives notice ofa property insurance claim from a policyholder, the insurer shall pay or
           deny such claim or a portion of the claim unless the failure to pay such claim or a portion of the claim is caused by factors
           beyond the control of the insurer which reasonably prevent such payment. Any payment of a claim or portion of a claim
           paid 90 days after the insurer receives notice of the claim, or paid more than 15 days after there are no longer factors
           beyond the control of the insurer which reasonably prevented such payment, whichever is later, shall bear interest at the
           rate set forth ins. 55.03. Interest begins to accrue from the date the insurer receives notice of the claim. The provisions of
           this subsection may not be waived, voided, or nullified by the terms of the insurance policy. If there is a right to
           prejudgment interest, the insured shall select whether to receive prejudgment interest or interest under this subsection.
           Interest is payable when the claim or portion of the claim is paid. Failure to comply with this subsection constitutes a
           violation of this code. I-Iowever, failure to comply with this subsection shall not form the sole basis for a private cause of
           action.

       (b) Notwithstanding subsection (4), for purposes of this subsection, the term "claim" means any of the following:

            I. A claim under an insurance policy providing residential coverage as defined in s. 627.4025(1 );

            2. A claim for structural or contents coverage under a commercial property insurance policy if the insured structure is
               10,000 square feet or less; or

           3. A claim for contents coverage under a commercial tenants policy if the insured premises is 10,000 square feet or less.



                                                                                                                       N-000101

                                                                                                                    EDGE-210-D (07/16)
                                                                                                                           Page 6 of 9


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 124 of 198
        (c) This subsection shall not apply to claims under an insurance policy covering nonresidential commercial structures or
           contents in more than one state.


8.   SECTION VII - DEFINITIONS, Earth Movement is deleted in its entirety and replaced by the following:

     Earth Movement - Any Earth Movement including earthquake, landslide, mine subsidence, earth sinking, rising, shifting, and
     Sinkhole collapse. Catastrophic Ground Cover Collapse (CGCC) will not be considered Earth Movement within the
     terms and conditions of this Policy.

9.   SECTION VII - DEFINITIONS, the following is added to the definition of Terrorist Activity:

     If both the Terrorist Activity and subject loss take place at Locations in the USA, its territories, possessions and missions, and
     the Commonwealth of Puerto Rico, then any Terrorist Activity shall be an act of terrorism as defined by the (United States)
     Terrorism Risk Insurance Act 2002, as amended.

10. SECTION VII - DEFINITIONS, the following is added:

     Catastrophic Ground Cover Collapse (CGCC) - Geological activity that results in all the following:

          1.   The abrupt collapse of the ground cover;

         2.    A depression in the ground cover clearly visible to the naked eye;

         3.    Structural Damage to the covered building, including the foundation; and
         4.    The insured structure being condemned and ordered to be vacated by the governmental agency authorized by law to
               issue such an order for that structure.

     Contents coverage applies if there is a loss resulting from a catastrophic ground cover collapse. Damage consisting merely of
     the settling or cracking of a foundation, structure, or building does not constitute a loss resulting from a catastrophic ground
     cover collapse.

     Neutral Evaluation -The alternative dispute resolution provided ins. 627.7074, Florida Statutes.

     Neutral Evaluator - A professional engineer or a Professional Geologist who has completed a course of study in alternative
     dispute resolution designed or approved by the department for use in the neutral evaluation process and who is determined by
     the department to be fair and impartial.

     Primary Structural Member - A structural element designed to provide support and stability for the vertical or lateral loads of
     the overall structure.

     Primary Structural System - An assemblage of Primary Structural Members.

     Professional Engineer- A person, as defined ins. 471.005, Florida Statutes, who has a bachelor's degree or higher in
     engineering. A professional engineer must also have experience and expertise in the identification of Sinkhole Activity as well
     as other potential causes of Structural Damage.

     Professional Geologist- A person, as defined ins. 492. I 02, Florida Statutes, who has a bachelor's degree or higher in geology
     or related earth science and experience and expertise in the identification of Sinkhole Activity as well as other potential
     geologic causes of Structural Damage.

     Sinkhole - A landform created by subsidence of soil, sediment, or rock as underlying strata are dissolved by groundwater. A
     Sinkhole forms by collapse into subterranean voids created by dissolution of limestone or dolostone or by subsidence as these
     strata are dissolved.

     Sinkhole Activity- Settlement or systematic weakening of the earth supporting the covered building only if the settlement or
     systematic weakening results from contemporaneous movement or raveling of soils, sediments, or rock materials into
     subterranean voids created by the effect of water on a limestone or similar rock formation.
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                                                                                                                  EDGE-210-D (07/16)
                                                                                                                         Page 7 of 9


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 125 of 198
  Sinkhole Loss - Structural Damage to the covered building, including the foundation, caused by Sinkhole Activity. Contents
  coverage and additional living expenses apply only if there is Structural Damage to the covered building caused by Sinkhole
  Activity.

  Structural Damage- A covered building, regardless of the date of its construction, has experienced the following:

  1. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the Florida Building
    Code, which results in settlement related damage to the interior such that the interior building structure or members become
    unfit for service or represents a safety hazard as defined within the Florida Building Code;

  2. Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or the Florida Building
    Code, which results in settlement related damage to the primary structural members or primary structural systems that
    prevents those members or systems from supporting the loads and forces they were designed to support to the extent that
    stresses in those primary structural members or primary structural systems exceeds one and one-third the nominal strength
    allowed under the Florida Building Code for new buildings of similar structure, purpose, or location;

 3. Damage that results in listing, leaning, or buckling of the exterior load-bearing walls or other vertical primary structural
   members to such an extent that a plumb line passing through the center of gravity does not fall inside the middle one-third of
    the base as defined within the Florida Building Code;

 4. Damage that results in the building, or any portion of the building containing primary structural members or primary
   structural systems, being significantly likely to imminently collapse because of the movement or instability of the ground
   within the influence zone of the supporting ground within the sheer plane necessary for the purpose of supporting such
   building as defined within the Florida Building Code; or

 5. Damage occurring on or after October 15, 2005, that qualifies as Substantial Structural Damage as defined in the Florida
    Building Code.

11. SECTION V - SPECIAL COVERAGES & DESCRIBED CAUSES OF LOSS, B. Description of Special Coverages, TAX
    LIABILITY is deleted in its entirety and replaced by the following:

   TAX LIABILITY

     If the amount of loss covered hereunder cannot be paid in the country where the loss occurred and the corporate tax rate is
     higher in the country where the payment occurs, and the payee is required to pay tax on the claim proceeds or has realized a
     reduction of a tax benefit that would otherwise have been recognized in the payee's country of residence, the Company will
     be liable for the difference in tax basis as an additional loss payment (ALP).

     Financial accounting income shall be determined under generally accepted accounting principles or standards.

     Financial accounting income and corporate income tax shall be determined in the local currency of the country where the
     loss occun·ed and where the loss payments are received.

     The ALP will be paid only after receipt of documentation supporting the claim and a certification by the Chief Executive
     Officer or Chief Financial Officer of the payee that to the best of his or her knowledge, based on a review of all applicable
     financial and tax data:

   1).The payee is required to pay tax on the claim proceeds or will realize a reduction of a tax benefit that would otherwise
     have been recognized in the payee's country of residence; and

   2).The tax to be paid and pre-tax Financial Accounting Income data provided is accurate and complete and fairly presents in
     all material respects the financial results of the payee in the applicable country.

     Notwithstanding the coverage for tax payment granted under this Coverage, it is understood and agreed that the Insured
     will cooperate with the Company in making every reasonable effort to have the amount of loss paid in the country in which
     the loss occurred, where permitted by law. In addition the Insured agrees to try to mitigate any loss that the Company may
     be responsible for under this Tax Liability Coverage.




                                                                                                                 N-000103

                                                                                                               EDGE-210-D (07/16)
                                                                                                                      Page 8 of 9


       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 126 of 198
         With respect to payments made under this Coverage, the Company may examine and audit the Insured's books and records
         at any time up to three years after payment.

  12. Any reference to First Named Insured shown in this policy shall be deemed to refer to the Named Insured as shown on the
      declarations.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                             N-000104

                                                                                                           EDGE-210-D (07/16)
                                                                                                                 Page 9 of 9


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 127 of 198
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 Amendatory Endorsement - Georgia                                                                              ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 1.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
      its entirety and replaced by the following:

             No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
             Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
             months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.

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                                                                                                                 EDGE-211-A (05/11)
                                                                                                                        Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 128 of 198
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Amendatory Endorsement - Illinois                                                                              ZURICH


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


I.    SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and
      replaced by the following:

     Cancellation

     The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company advance
     written notice of cancellation.

     If this Policy has been in effect for 60 days or less, except as provided below when the Policy covers real property other than
     residential property occupied by four families or less, the Company may cancel this Policy by mailing written notice of
     cancellation at least:

     Ten (I 0) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or,
     Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

     If this Policy has been in effect for more than 60 days, except as provided below when the Policy covers real property other
     than residential property occupied by four families or less, the Company may cancel this Policy only for one or more of the
     following reasons:
     a.   Nonpayment of premium;
     b.   The Policy was obtained through a material misrepresentation;
     c.   The First Named Insured has violated any of the terms and conditions of the Policy;
     d.   The risk originally accepted has measurably increased;
     e.   Certification to the Director of Insurance of the loss by reinsurance by the insurer which provided coverage to the Company
          for all or a substantial part of the underlying risk insured; or
     f.   A determination by the Director that the continuation of the Policy could place the Company in violation of the insurance
          laws of this State.
     If the Company cancels this Policy based on one or more of the above reasons except for nonpayment of premium, the
     Company will mail written notice at least 60 days before the effective date of cancellation. When cancellation is for
     nonpayment of premium, the Company will mail written notice at least 10 days before the effective date of cancellation.
     The Company will mail notice to the First Named Insured's last known mailing address.

     Notification of cancellation will also be sent to the First Named Insured's broker, if known, or agent of record, if known, and
     to the mortgagee or lienholder listed on the Policy.

     Notice of cancellation will state the effective date and specific reason(s) for cancellation. The Policy Period will end on that
     date.

     If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company cancels,
     the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less than the
     customary short rate amount. The cancellation will be effective even if the Company has not made or offered a refund.

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                                                                                                                 EDGE-214-C (03/18)
                                                                                                                        Page 1 of 4


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 129 of 198
      If notice is mailed, then proof of mailing will be sufficient proof of notice.

     If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different, then
     cancellation terms or conditions will be as permitted by such laws.

     The following applies only if this Policy covers property other than residential property occupied by four families or less:

     If any one or more of the following conditions exists at any building that is Covered Property in this Policy, the Company may
     cancel this Policy by mailing to the First Named Insured written notice of cancellation, by both certified and regular mail, if:

     a.   After a fire loss, permanent repairs to the building have not started within 60 days of satisfactory adjustment of loss, unless
          the delay is due to a labor dispute or weather conditions.

     b.            The building has been occupied 60 or more consecutive days. This does not apply to:
          ( 1) Seasonal unoccupancy; or
          (2) Buildings under repair, construction or reconstruction, if property secured against unauthorized entry.
     c.   The building has:
          (1) An outstanding order to vacate;
          (2) An outstanding demolition order; or
          (3) Been declared unsafe in accordance with the law.
     d.        1-Ieat, water, sewer service or public lighting have not been connected to the building for 30 consecutive days or more.
     The Policy will terminate 10 days following receipt of the written notice by the named insured(s).
     The following applies only with respect to grain in public grain warehouses:
          The First Named Insured or the Company may cancel this Policy at any time by mailing to:
          a.     The other; and
          b.     The Director of the Illinois Department of Agriculture (at its Springfield Office);
          60 days' written notice of cancellation.
     Non-renewal

     The Company may non-renew this Policy by mailing to all Named Insured, the lnsured's last mailing address known to us,
     written notice of non-renewal, accompanied by the specific reason for non-renewal at least sixty (60) days prior to the
     expiration of this Policy. Proof of mailing will be sufficient proof of notice.

     If the Company offers to renew or continue and the First Named Insured does not accept, this Policy will terminate at the end of
     the current policy period: Failure to pay the required renewal or continuation premium when due shall mean that the First
     Named Insured has not accepted the offer.

     If the Company fails to mail proper written notice ofnonrenewal and the First Named Insured obtains other insurance, this
     Policy will end on the effective date of that insurance.

     Notification ofnonrenewal will also be sent to the First Named Insured's broker, if known, or agent of record, if known, and
     the mortgagee or lienholder listed on the Policy.

2.   SECTION VI- General Policy Conditions, Loss Conditions, Suit Against The Compaoy is deleted in its entirety and replaced
     by the following:

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity, unless the Insured
     has fully complied with all the provisions of this Policy. Legal action must be started within twelve (12) months after the date
     of direct physical loss or damage to Covered Property or to other property as set forth herein. However, the Co;,,,pany will
     extend this period by the number of days between the date the proof of loss is filed and the date the claim is denied in whole or
     in part.


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                                                                                                                             Page 2 of 4


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 130 of 198
3.   SECTION VI- General Policy Conditions, Other Insurance, the following provision is deleted:

     The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
     this insurance; except that this insurance shall apply only as excess, Difference in Conditions/Difference in Limits and in no
     event as contributing insurance, and then only after all other insurance has been exhausted.

     And replaced with the following:

     The Company will not be liable if, at the time of loss or damage, there is any other insurance that would attach in absence of
     this insurance; except that this insurance shall apply only as pro rata contributing insurance.

4.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

     When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
     Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
     be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

     And replaced with the following:

     When Covered Equipment is found to be in. or exposed to a dangerous condition. any of the Company's representatives may
     immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
     Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
     address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
     an endorsement. Any unearned premium due will be returned by the Company.




                         All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                              EDGE-214-C (03/18)
                                                                                                                     Page 3 of 4


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 131 of 198
                                                                 N-000109

                                                               EDGE-214-C (03/18)
                                                                       Page 4 of 4


Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 132 of 198
                                                                                                                                  ®
Amendatory Endorsement - Indiana                                                                              ZURICH

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


I.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     The Company will not pay for any loss or damage in any case of:

         Concealment or misrepresentation of a material fact; or

         Fraud

         Committed by an insured at any time relating to a claim under this Policy.

     l.Jowever, this does not apply when a claim is made by an Innocent Coinsured provided:

         The property loss or damage occurs to a the primary residence of the Innocent Coinsured as covered under COVERED
         PROPERTY.

         The Final Settlement for the property loss or damage is at least 60% of available insurance proceeds under the Policy.

     The following is added and supersedes provisions to the contrary:

     Any payment made pursuant to a claim made by an Innocent Coinsured as described above, will be for:

         The actual cost of repair or replacement of the property that is the subject of the claim if the actual cost of repair or
         replacement is less than or equal to the maximum limit of coverage under the Policy, or

         The maximum limit of coverage under the Policy is the actual cost of repair or replacement of the property that is the
         subject of the claim is greater than the maximum limit of coverage under the Policy.

     Any payment made pursuant to above, is limited to the following:

         An Innocent Coinsured's ownership interest in the property, less any payments the Company makes to mortgagee or other
         lienholder with a secured interest in the property.

        The Company will not pay another coinsured for any part of the claim for which the Company has already paid to an
        Innocent Coinsured.

        The Company will not pay an amount that is greater than the amount an Innocent Coinsured is entitled to under a decree
        of dissolution of man·iage between the Innocent Co insured and an individual described below.

     As used in this endorsement, Innocent Coinsured is an insured who:

        Did not have knowledge of, cooperate in, or intentionally contribute to a property loss or damage that was caused or
        arranged by another individual who:

             Is an insured and:




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                                                                                                                EDGE-215-A (09/18)
                                                                                                                      Page 1 of 2


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 133 of 198
    Died in connection with the circumstances that caused the property loss or damage; or

    Has been charged with a crime based on a court finding that there is probable cause to believe that the individual
    committed the crime in connection with the circumstances that caused the property loss or damage;

    Signs a sworn affidavit attesting that they did not have knowledge of, cooperate in, or intentionally contribute to the
    property loss or damage; and

    Cooperates in the investigation and resolution of the claim for the property loss or damage, any police investigation related
    to the property loss or damage, and any criminal prosecution of the individual that caused or arranged the property loss or
    damage.

As used in this endorsement, Final Settlement is a determination:

    Of the amount owed by the Company to an Innocent Coinsured under COVERED PROPERTY under this Policy and for
    property loss or damage to the Innocent Coinsured's primary residence; and

    Made by:

    Acceptance of a proof of loss by the Company;

    Execution of a release by an Innocent Coinsured;

    Acceptance of an arbitration award by the Innocent Coinsured and the Company; or

    Judgment of a court of competent jurisdiction.

I·Iowever, Final Settlement does not apply to loss or damage related to contents, personal property or another loss that is not
covered under Covered Property under this Policy.




                     All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                             EDGE-215-A (09/18)
                                                                                                                   Page 2 of 2


     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 134 of 198
Amendatory Endorsement - Kansas
                                                                                                                                     ®

                                                                                                                ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is deleted from Section VI-General Policy Conditions, Cancellation/Non-renewal, Cancellation,

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

          The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
          in the Declarations; or

          The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
          Declarations.

     and replaced by the following:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

          The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
          in the Declarations, which shall not be less than five (5) days if the nonpayment is for a premium installment; or

          The greater of thirty (30) days or the number of days before the effective date of cancellation if the Company cancels for
          any other reason, as stated in the Declarations.

2.   Section VI-General Policy Conditions, Loss Conditions, Suit Against the Company, is deleted in its entirety and replaced by the
     following:

     SUIT AGAINST THE COMPANY

     No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
     fully complied with all the provisions of this Policy. Legal action must be started within five (5) years after the date of direct
     physical loss or damage to Covered Property or to other property as set forth herein.

     If under the laws of the jurisdiction in which the property is located, such twelve months' limitation is invalid, then, any such
     legal action needs to be started within the shortest limit of time permitted by such laws.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                    N-000112

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                                                                                                                         Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 135 of 198
                                                                                                                                       ®
Amendatory Endorsement - Kentucky                                                                                ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I. The following section is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL:

   The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
   least:

       The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
       in the Declarations; or

       The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
       Declarations.

   and replaced with:

   The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
   least:

       Fourteen (14) days before the effective date of cancellation if this Policy has been in effect for sixty (60) days or less.
       Cancellation can be for any reason, and the notice will state the reason for cancellation.

       For Policies in effect for more than sixty (60) days or that are a renewal of a Policy the Company issued:

           Fourteen (14) days before the effective date of the cancellation, if cancellation is for nonpayment of premium; or

           Seventy-five (75) days before the effective date of cancellation, if cancellation is for:

                Discovery of fraud or material misrepresentation made by the Insured or with the lnsureds1 knowledge in obtaining
                the Policy, continuing the Policy, or in presenting a claim under the Policy;

                Discovery of willful or reckless acts or omissions on the Insureds' part which increase any hazard insured against;

                The occurrence of a change in the risk which substantially increases any hazard insured against after insurance
                coverage has been issued or renewed;

                A violation of any local fire, health, safety, building, or construction regulation or ordinance with respect to any
                insured property or the occupancy thereof which substantially increases any hazard insured against;

                The Company is unable to reinsure the risk covered by the Policy; or

                A determination by the commissioner that the continuation of the Policy would place the Company in violation of
                the Kentucky insurance code or regulations of the commissioner.




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                                                                                                                    EDGE-218-B (01/11)
                                                                                                                           Page 1 of 2


        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 136 of 198
2.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety
     and replaced by the following:

     Non-renewal

         For the purpose of this Condition:

             Any Policy period or teim of less than six (6) months shall be considered to be a Policy period or term of six (6)
             months; and

             Any Policy period or term of more than one (I) year or any Policy with no fixed expiration date shall be considered a
             Policy period or term of one (I) year.

        If the Company elects not to renew this Policy, the Company will mail or deliver written notice of nonrenewal, stating the
        reason for nonrenewal, to the first Named Insured shown in the Declarations, at the last mailing address known to the
        Company, at least seventy-five (75) days before the expiration date of the Policy period.

        If notice of nonrenewal is not provided pursuant to this Condition, coverage under the same terms and conditions shall be
        deemed to be renewed for the ensuing Policy period upon payment of the appropriate premium until the Insured has
        accepted replacement coverage with another insurer, or until the Insured has agreed to the nonrenewal.

        If the Company mails or delivers a renewal notice to the first Named Insured at least thirty (30) days before the end of the
        Policy period, stating the renewal premium and its due date, the Policy will te1minate without further notice unless the
        renewal premium is received by the Company or its authorized agent by the due date.

        If this Policy terminates because the renewal premium has not been received by the due date, the Company will, within
        fifteen (15) days, mail or deliver to the first Named Insured at the last known address a notice that the Policy was not
        renewed and the date it was terminated.

        If notice is mailed, proof of mailing is sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                 EDGE-218-B (01/11)
                                                                                                                       Page 2 of 2


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 137 of 198
                                                                                                                                     ®
Amendatory Endorsement - Louisiana                                                                                ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION III-PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.01.01.is deleted in its entirety and replaced by the
     following:

     3.03.01.01. Contamination or asbestos, and any cost due to Contamination or asbestos including the inability to use or
                 occupy property or any cost of making property safe or suitable for use or occupancy.

2.   SECTION III- PROPERTY DAMAGE, C. EXCLUSIONS, paragraph 3.03.03.03 is deleted in its entirety and replaced by the
     following:

     3.03.03.03    Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic
                   fusion, radioactive force or radioactive material, regardless of who commits the act.

3.   Section VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL is deleted in its entirety and replaced
     with the following::

         If this Policy is cancelled, the Company will return any premium refund due. The cancellation will be effective even if the
         Company has not made or offered a refund.

         l.   If the first Named Insured cancels, the refund will not be less than 90% of the pro rata unearned premium, rounded to
              the next higher whole dollar. The refund will be returned within 30 days after the effective date of cancellation.

              We will send the refund to the first Named Insured and any mortgagee that has provided us with written notice of the
              percentage of the premium being funded with the mortgagee's own funds. The percentage of the unearned premium
              attributable to the mortgagee shall be returned to the mortgagee and the percentage of the unearned premium
              attributable to the first Named Insured shall be returned to the first Named Insured.

         2.   Ifwe cancel, the refund will be pro rata and we will send the refund to the first Named Insured

        Ifwe cancel a policy that has been in effect for fewer than 60 days and is not a renewal ofa policy we issued,
        we will give written notice to the First Named Insured at least:

         1.       10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

        2.        60 days before the effective date of cancellation, ifwe cancel for any other reason.

         If we cancel a policy that has been in effect for 60 days or more, or is a renewal of a policy we issued, we will give written
        notice to the First Named Insured at least:

         1.   10 days before the effective date of cancellation, if we cancel for nonpayment of premium; or

        2.    30 days before the effective date of cancellation, ifwe cancel for any other reason.

        Cancellation of a policy in effect more than 60 days will be based on one of the following reasons:

         1.   Nonpayment of premium.

        2.     Fraud or material misrepresentation made by or with the knowledge of the named insured in obtaining the policy,
              continuing the policy, or presenting a claim under the policy.

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                                                                                                                          Page 1 of 3


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 138 of 198
          3.   Activities or omissions on the part of the named insured change or increase any hazard insured against.

          4.   Change in the risk, which increases the risk of loss after coverage has been issued or renewed.

          5.   Determination by the Commissioner ( of Insurance) that the continuation of the policy would jeopardize the solvency of
               the insurer or place the insurer in violation of the law.

          6.   Violation or breach of policy terms or conditions by the Insured.

          7.   Other approved reasons.

          Ifwe elect not to renew the policy, we will mail or deliver written notice of nonrenewal to the First Named Insured at
          least 60 days before its expiration date, or its anniversary date if it is a policy written for a term of more than one year or
          with no fixed expiration date. The notice will include the insured's loss run information for the period the policy has been
          in force, not to exceed three years.

4.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     This Policy will be cal)celed in any case of fraud by any Insured as it relates to this Policy at any time. It will also be canceled
     if any Insured, at any time, intentionally conceals or misrepresents a matelial fact, with the intent to deceive concerning:

          I. This Policy;

         2. The Covered Property;

         3. The interest in the Covered Property; or

         4. A claim under this Policy.

5.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
     following:

     The Company will be entitled to recovery only after the insured has been fully compensated for the loss or damage sustained,
     including expenses incurred in obtaining full compensation for the loss or damage.

6.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL is deleted in its entirety.

7.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
     Payment:

         The Company has reached agreement on the amount of loss; or

     and replaced by the following:

         The Company has reached agreement on a portion of or the total amount of loss; or

8.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

               No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
               Insured has fully complied with all the provisions of this Policy. Legal action must be started within (24) twenty-four
               months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.

9.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

     Any reference to" the most functionally equivalent" shall be replaced with "oflike kind and quality".




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                                                                                                                             Page 2 of 3


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 139 of 198
10. SECTION II - DECLARATIONS, Time Specifications, is deleted in its entirety and replaced by the following:
         2.03.10. Time Specifications: As follows:

                  EARTH MOVEMENT Occurrence                                   168 hours
                                                                                                  .

                  NAMED STORM Occurrence                                      72 hours
                  Cancellation for nonpayment of premium                      10 days
                  Cancellation for any other reason                           60 days

11. The following is deleted from SECTION VII - DEFINITIONS

                     Contamination(Contaminated) - Any condition of property due to the actual presence of any foreign
                     substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
                     virus, disease causing or illness causing agent, Fungus, mold or mildew.

    and replaced by the following:

                     Contamination(Coutaminated) - Any condition of property due to the actual presence of any
                     Contamiuant(s).

12. The following is deleted from SECTION VII - DEFINITIONS:

                     Contaminant(s)- Any solid, liquid, gaseous, thermal or other irritant, pollutant or contaminant, including but
                     not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials to be recycled,
                     reconditioned or reclaimed), asbestos, ammonia, other hazardous substances, Fungus or Spores.

     And replaced with the following:

                     Contaminant(s) - Any solid, liquid, gaseous, thermal or other irritant, including but not limited to smoke,
                     vapor, soot, fumes, acids, alkalis, chemicals, waste (including materials to be recycled, reconditioned or
                     reclaimed), other hazardous substances, Fungus or Spores.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                  N-000117

                                                                                                                EDGE-219-C (01/18)
                                                                                                                      Page 3 of 3


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 140 of 198
                                                                                                                                     ®
Amendatory Endorsement - Maryland                                                                                ZURICH
                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The Cancellation subsection under SECTION IV- GENERAL POLICY CONDITIONS, CANCELLATION/NON- RENEWAL
     is deleted in its entirety and replaced by the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         When this policy has been in effect for 45 days or less and is not a renewal policy, the Company may cancel this policy by
         mailing to the First Named Insured, at the last mailing address, written notice of cancellation, stating the reason for
         cancellation, at least:

             IO days before the effective date of cancellation if the Company cancels for nonpayment of premium.

             15 days before the effective date of cancellation if the Company cancels because the risk does not meet its underwriting
             standards.

        When this policy has been in effect for more than 45 days or is a renewal policy, the Company may cancel this policy by
        mailing to the First Named Insured, at the last mailing address, written notice of cance1lation at least:

             10 days before the effective date of cancellation if the Company cancels for nonpayment of premium.

             45 days before the effective date of cancellation if the Company cancels for a permissible reason other than
             nonpayment of premium, stating the reason for cancellation. The Company may cancel only for one (1) or more of the
             following reasons:

                    When there exists material misrepresentation or fraud in connection with the application, policy, or presentation of
                    a claim.

                    A change in the condition of the risk that results in an increase in the hazard insured against. A matter or issue

                    related to the risk that constitutes a threat to public safety.

        If this policy is cancelled, the Company will send the First Named Insured any premium refund due.

        The refund will be pro rata if:

            The First Na med Insured cancelsor:

            The policy is not a renewal policy, and the First Named Insured cancels upon receiving written notice that the
            Company recalculated the premium based on the discovery of a material risk factor during the first 45 days the policy
            has been in effect. Other than this type of cancellation, the refund will be calculated as follows:

            For policies written for one year or less, the Company will refund 90% of the pro rata unearned premium. For policies
            written for more than one year:

                 If the policy is cancelled in the first year, the Company will refund 90% of the pro rat a unearned premium for the

                    first year, plus the full annual premium for subsequent years.

                 If the policy is cancelled after the first year, the Company will refund the pro rata unearned premitlrll90118
                                                                                                                   EDGE-221-C (08/17)
                                                                                                                         Page 1 of 2


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 141 of 198
            Continuous and Annual Premium Payment Policies

                 The Company will refund 90% of the pro rata unearned premium for the year in which the policy is cancelled.

                 The Company will retain the minimum premium, except if the policy is cancelled as of the inception date.

                 However, if this policy is financed by a premium finance company and the Company or the premium finance
                 company or the First Named Insured cancels the policy, the refund will consist of the gross unearned premium
                 computed pro rata, excluding any expense constant, administrative fee or nonrefundable charge filed with and
                 approved by the insurance commissioner.

            The cancellation will be effective even if the Company has not made or offered a refund.

       The Company will send notice of cancellation to the First Named Insured by certificate of mail if:

       The Company cancel for nonpayment of premium; or

             This policy is not a renewal of a policy the Company issued and has been in effect for 45 days or less.

       The Company will send notice to the First Named Insured by certificate of mail or by commercial mail delivery service if
       the Company cancels for a reason other than nonpayment of premium and this policy:

            Is a renewal of a policy we issued; or

            Has been in effect for more than 45 days.

       The Company will maintain proof of mailing in a form authorized or accepted by the United States Postal Service or by
       other commercial mail delivery service when such service is used. Proof of mailing will be sufficient proof of notice.

2. SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD, is deleted in its
    entirety.

3. SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in its
    entirety and replaced by the following:

   No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the Insured has
   fully complied with all the provisions of this Policy. Legal action must be started within three (3) years after the date of direct
   physical loss or damage to Covered Property or to other property as set forth herein.

4. SECTION VI- GENERAL POLICY CONDITIONS, SUSPENDED PROPERTY, is deleted in its entirety.

5. The following is added to 3.02. PROPERTY NOT COVERED:

   Any property, prior to a loss, found to be in, or exposed to, a dangerous condition, by any of the Company's representatives, and
   the Insured is put on notice for such condition, until the dangerous condition has been corrected.




                        All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                   N-000119

                                                                                                                 EDGE-221-C (08/17)
                                                                                                                       Page 2 of 2


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 142 of 198
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Amendatory Endorsement - Massachusetts                                                                           ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

A. The following is added to SECTION VI -GENERAL POLICY CONDITIONS:

   MASSACHUSETTS CONDITION

   1.   In spite of any provision of any general or special law:

        a)    The Company will not pay for loss or damage to buildings or structures caused by any Covered Cause of Loss if the
              amount of loss is $5,000 or more unless the Insured first submits a certificate of municipal liens from the collector of
              taxes of the city or town where the property is located.

        b)    The Company will pay to the city or town any amount outstanding on the certificate of municipal liens arising from the
              provisions of Massachusetts General Law Chapters 40, 59, 60, 80, 83, and 164, Sections 58B through 58F.

        The payment will not exceed the amount of loss payable under this Policy.

        We will send the Insured and the mortgage holder proofofpayment to the city or town.

        c)    The claim of the city or town will have priority over the claim of any mortgage holder, assignee, Insured or any other
              interested party, except where otherwise provided by the laws of the United States.

        d) The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

              I)    Amounts paid to a city or town; or

              2)    Amounts not paid to a city or town based upon a certificate showing that no municipal liens exist.

        This section I. above does not apply to any owner-occupied one to four-family dwelling if the owner of the dwelling lived
        there when the claim for loss or damage arose.

   2.   The Company will not pay any claim for:

        a). Loss, damage, or destruction of$1,000 or more to a building or structure; or

        b). Loss, damage or destruction, of any amount, that causes a building or structure to become:

              1).     Dangerous to life or limb; or

              2).    Unused, uninhabited or abandoned and open to the weather; as provided under Massachusetts General Law,
                     Section 6 of Chapter 143;

        c).    Without giving at least ten (I 0) days written notice before such payment to:

              1).    The Building Commissioner or the appointed Inspector of Buildings; and

              2).    The Board of Health or the Board of Selectmen of the city or town where the property is located

  3.    Ifat any time before the Company's payment, the city or town notifies the Company by certified mail of its intent to begin
        proceedings designed to perfect a lien under Massachusetts General Law:

        a). Chapter 143, Section 3A or 9; or
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                                                                                                                   EDGE-222-C (12/15)
                                                                                                                         Page 1 of 7


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 143 of 198
        b). Chapter 111, Section 127B;

        The Company will not pay while the proceedings are pending. The proceedings must be started within thirty (30) days
        after the Company receives the notice.

        Any lien perfected under the Massachusetts General Laws referred to above, will extend to the city or town and may be
        enforced by it against the proceeds of this Policy.

   4.   The Company will not be liable to any city, town, mortgage holder, assignee, Insured or any other interested party for:

        a)   Amounts paid to a city or town; or

        b)   Amounts not paid to a city or town under sections 2. and 3. above.

A. The following is added to SECTION VI -GENERAL POLICY CONDITIONS:

   STANDARD FIRE POLICY PROVISIONS

   Your Policy contains LEGAL ACTION AGAINST US, APPRAISAL and CANCELLATION provisions.
   Massachusetts law requires that the Suit, Appraisal and Cancellation provisions of the Massachusetts Standard Fire Policy
   supersede any similar provisions contained in your Policy. Therefore, all LEGAL ACTION AGAINST US, APPRAISAL and
   CANCELLATION provisions contained in your policy are void. The Suit, Appraisal and Cancellation provisions of the
   Massachusetts Standard Fire Policy shall apply instead

   In consideration of the Provisions and Stipulations Herein or Added Hereto and of the Premium Specified in the Declarations,
   this Company, for the term of years specified in the Declarations from inception date (At 12:01 A.M. Standard Time) to
   expiration date (At 12:01 A.M. Standard Time) at location of property involved, to an amount not exceeding the amount(s)
   specified in the Declarations, does insure the Insured named in the Declarations and legal representatives, to the extent of the
   actual cash value of the property at the time of loss or the valuation terms of the policy, but in no event for more than the
   interest of the Insured, against all LOSS BY FIRE, LIGHTNING AND BY REMOVAL FROM PREMISES ENDANGERED
   BY THE PERILS INSURED AGAINST IN THIS POLICY, EXCEPT AS HEREINAFTER PROVIDED, to the property
   described in the Declarations while located or contained as described in this Policy or pro rata for five (5) days at each proper
   place to which any of the property shall necessarily be removed for preservation from the perils insured against in this Policy,
   but not elsewhere.

   Assignment of this Policy shall not be valid except with the written consent of this Company.

   This Policy is made and accepted subject to the foregoing provisions and stipulations and those hereinafter stated, which are
   hereby made a part of this Policy together with such other provisions, stipulations and agreements as may be added hereto, as
   provided in this Policy.

   Concealment fraud.

  This entire Policy shall be void if, whether before or after a loss, the Insured has willfully concealed or misrepresented any
  material fact or circumstance concerning this insurance or the subject thereof, or the interest of the Insured therein, or in case of
  any fraud or false swearing by the Insured relating thereto.

   Uninsurable and excepted property.

  This Policy shall not cover accounts, bills, currency, deeds, evidences of debt, money or securities; nor, unless specifically
  named herein in writing, bullion or manuscripts.

  Perils not included.

  This Company shall not be liable for loss by fire or other perils insured against in this Policy caused, directly or indirectly, by
  (a) enemy attack by armed forces, including action taken by military, naval or air forces in resisting an actual or an immediately
  impending enemy attack; (b) invasion; (c) insurrection; (d) rebellion; (e) revolution;(!) civil war; (g) usurped power; (h)
  order of any civil authority except acts of destruction at the time of and for the purpose of preventing the spread of fire,
  provided that such fire did not originate from any of the perils excluded by this Policy; (i) neglect of the Insured to use all



                                                                                                                     N-000121

                                                                                                                  EDGE-222-C (12/15)
                                                                                                                        Page 2 of 7


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 144 of 198
reasonable means to save and to preserve the property at and after a loss, or when the property is endangered by fire in the
neighboring premises; (j) nor shall this company be liable for loss by theft.

Other Insurance.
Other insurance may be prohibited or the amount of insurance may be limited by endorsement attached hereto.

Conditions suspending or restricting insurance.
Unless otherwise provided in writing added hereto this Company shall not be liable for loss occurring (a) while the hazard is
increased by any means within the control or knowledge of the Insured; or (b) while the Described Premises, whether intended
for occupancy by owner or tenant, are vacant or unoccupied beyond a period of sixty (60) consecutive days, for residential
premises of three units or less and thirty (30) consecutive days for all other premises, or (c) as a result of explosion or riot,
unless fire ensues, and in that event for loss by fire only.. This paragraph does not suspend or restrict the coverage contained in
the following policies: Zurich Edge Domestic Policy, Edge-100-B (12/10); Zurich Edge Global Policy, Edge-101-B (12/10);
Zurich Edge Domestic Healthcare Policy, Edge-102-B (12/10); Zurich Edge Global Healthcare Policy, Edge-103-B (12/10).

Other perils of subject.

Any other peril to the insured against or subject of insurance to be covered in this Policy shall be by endorsement in writing
hereon or added hereto.
Added provisions.

The extent of the application of insurance under this Policy and of the contribution to be made by this Company in case of loss,
and any other provision or agreement not inconsistent with the provisions of this Policy, may be provided for in writing added
hereto, but no provision may be waived except such as by the terms of this Policy is subject to change.

Waiver provisions.

No permission affecting this insurance shall exist, or waiver of any provision be valid, unless granted herein or expressed in
writing hereto. No provision stipulation or forfeiture shall be held to be waived by any requirement or proceeding on the part of
this Company relating to appraisal or to any examination provided for herein.

Cancellation of Policy.

This Policy shall be cancelled at any time at the request of the Insured, in which case this Company shall, upon demand and
surrender of this Policy, refund the excess of paid premium above the customary short rates for the expired time. This Policy
may be cancelled at any time by this Company by giving to1 the Insured a five (5) days written notice of cancellation, and to the
mortgagee to whom this Policy is payable twenty (20) days written notice of cancellation except where the stated reason for
cancellation is nonpayment of premium where, in such instance, this Policy may be cancelled at any time by this Company by
giving to the Insured a ten (I 0) days written notice of cancellation, and the mortgagee a twenty (20) days written notice of
cancellation, with or without tender of the excess paid premium above the pro rata premium for the expired time, which excess,
if not tendered, shall be refunded on demand. If notice is mailed, proofofmailing will be sufficient proofofnotice. Notice of
cancellation shall state that said excess premium (if not tendered) will be refunded on demand and shall state or be accompanied
by a statement of the specific reason or reasons for such cancellation. After this Policy has been in effect for sixty (60) days, or
after sixty (60) days from any anniversary date, no notice of cancellation shall be effective unless it is based on the occurrence,
after the effective date of the Policy, of one or more of the following:

( l) nonpayment of premium; (2) conviction of a crime arising out of acts increasing the hazard insured against; (3) discovery
of fraud or material misrepresentation by the Insured in obtaining the Policy; (4) discovery of willful or reckless acts or
omissions by the Insured increasing the hazard insured against; (5) physical changes in the property insured which result in the
property becoming uninsurable; or (6) a determination by the commissioner that continuation of the Policy would violate or
place the Insurer in violation of the law. Where the stated reason is nonpayment of premium, the Insured may continue the
coverage and avoid the effect of the cancellation by payment at any time prior to the effective date of cancellation.

Mortgagee interests and obligations.




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                                                                                                                EDGE-222-C (12115)
                                                                                                                       Page 3 of 7


     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 145 of 198
Notwithstanding any other provisions of this Policy, if this Policy shall be made payable to a mortgagee of the covered real
estate, no act or default of any person other than such mortgagee or his agent or those claiming under him, whether the same
occurs before or during the term of this Policy, shall render this Policy void as to such mortgagee nor affect such mortgagee !-
right to recover in case of loss on such real estate; provided, that the mortgagee shall on demand pay according to the
established scale of rate for any increase of risk not paid for by the Insured; and whenever this Company shall be liable to a
mortgagee for any sum for loss under this Policy for which no liability exists as to the mortgagor, or owner, and this Company
shall elect by itself, or with others, to pay the mortgagee, the full amount secured by such mortgage, then the mortgagee shall
assign and transfer to the Company interested, upon such payment, the said mortgage together with the note and debt thereby
secured.

Pro rata liability.

This Company shall not be liable for a greater proportion of any loss than the amount hereby insured shall bear to the whole
insurance covering the property against the peril involved.

Requirements in case loss occurs.

The Insured shall give immediate written notice to this Company of any loss, protect the property from further damage,
forthwith separate the damaged and undamaged personal property, put it in the best possible order, furnish a complete inventory
of the destroyed and damaged property, showing in detail the quantity, description, actual cash value and amount of loss
claimed; and the Insured shall forthwith render to this Company a signed, sworn statement in proof of loss which sets forth to
the best knowledge and belief of the Insured the following: the time and cause of the loss, the interest of the Insured and of all
others in the property, the actual cash value of each item thereof and the amount of loss thereto, all encumbrances thereon, all
other contracts of insurance, whether valid or not, covering any of said property, any changes in the title, use, occupancy,
location, possession or exposures of said property, since the issuing of this Policy, by whom and for what purpose any building
herein described and the several parts thereof were occupied at the time of loss and whether or not it then stood on leased
ground, and shall furnish a copy of all the descriptions and schedules in all Policies and detailed estimates for repair of the
damage. The Insured, as often as may be reasonably required, shall exhibit to any person designated by this Company all that
remains of any property herein described, and submit to examinations under oath by any person named by this Company, and
subscribe the same; and as often as may be reasonably required, shall produce for examination all books of account, bills,
invoices and other vouchers, or certified copies thereof if originals be lost, at such reasonable time and place as may be
designated by this Company or its representative, and shall permit extracts and copies thereof to be made.

When loss payable.

In case of any loss or damage, the Company within thirty (30) days after the Insured shall have submitted a statement, as
provided in the preceding clause, shall either pay the amount for which it shall be liable, which amount if not agreed upon shall
be ascertained by award of referees as hereinafter provided, or replace the property with other of the same kind and goodness, or
it may, within fifteen (15) days after such statement is submitted, notify the Insured of its intention to rebuild or repair the
premises, or any portion thereof separately covered by this Policy, and shall thereupon enter upon said premises and proceed to
rebuild or repair the same with reasonable expedition. It is more over understood that there can be no abandonment of the
property described to the Company, and that the Company shall not in any case be liable for more than the sum insured, with
interest thereon from the time when the loss shall become payable, as provided above. The Company shall be liable for the
payment of interest to the Insured at a rate of one (1) percent over the prime interest rate on the agreed figure commencing
thirty (30) days after the date an executed proof of loss for such figure is received by the Company, said interest to continue so
long as the claim remains unpaid.

Appraisal.

In case of loss under this Policy and a failure of the parties to agree as to the amount of loss, it is mutually agreed that the
amount of such loss shall be referred to three disinterested men, the Company and the Insured each choosing one out of three
(3) persons to be named by the other, and the third being selected by the two (2) chosen, and the award in writing by a majority
of the referees shall be conclusive and final upon the parties as to the amount of loss or damage, and such reference, unless
waived by the parties, shall be a condition precedent to any right of action in law or equity to recover for such loss; but no
person shall be chosen or act as a referee, against the objection of either party, who has acted in a like capacity within four (4)
months.

Suit.



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                                                                                                               EDGE-222-C (12/15)
                                                                                                                     Page 4 of 7


        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 146 of 198
   No suit or action against this Company for the recovery of any claim by virtue of this Policy shall be sustained in any court of
   law or equity in this commonwealth unless commenced within two (2) years from the time the loss occurred; provided,
   however, that if, within said two (2) years, in accordance with the provisions of the preceding paragraph, the amount of loss
   shall have been referred to arbitration after failure of the parties to agree thereon, the limitation of time for bringing such suit or
   action shall in no event be less than ninety (90) days after a valid award has been made upon such reference or after such
   reference or award has been expressly waived by the parties. If suit or action upon this Policy is enjoined or abated, suit or
   action may be commenced at any time within one (I) year after the dissolution of such injunction, or the abatement of such suit
   or action, to the same extent as would be possible if there was no limitation of time provided herein for the bringing of such
   suit or action.

   Subrogation.

   This Company may require from the Insured an assignment of all rights of recovery against any party for loss to the extent that
   payment therefore is made by this Company.

C. The following is added to Paragraph B. Description of Special Coverages of SECTION V - SPECIAL COVERAGES &
   DESCRIBED CAUSES OF LOSS:

       MASSACHUSETTS RESIDENTIAL FUEL TANKS SPILLS CO VEAGE - PROPERTY REMEDIATION FOR
       "RELEASE OF HEATING OIL"
       a)   With respect to the "release of heating oil" from a tank, or any piping, fuel supply lines, equipment, or systems
            connected to the tank, at a residential property, the Company will pay for:

            1). Reasonable response action costs the Insured incurred under chapter 21E or 21K of the Massachusetts law or
                applicable regulations, including costs to assess and remediate a "release of heating oil" impacting soil, indoor
                air, water and other environmental media at that residential property; and

            2). With respect to a "release of heating oil" for which response action costs are incurred and covered pursuant to 1).
                above, direct physical loss of or damage to personal property at that residential property.

       b) The most the Company will pay under this endorsement for a "release of heating oil" is the applicable limits provided
          in this policy or $50,000 whichever is greater, for the total of all loss, damage, or costs regardless of:

            I)   The amount of time over which the "release of heating oil" continues and regardless of whether the release
                 occurs in repeated intervals;

            2). The number of policy years during which the "release of heating oil" persists;

            3). Whether the heating oil is released from one or multiple outlets on the tank body and its related equipment;

            4). Whether there are multiple effects, such as damage to personal property, pollution of land and pollution of water;

            5). Whether the effects of the "release of heating oil" are discovered and reported once or discovered and reported
                over time as such effects become apparent;

            6). The number oflocations affected by the "release of heating oil"; or

            7). The number of claims made.

            Notwithstanding anything to the contrary in the Policy, the coverage provided by this endorsement is included within
            the Policy Limit.

       c)   The following additional exclusions apply:

            The Company will not pay:




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                                                                                                                     EDGE-222-C (12115)
                                                                                                                           Page 5 of 7


        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 147 of 198
               1)   For any loss of business income or any expenses incurred due to inte1ruption or reduction in business operations,
                    including any Time Element Coverages, even if the Policy includes such coverage;

               2). For any other consequential loss, damage or costs; or

               3). To replace any heating oil that was released.

          d)   The Company will not pay for loss, damage or costs under this endorsement until the amount of loss, damage or costs
               exceed $1,000. The Company will then pay the amount ofloss, damage or costs in excess of $1,000 up to the
               applicable limit, subject to all applicable provisions of A. above. This deductible applies whenever there is a "release
               of heating oil" covered under this endorsement. No other deductible will apply to the coverage provided solely by
               this endorsement.

          e)   When the "release of heating oil" results from a covered cause of loss, the following apply:

               I)   If the loss or damage described in A.a. 2) above is also covered under another coverage(s) in this Policy, then such
                    covered loss or damage will be settled in accordance with all applicable terms of that coverage and this
                    endorsement will not apply. Any deductible applicable to that coverage that is higher than $ 1,000 is recoverable
                    under this endorsement but not to exceed $50,000.

               2)   With respect to pollution of land and water, the costs addressed in A.a. I) above will be settled under the terms of
                    the Land and Water Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs
                    Coverage, and this endorsement will apply as excess if the amount of coverage available under the Land and Water
                    Contaminant Cleanup, Removal and Disposal Coverage and/or the Decontamination Costs Coverage is less than
                    $50,000.

         f)    Coverage applies only in response to a "release of heating oil" which an insured first discovers or learns of during the
               current policy year and reports to the Company as soon as practicable. If the First Named Insured discovers or
               learns of the "release of heating oil" during the policy year and reports it to the Company following the end of that
               policy year, coverage will apply, provided this endorsement was in effect when the First Named Insured discovered
               or learned of the "release of heating oil", if the First Named Insured reported the "release of heating oil" to the
               Company as soon as practicable.

D. The following is added to SECTION VI. GENERAL POLICY CONDITIONS, OTHER INSURANCE:
   Except as provided in 1) below, if there is other insurance covering the same loss, damage or costs covered, the Company will
   pay only its share of the covered loss, damage, or costs. The Company's share is the proportion of the loss, damage, or costs
   that the amount of insurance that applies under this endorsement bears to the total amount of insurance covering such loss,
   damage, or costs.

     1). If there is a service agreement covering the same loss, damage, or costs, this insurance is excess over any other
         amounts payable under the service agreement. If there is a government fund covering the same loss, damage, or costs, the
         Company will pay its share of the covered loss, damage, or costs. The Company's share is the proportion of the loss,
         damage, or costs that the amount of insurance that applies under this endorsement bears to the total amount of insurance
         covering such loss, damage, or costs to the extent permitted by law.

E.   The following is added to SECTION Vil. DEFINITIONS:

     Compliance means compliance with Massachusetts's law governing release prevention, pursuant to applicable subsection (b) or
     (c) of section 38J of chapter 148 of the laws of Massachusetts.

     Personal property means property owned by you.

     "Release of heating oil" means both the release of and the threat of release of heating oil.

     Residential property means a one (I) to four ( 4) unit dwelling used for living or sleeping located in the Commonwealth of
     Massachusetts.

     Service Agreement means a fuel system service plan, property restoration plan, or similar service or warranty agreement, even
     if it is characterized as insurance


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                                                                                                                    EDGE-222-C (12/15)
                                                                                                                           Page 6 of 7


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 148 of 198
    Tank means a liquid fuel tank in which heating oil is stored and from which heating oil is delivered or pumped through a fuel
    supply line to a device for burning oil in heating appliances, whether located within a residential property or other structure
    and installed at or below grade level, or located outdoors. Tank does not mean any underground tank, wherever located.

All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                EDGE-222-C (12/15)
                                                                                                                       Page 7 of 7


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 149 of 198
                                                                                                                                           ®
Amendatory Endorsement - Maine                                                                                     ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
     following:

        Cancellation

         I)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
              advance written notice of cancellation.

        2) The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
           cancellation which will not be effective prior to ten (10) days after the receipt by the First Named Insured of the
           notice.

        3)    The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
              this Policy or any Endorsement attached thereto.

        4)    Notice of cancellation will state the effective date of and reasons for cancellation. The Policy Period will end on that
              date.

        5) If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
           cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
           less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
           offered a refund.

        6)    A post office certificate of mailing to the First Named Insured at the last known mailing address will be conclusive
              proof of receipt of notice on the third calendar day after mailing.

        7)    If this Policy has been in effect for sixty (60) days or more, or if it is a renewal or continuation of a Policy issued by
              the Company, the Company may cancel this Policy only for one or more of the following reasons:

              a.   Nonpayment of premium;

              b.   Fraud or material misrepresentation made by the Insured or with the Insureds consent in obtaining the Policy,
                   continuing the Policy or in presenting a claim under the Policy;

              c.   Substantial change in the risk which increases the risk of loss after insurance coverage has been issued or renewed
                   including, but not limited to, an increase in exposure due to regulation, legislation or court decision;

              d.   Failure to comply with reasonable loss control recommendations;

              e.   Substantial breach of contractual duties, conditions or warranties; or

              f.   Determination by the superintendent of insurance that the continuation of a class or block of business to which this
                   Policy belongs will jeopardize the Company's solvency or will place the Company in violation of the insurance
                   laws of Maine or any other state.

        Non-renewal

              The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice of
              nonrenewal which will not be effective prior to thirty (30) days after the receipt by the First Named Insured of the
              notice. A post office certificate of mailing to the First Named Insured at the last known address will be conclusive
              proof of receipt of notice on the third calendar day after mailing.                                    N-ooo 127


                                                                                                                      EDGE-220-8 (02/11)
                                                                                                                             Page 1 of 2


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 150 of 198
 2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
      replaced by the following:

          I)   CONCEALMENT, MISREPRESENTATION OR FRAUD

               The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it
               relates to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time
               intentionally conceal or misrepresent a material fact or make a false statement concerning:

               a.   This Policy;

               b.   The Covered Property;

               c.   The Insured1s interest in Covered Property; or

               d.   A claim under this Policy.

3.    SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
      its entirety and replaced by the following:

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
         date of direct physical loss or damage to Covered Property or to other property as set forth herein.

4.    SECTION VI - GENERAL POLICY CONDITIONS, JOINT LOSS, is deleted in its entirety.




All other terms, conditions and limitations of this Policy remain unchanged,




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                                                                                                                  EDGE-220-B (02111)
                                                                                                                        Page 2 of 2


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 151 of 198
                                                                                                                                        ®
Amendatory Endorsement - Minnesota                                                                               ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     1.   The following paragraph under SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, DUTIES IN
          THE EVENT OF LOSS OR DAMAGE, is deleted in its entirety:

          Permit the Company to question the Insured, the Insured1s employees and agents under oath, while not in the presence of
          any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
          damage, including an Insured's books and records. In the event of this examination, an Insured 1s answers must be signed or
          attested to by a notary public or certified court reporter.

          and replaced by the following:

          Permit the Company to question the Insured, the Insured's employees and agents under oath, while not in the presence of
          any other insured and at such times as may be reasonably required, about any matter relating to this insurance or the loss or
          damage, including an Insured's books and records. In the event of this examination, an Insured's answers must be signed or
          attested to by a notary public or certified court reporter. The Insured has the right to an attorney being present during nay
          examination under oath. Any answers given may be used in future civil or criminal proceedings.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                          Page 1 of 1


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 152 of 198
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Amendatory Endorsement - Mississippi                                                                          ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

            No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
            Insured has fully complied with all the provisions of this Policy. Legal action must be started within three (3) years
            after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.


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                                                                                                                       Page 1 of 1


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 153 of 198
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Amendatory Endorsement - Missouri                                                                                ZURICH


                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
     Cancellation:

         The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
         least:

             The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as
             stated in the Declarations; or

             The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in
             the Declarations.

     and replaced by the following:

         The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation,
         stating the actual reason for cancellation, at least:

             10 days before the effective date of cancellation if the Company cancels for nonpayment of premium;

             30 days before the effective date of cancellation if cancellation is for one or more of the following reasons:

                 Fraud or material misrepresentation affecting this policy or a claim filed under this Policy or a violation of any of
                 the terms or conditions of this Policy;

                 Changes in conditions after the effective of this Policy which have materially increased the risk assumed;

                 The Company becomes insolvent; or

                 The Company involuntarily loses reinsurance for this Policy.

             60 days before the effective date of cancellation if the Company cancels for any other reason.

2.   SECTION VI -General Policy Conditions, Cancellation/Non-Renewal, Nonrenewal is deleted in its entirety and replaced by the
     following:

         Nonrenewal

             The Company may elect not to renew this policy by mailing or delivering to the First Named Insured, at the last
             mailing address known to the Company, written notice of nonrenewal, stating the actual reason for nonrenewal, at least
             60 days prior to the effective date of the nonrenewal.

             If notice is mailed, proof of mailing will be sufficient proof of notice.

3.   SECTION VI- General Policy Conditions, Suit Against the Company is deleted in its entirety and replaced by the following:

         The action must be brought within 10 years after the date on which the loss or damage occurred.



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                                                                                                                          Page 1 of 2


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 154 of 198
4.   SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment is deleted in its entirety and
     replaced-by the following:

     Loss Payment

          In the event of a covered cause of loss, the Company will give the Insured notice, within 15 working days after the
          Company receives a properly executed proof of loss, that the Company:

              Accept your claim;

              Denies your claim; or

              Needs more time to determine whether the Insured's claim should be accepted or denied.

          If the Company denies the Insured's claim, such notice will be in writing, and will state any policy provision, condition or
          exclusion used as a basis for the denial.

          If the Company needs more time to determine whether the Insured's claim should be accepted or denied, the written notice
          will state the reason(s) why more time is needed.

          If the Company has not completed its investigation, the Company will notify the Insured again in writing, within 45 days
          after the date the initial notice is sent informing the Insured that we need more time to determine whether the lnsured's
          claim should be accepted or denied and thereafter every 45 days. The written notice shall state why more time is needed to
          investigate the Insured's claim.

     5.   The following is added to SECTION VI - GENERAL POLICY CONDITIONS, VALUATION:

          If the Insured fails to notify the Company of their intent within the 2 year timeframe, such failure will not invalidate the
          claim unless such failure operates to prejudice the Company's rights.

     6.   The following is deleted from SECTION V- LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
          DISPOSAL:

                       When the Insured fails to give written notice of loss to the Company within 180 days after inception of the
                       loss.

          and the following is added:


                       flowever, when the Insured fails to give written notice of loss to the Company within 180 days after inception
                       of the loss the maximum the Company will pay under this coverage is $25,000.



                              ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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                                                                                                                            Page 2 of 2


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 155 of 198
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Amendatory Endorsement - Montana                                                                                 ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEW AL, is deleted in its entirety and replaced by the
     following:

     CANCELLATION/NON-RENEWAL

        Cancellation

            The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation.

            If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
            delivering to the First Named Insured written notice of cancellation at least:

                 Ten (10) days notice prior to the proposed cancellation date for non payment of premium; or

                Ten (I 0) days notice prior to the proposed cancellation date for any other reason.

            If this Policy has been in effect for sixty (60) days or more, the Company may cancel this Policy by mailing or
            delivering to the First Named Insured written notice of cancellation, prior to the expiration of the agreed term or
            prior to one year from the effective date of the Policy or renewal, whichever is less, only for one or more of the
            following reasons:

                Failure to pay a premium when due;

                Material misrepresentation;

                Substantial change in the risk assumed, except to the extent that the Company should have reasonably foreseen the
                change or contemplated the risk in writing the contract;

                Substantial breaches of contractual duties, conditions or warranties;

                Determination by the Commissioner of Insurance that continuation of the Policy would place us in violation of the
                Montana Insurance Code; or

                Such other reasons that are approved by the Commissioner of Insurance. If the Company cancels this Policy for
                one of the reasons specified above, the Company may cancel this Policy by providing Ten (I 0) days notice before
                the effective date of cancellation.

            The Company may cancel any Policy with a term of more than one (1) year by mailing or delivering to the First
            Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the Policy,
            such cancellation will be effective on the policy anniversary date.

            The Company will mail or deliver notice to the First Named Insured 1s last mailing address known.

            Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

            If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
            cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
            cancellation will be effective even if the Company has not made or offered a refund. However, when a financed
                                                                                                                      N-000133

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                                                                                                                             Page 1 of 2


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 156 of 198
             insurance Policy is cancelled, the Company will send any refund due to the premium finance company on a pro rata
             basis.

         Non-Renewal

             The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice, at the
             last known address, ofnon-renewal at least forty-five (45) days before the expiration of this Policy. This Policy has
             been written for a term of more than one year.

             This non-renewal provision does not apply if the Insured has purchased insurance elsewhere, accepted replacement
             coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.

2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
     replaced by the following::

     CONCEALMENT, MISREPRESENTATION OR FRAUD

        The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
        to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
        or misrepresent a mateiial fact or make a false statement concerning:

             1. This Policy;

            2. The Covered Property;

            3. The Insured's interest in Covered Property; or

            4. A claim under this Policy.

3.   SECTION VI-GENERAL POLICY CONDITIONS, CONFORMITY TO STATUTES, is amended by the addition of the
     following and supersede anything to the contrary:

        Any provisions required by Montana law to be included in policies issued by the Company shall be deemed to have been
        included in this Policy.

        If the provisions of this Policy conflict with the laws of any juiisdictions in which this Policy applies, and if certain
        provisions are required by Montana law to be stated in this Policy, this Policy shall be read so as to eliminate such conflict
        or deemed to include such provisions for Insured Locations within such jurisdictions.




All other terms, conditions and limitations of this Policy remain unchanged.



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          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 157 of 198
                                                                                                                                       ®
Amendatory Endorsement-Nebraska                                                                                  ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     CANCELLATION/NON-RENEW AL

        Cancellation

            a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the
                 Company advance written notice of cancellation.

            b)   If this Policy has been in effect for less than sixty (60) days, the Company may cancel this Policy by mailing or
                 delivering to the First Named Insured written notice of cancellation, stating the reasons for cancellation at least:

                 I)    Ten (IO) days notice prior to the proposed cancellation date for non payment of premium; or

                 2)    Sixty (60) days notice prior to the proposed cancellation date for any other reason.

            c)   If this Policy has been in effect for sixty (60) days or more, or if this is a renewal, the Company may cancel this
                 Policy by mailing or delivering to the First Named Insured written notice of cancellation, only for one or more
                 of the following reasons:

                 I)    Nonpayment of premium;

                 2) The Policy was obtained through material misrepresentation;

                 3)    Any Insured has submitted a fraudulent claim;

                 4)    Any Insured has violated the terms and conditions of this Policy;

                 5) The risk originally accepted has substantially increased;

                 6)    Certification to the Director of Insurance of the Company's loss of reinsurance which provided coverage for
                       all or a substantial part of the underlying risk insured; or
                 7)    The determination by the Director oflnsurance that the continuation of the Policy could place the Company in
                       violation of the Nebraska Insurance Laws.

                 If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
                 providing: Ten (10) days notice prior to the proposed cancellation date for non payment of premium or Sixty (60)
                 days notice prior to the proposed cancellation date for any other reason.

           d)    The Company may cancel any Policy with a term of more than one (I) year by mailing or delivering to the First
                 Named Insured written notice of cancellation at least forty-five (45) days before the anniversary date of the
                 Policy, such cancellation will be effective on the policy anniversary date.

           e)    The Company will mail notice by first class mail to the First Named Insured's last mailing address known. A
                 United States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third
                 calendar day after the date of the certificate of mailing.

           f)    Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.
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                                                                                                                    EDGE-232-8 (02/11)
                                                                                                                          Page 1 of 3


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 158 of 198
              g)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the
                   Company cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than
                   pro rata. The cancellation will be effective even if the Company has not made or offered a refund.

          Non-Renewal

              The Company may non-renew this Policy. Written notice will be by first class mail to the First Named Insured, at the
              last known address. Notice of non-renewal will be at least sixty (60) days before the expiration of this Policy. A United
              States Postal Service Certificate of Mailing shall be sufficient proof of receipt of notice on the third calendar day after
              the date of the certificate of mailing.

2.   SECTION VI - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     MISREPRESENTATION OR BREACH OF CONDITION OR WARRANTY

         A misrepresentation or warranty made by the Insured or on the Insured's behalf in the negotiation of or application for this
         coverage will void this Policy if:

              1) It is material;

              2)   It is made with the intent to deceive to the Company's injury;

              3)   The Company relies on it; and

              4)   The Company is deceived to the Company's injury.

         A breach of warranty or condition will void the Policy if such breach exists at the time of loss and contributes to the loss.

3.   SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
     by the following:

     APPRAISAL

     If the Insured and the Company fail to agree on the value of the property or the amount of loss, upon mutual agreement, each
     will select a competent, disinterested, and impartial appraiser, who has no direct or indirect financial interest in the claim. Each
     will notify the other of the appraiser selected within 20 days of such demand. The Insured may not invoke appraisal unless it
     has first fully complied with all provisions of this Policy, including Duties in the Event of Loss or Damage and has provided
     the Company with a signed and sworn statement of loss.

     The appraisers will first select a competent, disinterested and impartial umpire. If the appraisers fail to agree upon an umpire
     within 15 days then, on the request of the Insured or the Company, a judge of a court of record in the jurisdiction in which the
     appraisal is pending will select the umpire. The appraisers will then appraise the value of the property or the amount of loss.
     They will state separately, the actual cash value and replacement cost value, as of the date of loss and the amount of loss, each
     item of physical loss or damage or, if for Time Element loss, the amount of loss for each Time Element Coverage of this Policy.

     If the appraisers fail to agree, they will submit their differences to the umpire. An award stating separately the actual cash value
     and replacement cost value, as of the date of loss and the amount of loss, for each item of physical loss or damage or, if for
     Time Element loss, the amount of loss for each Time Element Coverage of this Policy agreed to in writing by any two will
     determine the amount of loss.

     Once there is an award, the Company retains the right to apply all policy terms and conditions (including but not limited to
     deductibles, exclusions, and Limits of Liability) to the award. The Company further retains its right to deny the claim in whole
     or in part.

     The Insured and the Company will each pay its chosen appraiser and bear equally the other expenses of the appraisal and
     umpire.



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          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 159 of 198
4.   The following is added to SECTION VI -GENERAL POLICY CONDITIONS, VALUATION:

     When this policy is written to insure any real property in Nebraska against loss by fire, tornado, windstonn, lightning or
     explosion and the property insured shall be wholly destroyed, without criminal fault on the part of the Insured or the Insured
     assignee, the amount of the insurance written on such real property shall be taken conclusively to be the hue value of the
     property insured and the true amount of loss and measure of damages




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                         Page 3 of 3


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 160 of 198
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Amendatory Endorsement-Nevada                                                                                     ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

l.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced by the
     following:

        I). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation. The Company may cancel this Policy by mailing or delivering to the First
            Named Insured written notice of cancellation at least:

             a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

             b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

        The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
        Policy or any Endorsement attached thereto.

        Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

        If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
        cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
        than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
        refund.

        If notice is mailed, proof of mailing will be sufficient proof of notice.

        If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
        then cancellation terms or conditions will be as permitted by such laws.

        2). If this Policy has been in effect for seventy (70) days or more, or if it is a renewal of a Policy issued by the Company,
            the Company may cancel this Policy only for one or more of the following reasons:

            a.    Nonpayment of premium;

            b.    Conviction of the Insured of a crime arising out of acts increasing the hazard insured against;
                                            c.
            c.    Discovery of fraud or material misrepresentation in obtaining the Policy or in presenting a claim thereunder;

            d.    Discovery of an act or omission or a violation of any condition of the Policy which occurred after the first
                  effective date of the current Policy, and substantially and materially increases the hazard insured against;

            e.    A material change in the nature or extent of the risk occurring after the first effective date of the current Policy,
                  which causes the risk of loss to be substantially and materially increased beyond that contemplated at the time the
                  Policy was issued or last renewed;
                                              d.
            f.    A determination by the commissioner that continuation of the Company's present volume of premiums would
                  jeopardize the Company1s solvency or be hazardous to the interests of the Company's Policyholders, creditors or
                  the public, or

            g.    A determination by the commissioner that the continuation of the Policy would violate, or place the Company in
                  violation of, any provision of the code.

        3). If this Policy is written for a term longer than one year, the Company may cancel for any reason at an anniversary, by
        mailing or delivering written notice of cancellation to the First Named Insured at the last known mailing awJli~li'l:11!

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                                                                                                                            Page 1 of 2


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 161 of 198
    least sixty (60) days before the anniversary date. Notice of cancellation or non-renewal will be mailed, first class or
    certified, or delivered to the First Named Insured at the last known mailing address and will state the reason for
    cancellation or nonrenewal. The Company will also provide a copy of the notice of cancellation to the agent who wrote
    the Policy.

4). Non-renewal

The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice at least sixty
(60) days before the agreed expiration date. This non-renewal provision does not apply if the Insured has: accepted
replacement coverage, requested or agreed to non-renewal, or this Policy is expressly designated as nonrenewable.
If notice is mailed, proof of mailing will be sufficient proof of notice.




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                                                                                                                Page 2 of 2


 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 162 of 198
                                                                                                                                         ®
Amendatory Endorsement - New York                                                                                  ZURICH

THIS ENDORSEMENT CHANGES THE POLICY AND APPLIES TO THOSE RISKS IN NEW YORK. PLEASE READ
IT CAREFULLY.

I.   The following paragraph is deleted from Section III-property damage, exclusions:

         Any weapon of war or of mass destruction employing biological or chemical warfare, atomic fission, atomic fusion,
         radioactive force or radioactive material, whether in time of peace or war regardless of who commits the act.

     and replaced by the following:

         Any weapon of war employing atomic fission, atomic fusion, radioactive force or radioactive material, whether in time of
         peace or war regardless of who commits the act.

2.   SECTION VI -GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
     replaced by the following:

     Cancellation

         a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
              advance written notice of cancellation.

         b)   For Policies in Effect Sixty (60) Days or Less, the Company may cancel this Policy by mailing or delivering to the
              First Named Insured written notice of cancellation at least:

              I)    Thirty (30) days before the effective date of cancellation if the Company cancels for any reason not included in
                    paragraph 2) below.

              2)    Fifteen (15) days before the effective date of cancellation if the Company cancels for any of the following reasons:

                    i)   Nonpayment of premium;

                    ii) Conviction of a crime arising out of acts increasing the hazard insured against;

                    iii) Discovery of fraud or material misrepresentation in the obtaining of the Policy or in the presentation ofa
                         claim;

                    iv) After issuance of the Policy or after the last renewal date, discovery ofan act or omission, or a violation of
                        any Policy condition, that substantially and materially increases the hazard insured against, and which
                        occurred subsequent to inception of the current Policy period;

                    v)   Material physical change in the property insured, occurring after issuance or last annual renewal anniversary
                         date of the Policy, which results in the property becoming uninsurable in accordance with the Company
                         objective, uniformly applied undetwriting standards in effect at the time the Policy was issued or last renewed;
                         or material change in the nature or extent of the risk, occurring after issuance or last annual renewal
                         anniversary date of the Policy, which causes the risk of loss to be substantially and materially increased
                         beyond that contemplated at the time the Policy was issued or last renewed;

                    vi) Required pursuant to a determination by the Superintendent that the continuation of the Company's present
                        premium volume would jeopardize the Company's solvency or be hazardous to the interest of the Company1s
                        policyholders, creditors or the public;


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                                                                                                                     EDGE-233-B (02111)
                                                                                                                           Page 1 of 4


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 163 of 198
              vii) A determination by the superintendent that the continuation of the Policy would violate, or would place the
                   Company in violation of any provision of the Insurance Code; or

              viii) Where the Company has reason to believe, in good faith and with sufficient cause, that there is a probable risk
                    of danger that the Insured will destroy, or permit to be destroyed, the insured property for the purpose of
                    collecting the insurance proceeds. If the Company cancels for this reason, the Insured may make a written
                    request to the Insurance Department, within 10 days of receipt of this notice, to review the cancellation
                   decision. Also, the Company will simultaneously send a copy of this cancellation notice to the Insurance
                   Department.

              If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount of premium that
              must be paid in order to avoid cancellation of the policy.

    c)   For Policies in effect for more than sixty (60) days, or if this Policy is a renewal or continuation of a Policy the
         Company issued, the Company may cancel this Policy only for any of the reasons listed in paragraph 2) above,
         provided the Company mails the First Named Insured written notice at least fifteen (15) days before the effective
         date of cancellation. If notice of cancellation is due to nonpayment of premium, then the notice shall state the amount
         of premium that must be paid in order to avoid cancellation of the policy.

    d)   The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
         this Policy or any Endorsement attached thereto and to the authorized agent or broker.

    e)   Notice of cancellation will state the effective date of and the reason for cancellation. The Policy Period will end on that
         date.

    f)   If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
         cancels, the refund will be pro rata. If the premium is advanced under a premium finance agreement, the cancellation
         refund will be pro rata. Under such financed policies, the Company will be entitled to retain a minimum earned
         premium of 10% of the total policy premium or $60, whichever is greater. The cancellation will be effective even if the
         Company has not made or offered a refund.

   g)    If notice is mailed, proof of mailing will be sufficient proof of notice.

Non-renewal

   a)    The Company may non-renew this Policy by mailing or delivering to the First Named Insured written notice along
         with the reason for non-renewal.

   b) The Company may condition renewal this Policy upon:

         I)   Change oflimits;

         2)   Change in type of coverage;

         3)   Reduction of coverage;

         4) Increased deductible;

         5)   Addition of exclusion; or

         6)   Increased premiums in excess of 10% exclusive of any premium increase due to and commensurate with insured
              value added or increased exposure units; or as a result of experience rating, loss rating, retrospective rating or
              audit.

   c)    If the Company decides to non-renew this Policy or to conditionally renew this Policy as provided in paragraph b)., the
         Company will mail or deliver written notice to the First Named Insured shown in the Declarations at least sixty (60)
         days but not more than one hundred twenty (120) days before:

         I) The expiration date; or
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                                                                                                               EDGE-233-B (02/11)
                                                                                                                      Page 2 of 4


     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 164 of 198
              2)   The anniversary date, if this is a continuous Policy.

         d)   The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of
              this Policy or any Endorsement attached thereto and to the authorized agent or broker.

         e)   Notice will include the specific reason(s) for non-renewal or conditional renewal, including the amount of any
              premium increase for conditional renewal and description of any other changes.

         f)   If notice is mailed, proof of mailing will be sufficient proof of notice.

         If the Company violates any of the provisions above by sending the First Named Insured an incomplete or late
         conditional renewal notice or a late non-renewal notice coverage will remain in effect at the same terms and conditions of
         this policy at the lower of the current rates or the prior period's rates until 60 days after such notice is mailed or delivered,
         unless the First Named Insured, during this 60 day period, has replaced the coverage or elects to cancel.

         The Company will not send the Insured notice of non-renewal or conditional renewal if the Insured, the authorized agent or
         broker or another insurer of the Insured mails or delivers notice that the Policy has been replaced or is no longer desired.

3.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     SUIT AGAINST THE COMPANY

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
         date of direct physical loss or damage to Covered Property or to other property as set forth herein.


4.   SECTION II     DECLARATIONS - POLICY LIMITS OF LIABILITY, Causation Definition is deleted in its entirety.

5.   SECTION VI- General Policy Conditions, Suspended Property, the following provision is deleted:

     When Covered Property is found to be in, or exposed to, a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for that property. This can be done by delivering or mailing a written notice to the First
     Named Insured's mailing address or to the address where the Covered Property is located. Once suspended, this insurance can
     be reinstated only by an endorsement. Any unearned premium due will be returned by the Company.

     And replaced with the following:

     When Covered Equipment is found to be in, or exposed to a dangerous condition, any of the Company's representatives may
     immediately suspend this insurance for such Covered Equipment, including loss arising out of the dangerous condition of such
     Covered Equipment. This can be done by delivering or mailing a written notice to the First Named Insured's mailing
     address or to the address where the Covered Equipment is located. Once suspended, this insurance can be reinstated only by
     an endorsement. Any unearned premium due will be returned by the Company.

6.   SECTION VII-DEFINITIONS, The following are deleted and replaced:

     Flood- A general and temporary condition of partial or complete inundation of normally dry land areas or structure(s) caused
            by:

              The unusual and rapid accumulation or runoff of surface waters, waves,     tides, tidal waves, tsunami, the release of
              water, the rising, overflowing or breaking of boundaries of nature or man-made bodies of water; or the spray there
              from all whether driven by wind or not; or

              Mudflow or mudslides caused by accumulation of water on or under the ground.

              Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.

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                                                                                                                      EDGE-233-B (02/11)
                                                                                                                             Page 3 of 4


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 165 of 198
     Flood also includes Storm Surge if shown on the declarations as part of Flood.

     And replaced with:

              Flood - A general and temporary condition of partial or complete inundation ofnormally dry land areas or structure(s)
                      caused by:

                     a). The unusual and rapid accumulation or runoff of surface waters, waves,     tides, tidal waves,
                         tsunami, the release of water, the rising, overflowing or breaking of boundaries of nature or man-made
                         bodies of water; or the spray there from all whether driven by wind or not; or

                     b). Mudflow or mudslides caused by accumulation of water on or under the ground.

                     Flood also includes the backup of water from a sewer, drain or sump caused in whole or part by Flood.

     Named Storm -Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                  Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                  comparable worldwide equivalent.

                      Named Storm also includes Storm Surge if shown on the declarations as part of Named Storm.

     And replaced with:

     Named Storm -Any storm or weather disturbance that is named by the U. S. National Oceanic and Atmospheric
                  Administration (NOAA) or the U. S. National Weather Service or the National Hurricane Center or any
                  comparable worldwide equivalent.

7.   SECTION VII-DEFINITIONS the following is deleted in its entirety:

     Storm Surge- A general and temporary condition of partial or complete inundation by salt water, caused by wind driven waves
     that result from a Named Storm, of normally dry land areas or structure(s) in coastal areas, bays or inland waters connected to
     an ocean or sea.




All other terms, conditions and limitations of this Policy remain unchanged.



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                                                                                                                EDGE-233-B (02/11)
                                                                                                                       Page 4 of 4


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 166 of 198
                                                                                                                                      ®
Amendatory Endorsement - Ohio                                                                                   ZURICH


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


I.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and
     replaced by the following:

     Cancellation

         The First Named Insured shown in the policy declarations may cancel this policy by mailing or delivering to the Company
         advance written notice of cancellation.

         If the Insured's policy has been in effect for more than 90 days, or is a renewal ofa policy we issued, the Company may
         cancel this policy only for one or more of the following reasons:

             Nonpayment of premium;

             Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
             submitted thereunder;

             Discovery of a moral hazard or willful or reckless acts or omissions on an lnsured's part which increases any hazard
             insured against;

             The occurrence of a change in the individual risk which substantially increases any hazard insured against after the
             insurance coverage has been issued or renewed, except to the extent the insurer could reasonably have foreseen the
             change or contemplated the risk in writing the contract;

             Loss of applicable reinsurance or a substantial decrease in applicable reinsurance, if the Superintendent has determined
             that reasonable efforts have been made to prevent the loss of, or substantial decrease in, the applicable reinsurance, or
             to obtain replacement coverage;

             Failure of an Insured to correct material violations of safety codes or to comply with reasonable written loss control
             recommendations; or

             A determination by the Superintendent of Insurance that the continuation of the policy would create a condition that
             would be hazardous to the policyholders or the public.

        The Company will mail written notice of cancellation to the First Named Insured, and agent if any, at the last mailing
        addresses known to us. Proof of mailing will be sufficient proof of notice.

        The Company will mail notice of cancellation at least:

             10 days before the effective date of cancellation, if the Company cancel for nonpayment of premium; or

             30 days before the effective date of cancellation, if the Company cancels for any other reason.

        The notice of cancellation will:

             State the effective date of cancellation. The policy period will end on that date.


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                                                                                                                         Page 1 of 3


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 167 of 198
               Contain the date of the notice and the policy number, and will state the reason for cancellation.

          Policies written for a term of more than one year or on a continuous basis may be cancelled by the Company for any reason
          at an anniversary date, upon 30 day's written notice of cancellation.

          If this policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
          cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata. The
          cancellation will be effective even if the Company have not made or offered a refund.

     Nonrenewal

          If the Company elects not to renew this policy, the Company will mail written notice ofnonrenewal to the First Named
          Insured, and agent if any, at the last mailing addresses known to the Company. The notice will contain the date of the
          notice and the policy number, and will state the expiration date of the policy.

          The Company will mail the notice ofnonrenewal at least 30 days before the expiration date of the policy.
          Proof of mailing will be sufficient proof of notice.

2.   SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, LOSS PAYMENT, the following is added:

     The Company will give you notice, within 21 days after the Company receives a properly executed, sworn statement of loss,
     that the Company:

         Accepts the lnsured's claim;

         Denies the lnsured's claim; or

         Needs more time to investigate the Insured's claim.

     If the Company needs more time to investigate the Insured's claim, the Company will provide an explanation for the
     Company's need for more time. The Company will continue to notify the Insured again in writing, at least every 45 days, of the
     status of the investigation and of the continued time needed for the investigation.

         The Company will pay for covered cause of loss of or damage to covered property within:

              Ten (10) days after the Company accepts your claim if such acceptance occurs within the first 21 days after the
              Company receives a properly executed proof of loss, unless the claim involves an action by a probate court or other
              extraordinary circumstances as documented in the claim file; or

              Five ( 5) days after the Company accepts your claim if such acceptance occurs more than 21 days after the Company
              receives a properly executed proof of loss, and

                   An appraisal award has been made; or

                   The Company has reached an agreement with you on the amount of loss that was in dispute.

3.   SECTION Vll - DEFINITIONS, Terrorist Activity is deleted in its entirety and replaced by the following:

     For the purposes of this endorsement Terrorist Activity shall include the following:


        1.     Certified act of terrorism 11 which means an act that is certified by the Secretary of the Treasury, in concurrence with
              11

              the Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
              Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of
              terrorism" include the following:




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                                                                                                                         Page 2 of 3


             Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 168 of 198
              a.        The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                        subject to the Terroiism Risk Insurance Act;

              b.        The act resulted in damage:

                            (I) Within the United States (including its territories and possessions and Puerto Rico); or

                            (2) Outside of the United States in the case of:

                                 (a) An air carrier (as defined in Section 40102 of title 49, United States Code) or United States flag
                                     vessel (or a vessel based principally in the United States, on which United States income tax is paid
                                     and whose insurance coverage is subject to regulation in the United States), regardless of where the
                                     loss occurs; or

                                 (b) The premises of any United States mission; and

              c.        The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                        individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
                        the policy or affect the conduct of the United States Government by coercion.

       2.         Non-Certified act of terro1ism 11 which means a violent act or an act that is dangerous to human life, property or
                   11

              infrashucture that is committed by an individual or individuals and that appears to be part of an effort to coerce a
              civilian population or to influence the policy or affect the conduct of any government by coercion, and the act is not
              certified as a terrorist act pursuant to the federal Terrorism Risk Insurance Act of 2002.

       3.    Terrorist Activity which constitutes          "Certified acts of terrorism" is not excluded in this policy, unless othe1wise
             endorsed.

       4.    Terrorist Activity which constitutes ''Non-Certified acts of terrorism" is not excluded in this policy, when it occurs in
             the USA, its territories, possessions and missions, and the Commonwealth of Puerto Rico.

All other terms, conditions and limitations of this Policy remain unchanged,




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                                                                                                                        EDGE-236-A (03/11)
                                                                                                                              Page 3 of 3


            Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 169 of 198
                                                                                                                                         ®
Amendatory Endorsement - Oklahoma                                                                                ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI - GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted and replaced by the
     following:

        1). The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
            advance written notice of cancellation.

        The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
        least:

            a.   Ten (10) days before the effective date of cancellation if the Company cancels for nonpayment of premium; or

            b.   Thirty (30) days before the effective date of cancellation if the Company cancels for any other reason.

        The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
        Policy or any Endorsement attached thereto.

        Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

        If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
        cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no less
        than the customary short rate amount. The cancellation will be effective even if the Company has not made or offered a
        refund.

        If notice is mailed, proof of mailing will be sufficient proof of notice.

        If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
        then cancellation terms or conditions will be as permitted by such laws.

        2). If this Policy has been in effect for forty-five (45) business days or more, or after the effective date ofa renewal of this
            Policy, the Company may cancel this Policy only for one or more of the following reasons:

            a.   Nonpayment of premium;

            b.   Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
                 submitted under it;

            c.   Discovery of willful or reckless acts or omissions by the Insured that increase any hazard insured against;

            d.   The occurrence of a change in the risk that substantially increases any hazard insured against after insurance
                 coverage has been issued or renewed;

            e.   A violation of any local fire, health, safety, building, or construction regulation or ordinance, with respect to any
                 covered property or its occupancy, that substantially increases any hazard insured against;

            f.   A determination by the Insurance Commissioner that the continuation of the Policy would place the Company in
                 violation of the insurance laws of this state;

            g.   The Insured's conviction of a crime having, as one of its necessary elements, an act increasing any hazard insured
                 against; or

            h.   Loss of or substantial changes in applicable reinsurance.
                                                                                                                      N-000147

                                                                                                                    EDGE-237-8 (02/11)
                                                                                                                           Page 1 of 3


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 170 of 198
3). Non-renewal

   a.   If the Company decides to non-renew this Policy, the Company will mail or deliver written notice to the First
        Named Insured shown in the Declarations at least forty-five (45) days before:

          i). The expiration date; or

          ii). The anniversary date of this Policy, if it is written for a term longer than one year or with no fixed
             expiration date.

   a.   The Company will mail or deliver notice to the First Named Insured's mailing address known to the Company.

   b.   If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been given to
        the First Named Insured on the day it is mailed.

   c.   If notice of non-renewal is not mailed or delivered at least forty-five ( 45) days before the expiration date or an
        anniversary date of this Policy, coverage will remain in effect until forty-five (45) days after notice is given.

   d.   Earned premium for such extended period of coverage will be calculated pro rata, based on the rates applicable to
        the expiring Policy.

   e.   The Company will not provide notice of nonrenewal if the Company another company within the same insurance
        group, has offered to issue a renewal Policy, or the Insured has obtained replacement coverage or has agreed in
        writing to obtain replacement coverage.

   f.   If the Company has provided the required notice of non-renewal as described in a). above, and thereafter extends
        the Policy for a period of ninety (90) days or less, the Company will not provide an additional non-renewal notice
        with respect to the period of extension.

   g.   If the Company elects to renew this Policy, the Company will give written notice of any premium increase, change
        in deductible, or reduction in limits or coverage, to the First Named Insured, at the last mailing address known to
        the Company.

         i). Any such notice will be mailed or delivered to the First Named Insured at least forty-five ( 45) days before the
             expiration date of this Policy or the anniversary date of this Policy, ifit is written for a term longer than one
             year or with no fixed expiration date.

           ii). If notice is mailed, proof of mailing will be sufficient proof of notice. It will be considered to have been
             given to the First Named Insured on the day it is mailed.

           iii). If the First Named Insured accepts the renewal, the premium increase or coverage changes will be effective
            the day following the prior policy's expiration or anniversary date.

           iv). If notice is not mailed or delivered at least forty-five (45) days before the expiration date or anniversary
            date of this Policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in
            effect until:

            a.) Forty-five (45) days after notice is given; or

            b.) The effective date of replacement coverage obtained by the Insured; whichever occurs first. If the First
                Named Insured then elects not to renew, any earned premium for the resulting extended period of
                coverage will be calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.

   h.   The Company will not provide notice of the following:




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                                                                                                           EDGE-237-B (02/11)
                                                                                                                  Page 2 of 3


Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 171 of 198
                   i). Changes in a rate or plan filed with or approved by the State Board for Property and Casualty Rates or filed
                       pursuant to the Commercial Property and Casualty Competitive Loss Cost Rating Act and applicable to an
                      entire class of business; or
                 ii). Changes based upon the altered nature of extent of the risk insured; or
                 iii). Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an entire
                      class of business.

2.   The following is added to SECTION VI --GENERAL POLICY CONDITIONS:

        FRAUD WARNING

         I). Any person who knowingly and with intent to injure, defraud or deceive any insurer, makes any claim for the proceeds
             of an insurance policy containing any false, incomplete or misleading information is guilty of a felony.

3.   SECTION VI. - GENERAL POLICY CONDITIONS, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in
     its entirety and replaced by the following:

     CONCEALMENT, MISREPRESENTATION OR FRAUD

        This Policy is voidable as to all Insureds in any case of fraud by any Insured as it relates to this Policy at any time. It is
        also voidable if any Insured, at any time, intentionally conceals or misrepresents a material fact concerning:

            This Policy;

            The Covered Property;

            The Insured's interest in Covered Property; or

            A claim under this Policy.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                     EDGE-237-B (02/11)
                                                                                                                            Page 3 of 3


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 172 of 198
                                                                                                                                          ®
Amendatory Endorsement - Rhode Island                                                                             ZURICH


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


I.   SECTION VI - General Policy Conditions, Cancellation/Non-Renewal, Cancellation, is deleted in its entirety and replaced by
     the following:

     Cancellation

         The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
         advance written notice of cancellation.

         The Company may cancel this Policy by mailing or delivering to the First Named Insured and agent, if any, written notice
         of cancellation at least:

                    The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium,
                    as stated in the Declarations; or

                    The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated
                    in the Declarations.

         The Company will mail or deliver notice to the First Named Insured's and agent's, if any, mailing address shown in the
         Declarations of this Policy or any Endorsement attached thereto.

         Notice of cancellation will state the effective date of cancellation. The Policy Period will end on that date.

         If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. The Company will
         compute the return premium pro rata and round to the next higher whole dollar if:

                    The Policy is cancelled at the Company's request; or

                    The Policy is cancelled by us at the request of a premium finance company upon default of the first Named
                    Insured, when this policy is financed under a premium finance agreement.

         If the First Named Insured cancels, the Company will return 90% of the pro rata unearned premium, rounded to the next
         higher whole dollar. However, when such cancellation takes place during the first year of a multi-year prepaid policy, we
         will return the full annual premium for the subsequent years. The cancellation will be effective even if the Company has
         not made or offered a refund.

         If notice is mailed, proof of mailing will be sufficient proof of notice.

         If under the laws of the jurisdiction in which the property is located, such cancellation terms or conditions are different,
         then cancellation terms or conditions will be as permitted by such laws.




     All other terms, conditions and limitations of this Policy remain unchanged.



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                                                                                                                     EDGE-240-A (12110)
                                                                                                                            Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 173 of 198
                                                                                                                                           ®
Amendatory Endorsement - South Carolina                                                                             ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is deleted from SECTION VI-CANCELLATION/NON-RENEWAL:

          The Company will mail or deliver notice to the First Named Insured's mailing address shown in the Declarations of this
          Policy or any Endorsement attached thereto.

     and replaced by the following:

          The Company will mail or deliver notice to the First Named Insured's and agent's last known mailing address.

2.   The following is added to SECTION VI-CANCELLATION/NON-RENEW AL:

     If this Policy has been in effect one hundred and twenty (120) days or more, or is a renewal or continuation of a Policy the
     Company issued, the Company may cancel this Policy only for one or more of the following reasons:

          l)   Nonpayment of premium;

          2)   Material misrepresentation of a fact, which, if known to the Company, would have caused the Company not to issue
               the Policy;

         3)    Substantial change in the risk assumed, except to the extent that the Company should reasonably have foreseen the
               change or contemplated the risk in writing the Policy;

         4)    Substantial breaches of contractual duties, conditions or warranties; or

         5)    Loss of reinsurance covering all or a significant portion of the particular Policy insured, or where continuation of the
               Policy would imperil the Company's solvency or place the Company in violation of the insurance laws of South
               Carolina.

     Prior to cancellation for reasons permitted in item 5). above, the Company will notify the Commissioner, in writing, at least
     sixty (60) days prior to such cancellation and the Commissioner will, within thirty (30) days of such notification, approve or
     disapprove such action,

     Any notice of cancellation will state the precise reason for cancellation.

3.   SECTION VI-CANCELLATION/NON-RENEWAL, Non-Renewal is deleted in its entirety and replaced by the following:

     Non-Renewal

         The Company may non-renew this Policy by mailing or delivering to the First Named Insured and the agent, written
         notice, at the last known address, of non-renewal at least:

               Sixty (60) days ifnon-renewal is effective between November 1 and May 31; or

               Ninety (90) days if non-renewal is effective between June 1 and October 31;

         before:

               The expiration date of this Policy, if the Policy is written for a term of one year or less; or
               An anniversary date of this policy, if the policy is written for a term of more than one year or for an indefinite term.
                                                                                                                        N-000151

                                                                                                                      EDGE-241-B (02111)
                                                                                                                             Page 1 of 2


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 174 of 198
        However, the Company will not refuse to renew a policy issued for a term of more than one year, until expiration of its full
        term, if anniversary renewal has been guaranteed by additional premium consideration. Any notice of non-renewal will state
        the precise reason for non-renewal. If notice is mailed, proof of mailing will be sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                 N-000152

                                                                                                               EDGE-241-B (02/11)
                                                                                                                      Page 2 of 2


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 175 of 198
                                                                                                                                    ®
Amendatory Endorsement - South Dakota                                                                        ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
     Cancellation:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least:

         The number of days before the effective date of cancellation if the Company cancels for nonpayment of premium, as stated
         in the Declarations; or

         The number of days before the effective date of cancellation if the Company cancels for any other reason, as stated in the
         Declarations.

     and replaced with:

     The Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of cancellation at
     least the greater of:

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for nonpayment of
         premium, as stated in the Declarations; or

         Twenty (20) days or the number of days before the effective date of cancellation if the Company cancels for any other
         reason, as stated in the Declarations.

2.   SECTION VI -GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety.

3.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

     SUIT AGAINST THE COMPANY

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within seventy-two (72)
         months after the date of direct physical loss or damage to Covered Property or to other property as set forth herein.




All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                 N-000153

                                                                                                               EDGE-242-C (02/11)
                                                                                                                     Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 176 of 198
                                                                                                                                     ®
Amendatory Endorsement - Tennessee                                                                              ZURICH


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is added to Section VI-General Policy Conditions, CANCELLATI ON/NON-RENEWAL:

         I). If this Policy has been in effect for sixty (60) days or more, or if this Policy is a renewal of a Policy the Company
             issued, this Policy may be cancelled only for one or more of the following reasons:

             a.   Nonpayment of premium, including any additional premium, calculated in accordance with the Company's current
                  rating manual,justified by a physical change in the insured property or a change in the insured property or a
                  change in its occupancy or use;

             b.   The Insured 1s conviction of a crime increasing any hazard insured against;

             c.   Discovery of fraud or material misrepresentation on the part of either of the following;

                  i). The Insured or Insured representative in obtaining this insurance; or

                  ii). The Insured in pursuing a claim under this Policy.

             d.   Failure to comply with written loss control recommendations;

             e.   Material change in the risk which increases the risk of loss after the Company issued or renewed insurance
                  coverage;

             f.   Determination by the insurance commissioner that the continuation of the Policy would jeopardize the Company's
                  solvency or would place the Company in violation of the insurance laws of Tennessee or any other state;

             g.   The Insured's violation or breach of any Policy terms or conditions; or

             h.   Other reasons that are approved by the insurance commissioner. Notice of Cancellation will state the reason for
                  cancellation.

2.   Section VI-General Policy Conditions, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its entirety and replaced
     by the following:

         I). If the Company decides not to renew this Policy, the Company will mail or deliver written notice of non-renewal to the
             first Named Insured and agent, at least sixty (60) days before the expiration date unless:

             a.   The Company has offered to issue a renewal Policy; or

             b.   The Insured has obtained replacement coverage or has agreed in writing to obtain replacement coverage.

             c.   Any notice of non-renewal will be mailed or delivered to the first Named Insured's and agent's addresses shown in
                  the Policy. If notice is mailed, proof of mailing will be sufficient proof of notice.




All other terms, conditions and limitations of this Policy remain unchanged.
                                                                                                                     N-000154

                                                                                                                   EDGE-243-8 (02/11)
                                                                                                                          Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 177 of 198
                                                                                                                                         ®
Amendatory Endorsement - Vermont                                                                                   ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

1.   SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, is deleted in its entirety and replaced
     by the following:

     CANCELLATION/NON-RENEWAL

     Cancellation

         a)   The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to the Company
              advance written notice of cancellation.

         b) If this Policy has been in effect for less than sixty (60) days and this Policy is not a renewal ofa Policy the Company
            issued, the Company may cancel this Policy by mailing or delivering to the First Named Insured written notice of
            cancellation at least:

               1)   Fifteen (15) days notice prior to the proposed cancellation date for non payment of premium or substantial increase
                    in hazard; or

              2)    Forty-five (45) days notice prior to the proposed cancellation date for any other reason.

         c)   If cancellation is for nonpayment of premium, written notice may be sent by certified mail. If cancellation is for any
              reason other than nonpayment of premium, written notice must be sent by certified mail.

         d)   If this Policy has been in effect for sixty (60) days or more, or if this is a renewal ofa Policy the Company issued, the
              Company may cancel this Policy only for one or more of the following reasons:

               1) Nonpayment of premium;

              2)    Fraud or material misrepresentation affecting this Policy or in the presentation of claims under this Policy;

              3)    Violation of any provisions of this Policy; or

              4)    Substantial increase in hazard, provided the Company has secured approval for the cancellation from the
                    commissioner of insurance.

              If the Company cancels this Policy for one of the reasons specified above, the Company may cancel this Policy by
              mailing or delivering at least:

              I)    Fifteen (15) days notice before the effective date ofcancellation for nonpayment of premium; or

              2)    Forty-five (45) days notice before the effective date of cancellation for any other reason.

        e)    Notice of cancellation will state the effective date of cancellation. The Policy period will end on that date.

        f)    If this Policy is cancelled, the Company will send the First Named Insured any premium refund due. If the Company
              cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata but no
              less than the customary short rate amount. The cancellation will be effective even if the Company has not made or
              offered a refund.

        g)    If notice is mailed, proof of mailing will be sufficient proof of notice.
                                                                                                                        N-000155

                                                                                                                      EDGE-246-B (02/11)
                                                                                                                               Page 1 of 2


             Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 178 of 198
     Non-Renewal

          a)   The Company may non-renew this Policy by mailing, certified mail, or delivering to the First Named Insured written
               notice, at the last known address, of non-renewal at least forty-five (45) days before the expiration of this Policy or the
               anniversary date of this Policy, if this Policy has been written for a term of more than one year.

               This non-renewal provision does not apply if the Company has indicated a willingness to renew, in case of nonpayment
               of premium, or if the Insured does not pay any advance premium required for renewal.

               If the Company fails to mail or deliver proper notice of non-renewal, this Policy will end on the effective date of any
               other Policy with respect to property designated in both policies.

         b)    If the Company elects to renew this Policy and has the necessary information to issue a renewal Policy, the Company
               will confirm in writing at least forty-five (45) days before the Policy expires the intention to renew this Policy and the
               premium at which this Policy will be renewed.

               If the Company fails to comply with this provision, the Insured will have renewal coverage. The renewal coverage will
               be at the rates in effect under the expiring or expired Policy or in effect on the expiration date, that have been approved
               by the Commissioner, whichever are lower. This renewal coverage will be on a pro rata basis and will continue for
               forty-five (45) days after the Company confirms renewal coverage and premium. If the Insured accepts this renewal
               Policy, this paragraph does not apply.

2.   Section VI-General Policy Conditions, CONCEALMENT, MISREPRESENTATION OR FRAUD is deleted in its entirety and
     replaced by the following:

     CONCEALMENT, MISREPRESENTATION OR FRAUD

         The Company does not provide coverage to one or more Insureds who at any time engage in fraudulent conduct as it relates
         to this Policy. The Company also does not provide coverage to one or more Insureds, who at any time intentionally conceal
         or misrepresent a material fact or make a false statement concerning:

               a)   This Policy;

               b)   The Covered Property;

               c)   The Insured's interest in Covered Property; or

               d)   A claim under this Policy.

3.   The following is added to SECTION VI -GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE
     COMPANY:

     The Insureds' right to bring legal action against the Company is not conditioned upon compliance with the Appraisal Condition
     of this Policy.

4.   The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

         The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
         statement ofloss, if the Insured has complied with all the terms of this Policy; and

     and replaced by the following:

         We will pay for covered loss or damage within ten (10) working days after we receive the sworn statement of loss, if you
         have complied with all the terms of this Policy; and


All other terms, conditions and limitations of this Policy remain unchanged.


                                                                                                                        N-000156

                                                                                                                      EDGE-246-B (02/11)
                                                                                                                             Page 2 of 2


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 179 of 198
                                                                                                                                      ®
Amendatory Endorsement - Washington                                                                             ZURICH


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   The following is deleted from SECTION III - PROPERTY DAMAGE, EXCLUSIONS:

     3.03.03.             This Policy excludes direct physical loss or damage directly or indirectly caused by or resulting from any
                          of the following regardless of any other cause or event, whether or not insured under this Policy,
                          contributing concurrently or in any other sequence to the loss:

     and replaced with:

     3.03.03.             The Company will not pay for loss or damage caused by any excluded event described below. Loss or
                          damage will be considered to have been caused by an excluded event if the occurrence of that event
                          directly and solely results in loss or damage; or initiates a sequence of events that results in loss or
                          damage, regardless of the nature of any intermediate or final event in that sequence.

2.   When the following appears in CONTINGENT TIME ELEMENT, FINE ARTS, LAND IMPROVEMENTS,OFF PREMISES
     SERVICE INTERUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS, TENANTS PROHIBITED ACCESS and
     NEW CONSTRUCTION AND ADDITIONS, it will be deleted.

                          "regardless of any other cause or event, whether or not insured under this Policy, contributing
                          concurrently or in any other sequence to the loss. 11

     and replaced with:

                          The Company will not pay for loss or damage caused by an excluded event described below. Loss or
                          damage will be considered to have been caused by such excluded event if the occurrence of that event
                          directly and solely results in loss or damage; or initiates a sequence of events in loss or damage,
                          regardless of the nature of intermediate or final event in that sequence.

3.   The following is added to SECTION III - PROPERTY DAMAGE, EXCLUSIONS, 3.03.03.04.:

                          This exclusion does not apply to acts of direct physical loss or damage resulting from an act of domestic
                          abuse caused by another insured under the policy if such loss is an otherwise covered property loss and
                          the insured making claim: files a police report, cooperates with any law enforcement investigation relating
                          to the act of domestic abuse and did not cooperate in or contribute to the creation of the loss.

4. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
   Cancellation:

                          The First Named Insured shown in the Declarations may cancel this Policy by mailing or delivering to
                          the Company advance written notice of cancellation.

     and replaced with:

                          The First Named Insured shown in the Declarations may cancel this Policy. The insured may provide
                          notice before the effective date of cancellation using one of these methods:

                             (i) Written notice of cancellation to the insurer or producer by mail, fax or e-mail;



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                                                                                                                     EDGE-248-B (02/11)
                                                                                                                           Page 1 of 3


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 180 of 198
                              (ii) Surrender of the policy or binder to the insurer or producer; or

                              (iii) Verbal notice to the insurer or producer.

                           If the insurer receives notice of cancellation from the insured, it must accept and promptly cancel the
                           policy or any binder issued as evidence of coverage effective the later of:

                              (i) The date notice is received; or

                              (ii) The date the insured requests cancellation.

5.    The following is added to SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL,
      Cancellation:

                           Notice of cancellation will state the reason for cancellation.

                           The Company will send written notice of cancellation to each mortgagee, pledge or other person shown
                           by the Policy to have an interest in any loss which may occur.

6.    SECTION VI-GENERAL POLICY CONDITIONS, CANCELLATION/NON-RENEWAL, Non-renewal is deleted in its
      entirety and replaced by the following:

                           Non-renewal

                           The Company may non-renew this Policy by mailing or delivering to the First Named Insured written
                           notice, Forty-Five (45) days before the non-renewal. Notice of non-renewal will state the reason for
                           non-renewal.

7. The following is added to SECTION VI-GENERAL POLICY CONDITIONS, INSPECTIONS AND SURVEYS:

                           I--Iowever, this condition does not apply to any inspections, surveys, reports or recommendations the
                           Company may make relative to certification under state or municipal statutes, ordinances or regulations
                           referenced above.

8. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, OTHER INSURANCE:

                           The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                           attach in absence of this insurance; except that this insurance shall apply only as excess, Difference in
                           Conditions/Difference in Limits and in no event as contributing insurance, and then only after all other
                           insurance has been exhausted.

     and replaced with:

                          The Company will not be liable if, at the time of loss or damage, there is any other insurance that would
                          attach in absence of this insurance; except that this insurance shall apply only as pro rata contributing
                          insurance.

9. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, VALUATION:

                          The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                          Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                          depreciation) with materials of like kind, quality and capacity at the same or another site, but no more
                          than the lesser of:

     and replaced by the following:




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                                                                                                                   EDGE-248-B (02/11)
                                                                                                                         Page 2 of 3


           Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 181 of 198
                        The basis of adjustment is on a replacement cost basis unless a specific valuation applies. Replacement
                        Cost shall be the cost to repair, rebuild or replace the damaged property (without deduction for
                        depreciation) with new materials of like kind, quality and capacity at the same or another site, but no
                        more than the lesser of:

9.   Section VI-General Policy Conditions, LENDERS LOSS PAYEE AND MORTGAGE HOLDER INTERESTS AND
     OBLIGATIONS is deleted in its entirety.

I 0. The following is deleted from SECTION VI-GENERAL POLICY CONDITIONS, APPRAISAL:

                        The Company further retains its right to deny the claim in whole or in part.

All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                             EDGE-248-8 (02/11)
                                                                                                                  Page 3 of 3


        Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 182 of 198
                                                                                                                                      ®
Amendatory Endorsement - West Virginia                                                                           ZURICH


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION VI - GENERAL POLICY CONDITIONS, LOSS CONDITIONS, APPRAISAL, is deleted in its entirety and replaced
     by the following:

     APPRAISAL

         In case the Insured and the Company fails to agree as to the actual cash value of the amount of loss, then on the written
         demand of either party, each shall select a competent and disinterested appraiser and notify the other appraiser selected
         within twenty (20) days of such demand. The appraiser shall first select a competent and disinterested umpire; and failing
         for fifteen (15) days to agree upon such umpire, then either on the Insured's or the Company's request, such umpire shall
         be selected by a judge of a court of record in the state in which the property covered is located. The appraisers shall then
         appraise the loss, stating separately actual cash value and loss as to each item; and, failing to agree, shall submit their
         differences only, to the umpire. An award in writing, so itemized, of any two when filed with this Company shall
         determine the amount of actual cash value and loss. Each appraiser shall be paid by the parties equally.

2.   The following is deleted from SECTION VI - GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss
     Payment:

         The Company will pay for covered loss or damage within thirty (30) days or as required by law, after receiving the sworn
         statement ofloss, if the Insured has complied with all the terms of this Policy; and

             The Company has reached agreement on the amount of loss; or

             An appraisal award has been made ...

     and replaced by the following:

         The Company will pay for loss of or damage to Covered Property within fifteen (15) days after we receive the signed,
         sworn statement of loss if the Insured has complied with all the terms of this Policy and the Company has reached
         agreement with the Insured on the amount of loss.

3.   SECTION VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUIT AGAINST THE COMPANY, is deleted in
     its entirety and replaced by the following:

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or equity unless the
         Insured has fully complied with all the provisions of this Policy. Legal action must be started within two (2) years after the
         date of direct physical loss or damage to Covered Property or to other property as set forth herein.


     All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                   EDGE-249-A (02/11)
                                                                                                                          Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 183 of 198
                                                                                                                                     ®
Amendatory Endorsement - Wisconsin                                                                             ZURICH


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   Section VI-General Policy Conditions, Loss Conditions, Subrogation, is deleted in its entirety and replaced by the following:

     SUBROGATION

             The Insured is required to cooperate in any subrogation proceedings. To the extent of the Company's payment, the
             Insured's rights of recovery against any party are transferred to the Company.

             The Company acquires no rights of recovery that the Insured has expressly waived prior to a loss, nor will such waiver
             affect the Insured 1s rights under this Policy.

             The Company will be entitled to any recovery from subrogation proceedings only after the First Named Insured has
             been fully compensated for Damages.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                 EDGE-250-A (04/08)
                                                                                                                        Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 184 of 198
                                                                                                                                       ®
Amendatory Endorsement - Wyoming                                                                                ZURICH


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


1.   SECTION VI - General Policy Conditions, Suit Against The Company is replaced in its entirety by the following:

     No one may bring a legal action against the Company under this Policy unless:

     All of its terms have been complied with; and, the action is brought within 4 years beginning from the date on which the direct
     physical loss or damage was discovered.

2.   Section VI-GENERAL POLICY CONDITIONS, LOSS CONDITIONS, SUBROGATION is amended by the addition of the
     following:

     The Company will be entitled to recovery only after the insured has been fully compensated for the deductible amount, without
     any deduction for expenses of collection, out of any recovery on the subrogated claim, before any part of the recovery is applied
     to any other use. If the amount of the deductible exceeds the recovery, the insurer shall pay only the amount of the recovery to
     the insured.

3.   The following is deleted from Section VI-GENERAL POLICY CONDITIONS, SETTLEMENT OF CLAIMS, Loss Payment:

                           The Company will pay for covered loss or damage within thirty (30) days or as required by law, after
                           receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy; and

     And replaced with:

                           The Company will pay for the undisputed covered loss or damage within forty-five (45) days, after
                           receiving the sworn statement of loss, if the Insured has complied with all the terms of this Policy.

                  All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                                   EDGE-251-A (02/11)
                                                                                                                          Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 185 of 198
Amendatory Endorsement - Virginia                                                                                                     @


                                                                                                                ZURICH

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

I.   SECTION V-FIRE DEPARTMENT SERVICE CHARGE is replaced by the following:


     The Company will pay for the reasonable additional expenses, resulting from costs of fire extinguishing materials expended,
     incurred by the Insured when the Fire Department is called to save or protect Covered Property from a Covered Cause of Loss
     at an Insured Location. The Fire Department Service Charges are those assumed by contract or agreement prior to loss or
     damage or required by local ordinance.

     If the charges are billed to the Insured by a volunteer fire department, the Company will pay for the volunteer fire department
     service charges, provided that the volunteer fire department is not fully funded by real estate taxes or other property taxes.

     The most the Company will pay under this Additional Coverage, at any one covered property, in any year beginning on the date
     coverage for such covered property was effective, is the greater of $250 or the Limit of Insurance shown in the Declarations for
     Fire Department Service Charge. The Limit for this Additional Coverage is in addition to the applicable Limit of Insurance
     shown in the Declarations for that covered property.




All other terms, conditions and limitations of this Policy remain unchanged.




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                                                                                                              EDGE-252-A VA (05/13)
                                                                                                                        Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 186 of 198
Cyber Event Coverage Endorsement                                                                                        ®

                                                                                                     ZURICH

Insured Name                                   IPolicy Number              Effective Date      Endorsement Number
Novant Health, Inc.                             ZMD8591943-0l              02/01/2020          01



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
    EDGE-D-100-B (12/10) The Zurich EDGE Declarations (Domestic Form)
    EDGE 100-B (12/10) The Zurich EDGE Coverage Form (Domestic Form)
           0


    EDGE-D-10 l -B (12/10) The Zmich EDGE Declarations (Global Form)
    EDGE-101-B (12/10) The Zurich EDGE Coverage Form (Global Form)
    EDGE-D-102-B (12/10) The Zurich EDGE Declarations (Domestic Healthcare Form)
    EDGE-102-B (12/10) The Zurich EDGE Coverage Form (Domestic Healthcare Form)
    EDGE-D-103-A (12/10) The Zurich EDGE Declarations (Global Healthcare Form)
    EDGE-103-A (12/10) The Zurich EDGE Coverage Form (Global Healthcare Form)

A. The following is added to 2.03.06. Limits of Liability:

               $2,500,000                CYBER EVENT All Coverages Combined and in the Annual Aggregate
                                         but not to exceed the following:
                                         $250,000 OFF PREMISES SERVICE INTERRUPTION CYBER EVENT
                                         - PROPERTY DAMAGE AND TIME ELEMENT


    The following is added to 2.03. Time and Distance Limitations:

               48 hours for Gross Earnings:             PROTECTION AND PRESERVATION OF
               not to exceed $250,000 limit.            DIGITAL ASSETS - PROPERTY DAMAGE
               L __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _LA~N~D TIME ELEMENT Combined




    The following is added to Section 2.04. QUALIFYING PERIOD:

               CYBER EVENT per Occurrence                                                        48 hours
               OFF PREMISES SERVICE INTERRUPTION CYBER                                           48 hours
               EVENT-PROPERTY DAMAGE AND TIME ELEMENT
               applies separately at each location.
    The following is added to Section 2.05. DEDUCTIBLES, Exceptions to Policy Deductible(s):
               CyberEvent
               The following deductibles apply to loss or damage caused by or resulting from Cyber Event. The Cyber Event
               deductible will apply regardless of any other deductibles that may also apply.
               $25,000 combined Cyb er Event per Occurrence




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                                                                                                       EDGE-313-C (09/19)
                                                                                                             Page 1 of 5


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 187 of 198
B. Section 3.02. PROPERTY NOT COVERED, Subsection 3.02.15. is replaced by the following:
    Digital Assets except when they are Stock in Process, Finished Stock, Ra,v Materials, supplies or Merchandise or as
    otherwise provided by the Computer Systems Damage Coverage, Valuable Papers and Records Coverage or Cyber Event
    Coverage of this Policy.
C. Section 5.02. DESCRIPTION OF SPECIAL COVERAGES is revised as follows:
    1. The COMPUTER SYSTEMS DAMAGE Coverage is replaced by the following:
         COMPUTER SYSTEMS DAMAGE
         The Company will pay for the corruption or loss of the Insured's Digital Assets resulting from direct physical loss of or
         damage to Computer Systems or Media as covered by this Policy, and the actual Time Element loss sustained, as
         provided by this Policy during the Period of Interruption directly resulting from a Covered Cause of Loss at an Insured
         Location.
         This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
         Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
         the amount of loss in excess of the Policy Deductible, but not more than the limit applying to this Coverage.
         This Coverage excludes loss or damage caused by or resulting from:
         a.   Errors or omissions in processing or copying, except when direct physical loss or damage caused by a Covered
              Cause of Loss results. Then only that resulting damage is covered;
         b.   Loss or damage to Digital Asset from errors or omissions in programming or machine instructions; or
         c.   Cyber Event..
    2.   The OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS Coverage is
         replaced by the following:
         OFF PREMISES SERVICE INTERRUPTION PROPERTY DAMAGE AND TIME ELEMENT LOSS

         The Company will pay for direct physical loss of or damage to Covered Property and for the actual Time Element loss
         sustained as provided by the Policy during the Period of Service Interruption at Insured Locations caused by the
         interruption of an incoming service consisting of electricity, gas, fuel, steam, water, refrigeration, voice, data or video
         or from the lack of outgoing voice, data, video or sewage service.

         The lack of service must result from direct physical loss of or damage caused by a Covered Cause of Loss to property (
         other than satellites but including transmission and distribution lines) of the supplier of such service located within this
         Policy's Territory, that immediately prevents in whole or in part the delivery of such usable services.

         This Coverage will only apply when the Period of Service Interruption exceeds the time shown as Qualifying Period in
         the Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay
         for the amount of loss in excess of the applicable deductible, but not more than the limit applying to this Coverage.

         Exclusions 3.03.01.02. and 3.03.04. do not apply to Off Premises Service Interruption Property Damage and Time
         Element Loss.

         The following additional exclusion applies:
         This Coverage excludes loss or damage to Covered Property and for the actual Time Element loss directly or indirectly
         caused by or resulting from the interruption of such services, when such interruption is caused directly or indirectly by:
         a.   The failure of the Insured to comply with the terms and conditions of any contracts the Insured has for the supply of
              such specified services; or
         b. Cyber Event,
         regardless of any other cause or event, whether or not insured under this Policy, contributing concurrently or in any other
         sequence to the loss.
D. The following is added to Section 5.03. DESCRIBED CAUSES OF LOSS:
   CYBEREVENT
   1.    Property Damage and Time Element
                                                                                                                       N-000165
         The Company will pay Digital Asset Replacement Expenses and the actual Time Element loss sustained during the
                                                                                                                     EDGE-313-C (09/19)
                                                                                                                            Page 2 of 5


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 188 of 198
     Period oflnterruption caused by a Cyber Event resulting in the corruption or destrnction of the Insured's Digital Assets.
     The Time Element loss must result from the necessa1y Suspension of the Insured1s business activities at the Insured
     Location. The Suspension must be due to a Cyber Event resulting in corruption, destruction or loss of access to the
     Insured1s Digital Assets while within this Policy's te1Titory.
     This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
     Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
     the amount ofloss in excess of the Cyber Event Deductible, but not more than the limit applying to this Coverage.
     This Coverage, as respects to Cyber Event, also covers:
     a.   Expediting Expense
          The reasonable and necessary costs incurred to pay for the temporary repair or to expedite the permanent repair or
          replacement of Digital Assets resulting from a Cyber Event to the Insured's Digital Assets.
          This coverage excludes the costs of the permanent repair or replacement ofDigital Assets or damaged property.
     b. Computer Forensic Expense
          The reasonable fees paid to a professional or the reasonable cost of using the Insured's employees to conduct a
          computer forensic analysis to investigate and determine the cause and extent of loss to the Insured1s Digital Assets
          and Computer System due to a Cyber Event
     The Company will pay for direct physical loss of or damage to Digital Assets, Covered Property, Time Element loss
     and Special Coverages loss as provided by this Policy, if such loss or damage is caused by Cyber Event regardless of
     any other cause or event contributing concurrently or in any other sequence of loss. However, ensuing physical loss or
     damage to Covered Property from a Covered Cause of Loss will not be considered loss by a Cyber Event within the
     t(:rms and conditions of this Policy.
     Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs,
     expenses or loss recoverable under the Cyber Event Property Damage and Time Element Coverages are payable only
     under Cyber Event Property Damage and Time Element Coverage and not elsewhere in this Policy.
2.   Protection And Preservation Of Digital Assets - Property Damage And Time Element
     The reasonable and necessary cost incurred for actions taken by the Insured to temporarily protect or preserve Digital
     Assets from further damage, during or after a Cyber Event, provided that such costs are over and above the Insured's
     normal operating expenses.
     The Gross Earnings loss or Gross Profit loss sustained by the Insured for a period of time not to exceed the hours listed
     in the Declarations for the Insured first taking reasonable and necessary actions to temporarily protect or preserve from
     further damage the insured1s Digital Assets, during or after a Cyber Event provided that such costs are over and above
     the Insured's normal operating expenses.
          Protection and Preservation of Digital Assets coverage does not include the following costs or expense:
              To correct any deficiencies or problems or to remediate Programs (Sofhvare) errors or vulnerabilities that
              existed prior to the Cyber Event and you failed to correct;
              To update, restore, replace or improve any Digital Assets to a level beyond that which existed just prior to the
              Cyber Event, unless such costs or expenses are standard technological advancements included within any
              newer Digital Assets;
              For any contractual penalties.
     Notwithstanding any other provision of this Policy, including any endorsements fo1ming a part of this Policy, any costs
     recoverable under Protection and Preservation of Digital Assets are payable only under Protection And Preservation Of
     Digital Assets- Property Damage And Time Element Coverage and not elsewhere in this Policy.
3.   Off Premises Service Interrnption Cyber Event Property Damage And Time Element
     The Company will pay for the loss of or damage to the lnsured's Covered Property at an Insured Location and for the
     actual Time Element loss sustained by the Insured during the Period of Interruption, directly resulting from the necessary
     Suspension of the Insured's business activities at an Insured Location, resulting from a Cyber Event, regardless of any
     other event contributing concurrently or in any sequence to the loss, at a service provider company directly or indirectly
     supplying electricity, gas, fuel, steam, water, refrigeration, voice, data, video or Cloud Services. The inte1ruption of
     service must result from a Cyber Event to property (other than satellites but including transmission and distribution lines)
     of the supplier of such services that immediately prevents in whole or in part the delivery of such usable services, when
     located worldwide, except for in the following:
         Afghanistan, Albania, Algeria,· Angola, Armenia, Azerbaijan, Belarus, Benin, Botswana, Burkin~-~1:P,6Burundi,
                                                                                                             EDGE-313-C (09/19)
                                                                                                                    Page 3 of 5


      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 189 of 198
             Cameroon, Cape Verde, Central African Republic, Chad, Comoros, Republic of Congo, Democratic Republic of the
             Congo, Cuba, Djibouti, Equatorial Guinea, Eritrea, Ethiopia, Gabon, Gambia, Ghana, Guinea, Guinea-Bissau, Georgia,
             Haiti, Iran, Iraq, Ivory Coast, Kazakhstan, Kampuchea (Cambodia), Kenya, Kyrgyzstan (Kyrgyz Republic), Laos,
            Lebanon, Lesotho, Liberia, Libya, Macedonia, Madagascar, Malawi, Mali, Mauritania, Mayotte, Mongolia,
            Montenegro, Mozambique, Myanmar (Burma), Namibia, Niger, Nigeria, North Korea, Pakistan, Palestine, Reunion,
            Rwanda, Sao Tome and Principe, Senegal, Serbia, Sierra Leone, Somalia, Sri Lanka, Southern Sudan, Sudan,
            Swaziland, Syria, Tajikistan, Tanzania, Tibet, Togo, Turkmenistan, Uganda, Uzbekistan, Western Sahara, Yemen,
            Zambia, Zimbabwe; or
             Any other country where prohibited by United States law or where trade relations are unlawful as determined by the
             Government of the United States of America or its agencies.
        This Coverage will only apply when the Period of Interruption exceeds the time shown as Qualifying Period in the
        Qualifying Period clause of the Declarations section. If the Qualifying Period is exceeded, then this Policy will pay for
        the amount of loss in excess of the applicable Cyber Event Deductible, but no more than the limit applying to this
        Coverage.
        The following additional exclusion applies:
            This Policy excludes physical loss or damage directly or indirectly caused by or resulting from the interruption of
            such services, when such interruption is caused directly or indirectly by the failure of the Insured to comply with the
            terms and conditions of any contracts the Insured has for the supply of such specified services regardless of any
            other cause or event, whether or not insured under this Policy, contributing concurrently or in any other sequence to
            the loss.
        Notwithstanding any other provision of this Policy, including any endorsements forming a part of this Policy, any costs
        recoverable under Off Premises Service Interruption Cyber Event Property Damage And Time Element are payable only
        under Off Premises Service Interruption Cyber Event Property Damage and Time Element Coverage and not elsewhere in
        this Policy.
    4. The following additional exclusions apply to D. 1., 2., and 3.:
        We will not pay for loss or damage to Digital Assets resulting from:
            a.   Errors or omissions in programming, processing or copying; or
            b.   Correcting any deficiencies or problems including remediation of Digital Asset errors or vulnerabilities that
                 existed prior to the Cyber Event and the Insured failed to correct.
        We do not cover expenses or costs ofCyber Extortion Payments.
E. The following definitions in SECTION VII - DEFINITIONS are replaced by the following:
        Computer Virus -Any hostile or intrusive Program (Software), instructions, code or data which infiltrates and disrupts
        computer operations, gathers sensitive information, gains access to Computer Systems or Digital Assets without consent,
        or any other data or instructions introduced into any electronic system that affects the operation or functionality of
        Computer Systems or Digital Assets, including but not limited to any destructive Program, computer code, worm, logic
        bomb, smurf attack, vandalism, malware, Trojan Horse, spyware, rootkits, ransomware, adware, keyloggers, rogue security
        software or malicious browsers.
        Described Cause(s) of Loss - Breakdown of Equipment, Earth Movement, Flood, Named Storm or Cyber Event.
        Period of Interruption - The period starting when the lnsured's Digital Assets, Computer Systems or Media fails to
        operate and ending when with due diligence and dispatch, the Insured's Digital Assets, Computer Systems or Media
        could be restored to the same or equivalent operating condition that existed prior to the failure. The Period of Interruption
        does not include the additional time to make changes to the lnsured's Digital Assets, Computer Systems or Media.
   For purposes of Cyber Event only, the following definition in SECTION VII - DEFINITIONS is replaced by the following:
        Media - Punch cards, paper tapes, floppy disks, CD-ROM, hard drives, magnetic tapes, magnetic discs or any other
        tangible personal property on which Digital Assets are recorded or transmitted, but not the Digital Assets themselves.
   The following are added to SECTION VII - DEFINITIONS:
        Cloud Services -A contracted service in the business of storing, processing and managing the lnsured1s Digital Assets
                                                                                                                   1
        and providing access and use of Programs (Software) or a network of servers hosted away from the Insured s location
        to store, process and manage the Digital Assets.
        Computer Systems - Information Technology (IT), industrial process control or communication systems including any
        other item or element of IT infrastructure, computer hardware, devices and electronic equipment used for the purpose of
        creating, accessing, processing, protecting, monitoring, storing, retrieving, displaying or transmitting_ 1 ~1?~Slf&
                                                                                                                        Assets,
        including but not limited to, associated input and output devices, laptop and desk top computers, Me01a, computer
                                                                                                                 EDGE-313-C (09/19)
                                                                                                                        Page 4 of 5


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 190 of 198
         networks and networking equipment, components, file servers, data processing equipment, microchip, microprocessors,
         computer chips, integrated circuits, systems controlling or associated with the operation or monitoring of equipment or
         machinery, or similar device or equipment, but not including the Digital Assets contained therein. Computer Systems also
         includes external drives, CD-ROM's, DVD ROM's, magnetic tapes, magnetic discs and USB sticks, that are used to process,
         record or store Digital Assets.
         Cyber Event - Authorized access, unauthorized access, authorized use, unauthorized use, disappearance of code,
         malicious act, distortion, malfunction, deficiency, deletion, fault, Computer Virus, Denial of Service Attack or
         corruption perpetuated through the Insured1s computer network, an internet enabled device or Computer Systems that
         occurs during the Policy Period.
         However, as applied in Off Premises Service Interruption Property Damage and Time Element and in D.3., Off
         Premises Service Interruption Cyber Event Property Damage And Time Element of this endorsement, Cyber Event
         means such Cyber Event as defined above but perpetuated through the service provider's computer network, internet
         enabled device or Computer Systems during the Policy Period.
         Cyber Extortion Payments - Monies paid to third parties for an act, threat or series of threats made to introduce a
         Computer Virus or gain unauthorized access to Computer Systems.
         Denial of Service Attack - A malicious attack by an authorized or unauthorized party which is designed to slow or
         completely interrupt an authorized party from gaining access to the Insured1s Computer Systems, Digital Assets or
         website.
        Digital Assets - Electronic Data, Programs (Software), audio and image files. To the extent they exist as Electronic
        Data and only in that form, Digital Assets include the following: accounts, bills, evidences of debts, valuable papers,
        records, abstracts, deeds, manuscripts, or other documents.
        Digital Asset Replacement Expenses - The reasonable and necessary costs or expenses the Insured incurs to replace,
        restore or recollect Digital Assets from written records or partially or fully matching Electronic Data.


All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                                N-000168

                                                                                                              EDGE-313-C (09/19)
                                                                                                                     Page 5 of 5


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 191 of 198
Change Endorsement                                                                                                                  ®
Limited Coverage for Electronic Data, Programs or Software
Certificates of Insurance
                                                                                                              ZURICH
Loss Adjustment/Payable

                                  ..
 Insured Name                                   Policy Number                  Effective Date        Endorsement Number
 Novant Health, Inc.                            ZMD8591943-01                  02/01/2020            02




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This Endorsement modifies insurance provided under the Policy identified above.

    A. Section 5.02.04.01.01 is deleted.
    B. Clause CERTIFICATES OF INSURANCE is deleted and replaced with the following:

                   CERTIFICATES OF INSURANCE

        Any certificate of insurance issued in connection with this Policy is provided solely as a matter of convenience or
        information for the addressee(s) or holder(s) of such certificate of insurance, except as provided under the Policy when a
        Loss Payee(s) or Mortgagee(s) are named. The certificate of insurance does not amend, extend or alter the coverage afforded
        by the Policy.

        In the event this Policy is cancelled pursuant to the Cancellation subsection other than for nonpayment of premium, and
        except as provided otherwise, the Company shall provide a notice to those entities set out in the certificates of insurance,
        that have been provided to the Company in accordance with this Endorsement, within 30 days after notifying the First
        Named Insured that the Policy has been cancelled. Such entities will be provided to the Company, in the format requested
        by the Company within 10 days of such request, by the Producer. However, in no event will failure to provide notice to
        entities set out in any certificate of insurance provide such entities with rights broader than those of the Named Insured.

        The Company hereby authorizes the Producer named on the Policy to issue certificates of insurance consistent with the
        foregoing.

    C. Clause LOSS ADJUSTMENT/PAYABLE is deleted and replaced with the following:

                  LOSS ADJUSTMENT/PAYABLE

        Loss, if any, will be adjusted with and payable to the First Named Insured as shown on this Policy, or as directed by the
        First Named Insured.

        When a Lender or Mortgagee is named in the certificates of insurance on file with the Company, the Lender or Mortgagee
        will be included in loss payment as their interests may appear.

        When a Loss Payee is named in the certificates of insurance on file with the Company, the Loss Payee will be included in
        loss payments made to the insured as their interests may appear. The Loss Payee has no other rights under the policy.

        When an additional insured is named in the certificates of insurance on file with the Company, the additional insured will
        be included in loss payment as their interests may appear.

All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                                                 N-000169

                                                                                                               EDGE-309-A (03/12)
                                                                                                                      Page 1 of 1


         Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 192 of 198
CAP ON LOSSES FROM CERTIFIED ACTS OF                                                                                                         @


TERRORISM                                                                                                                 ZURICH
 Insured Name                                      IPolicy Number                           Effective Date             Endorsement Number
 Novant Health, Inc.                                 ZMD859 l 943-0I                        02/01/2020                 03




                 THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance:
Novant Health Healthcare Edge Policy




A. Cap on Losses From Certified Terrorism Losses
    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with
    provisions of the federal Terrorism Risk Insurance Act ("TRIA"), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
    3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
        (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
        principally in the United States, on which United States income tax is paid and whose insurance coverage is
        subject to regulation in the United States), or the premises of a United States mission; and
    4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
        United States or to influence the policy or affect the conduct of the United States Government by coercion.
    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
    Congress (except for workers' compensation) or if losses resulting from the act, in the aggregate for insurance
    subject to TRIA, do not exceed $5,000,000.
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
   year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
   in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
   established by the Secretary of Treasury.
B. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
   terrorism exclusion or any other exclusion, do not serve to create coverage which would otheiwise be excluded,
   limited or restricted under this policy.




                                                                                                                                 N-000170


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                             Includes copyrighted material of Insurance Services Office, Inc., ,vith its pennission.                 Page 1 of 1


          Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 193 of 198
                                                                                                                   @
Policy Changes Endorsement                                                                                 ZURICH

Insureds Name                                                          Policy Number              Effoctive Date   Endorsement Number

Novant J-Iealth                                                        ZMD 8591943 -01                2/1/2020             04


                  PRODUCER NO                           NO CHANGE IN PREMIUM             ADDITIONAL PREMIUM         RETURN PREMIUM
                                               CJ
                                                        TO ADJUST PREMIUM AT AUDIT                                       n/a
                                               D



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsc1ncnt 1nodifies insurance provided under your policy as indicated belo\v. The 1nodification(s) may result in a change in
the pre1niu1n as indicated above.
                                                        Type(s) of Change(s)
D     Na1ne of Insured                                              []  Mailing Address of insured
D     Policy Nu1nber                                                n   Cotnpany
D     Effective/Expiration Date                                     LI  Legal Status of Insured/Business of Insured
ll    Pay1nent Plan                                                 lJ  Pre1niu1n Detennination
                                    '                              x Coverage Forn1s and Endorsctncnts
n     Additional interested Parties
LI    Lin1its/Exposures                                             D   Deductibles
x     Covered Property/Location Description                         0   Classification/Class Codes
[]    Rates                                                         ll  Underlying ~nsurance

                                                            CHANGE (S)



The Declarations are an1ended to include:

                         Li1nits of Liability and Coverage Part

                     $1,000,000              CRISIS EVENT COVERAGE in the Annual Aggregate but
                                             not to exceed the follo\ving li1nits per Location:
                                             $1,000,000 CRISIS EVENT COVERAGE
                                             $1,000,000 CRISIS EVENT EXPENSE
                                             $1,000,000 CRISIS EVENT TIME ELEMENT LOSS


                        For the Coverages listed bclo\V the follo\vi.ng Qualifying Period applies:

                     CRISIS EVENT COVERAGE (applies separately at each                 24 hours
                     location)




                                                                                                                   EDGE 303-A (06/08)



                                                                                                                      N-000171




       Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 194 of 198
2 05 05 02       Exceptions to Policy Deductible

                           Crisis Event Coverage
                                    $250,000 combined Crisis Event coverages per Occurrence


The Policy is amended to include the following Special Coverage for Crisis Event Coverage and Definitions:

Crisis Event Coverage:

The Company will pay for Crisis Event Expense and for Crisis Event Time Element Loss (collectively
"Crisis Event Coverage") arising out of a Crisis Event.

The Period of Liability for Crisis Event Time Element Loss is the period of time:
    1. commencing with the time an order of civil or military authority prohibits access to the Insured
        Location; and
    2. ending the earlier of:
          a. when the order prohibiting access to the Insured Location is no longer in effect; or
             b. 30 days.

Crisis Event Coverage excludes:
    I. Any loss or damage that is payable elsewhere in the Policy.
    2. Any loss or damage payable to an employee of the Insured by a Worker's Compensation Insurance
      Policy or Program.
   3. A Crisis Event initiated by the Insured.
   4. Medical or hospital expense except for psychological counseling.
    5. Any loss or damage that is payable under any other insurance.



Definitions:

Crisis Event IS:
   A Violent Crime or Suicide or Attempted Suicide, at an insured Location, that:
    I. Results in an order of civil or military authority that prohibits access to the insured Location; or
   2. The Insured reasonably believes threatens or impairs the reputation or goodwill of the Insured.

Crisis Event Expense is:
    I. The reasonable and necessary expenses incurred by the Insured in the 30 consecutive days after a
        Crisis Event for:
             a. public relations firm;
             b. a professional communications firm;
             c. a crisis management firm;


                                                                                                             N-000172




      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 195 of 198
            d. printing advertising or mailing materials to manage the reputation or goodwill of the Insured
               concerning a Crisis Event;
            e. psychological counseling:
                    i. for persons injured in a crisis event;
                   ii. for immediate family members of persons injured in, or who die from injuries
                        suffered in, the Crisis Event;
            f. ftmeral expenses for persons who die from injuries suffered in a Crisis Event;
            g. travel expenses:
                    i. for persons injured in a Crisis Event;
                   ii. for immediate family members of persons injured in a Crisis Event;
            h. temporary lodging and meals, not including hospital or medical expense,:
                    i. for persons injured in a Crisis Event;
                   ii. for immediate family members of persons injured in a Crisis Event;
           j. facilitating the evacuation of customers, patients, guests, employees, and workers from the
               insured Location during or after a Crisis Event.
    2. If the Insured is in the business of providing public lodging, Crisis Event Expense includes the
       reasonable and necessary expenses incurred by the Insured during the Period of Liability plus 72
       hours for:
           a. temporarily relocating guests from the insured Location involved in the Crisis Event to
               alternative lodging facilities;
           b. waiving lodging charges for guests at the insured Location involved in the Crisis Event;
           c. lodging expenses for relocated guests at altemative lodging facilities in excess of those that
               would have been charged at the insured Location involved in the Crisis Event.
    3. If the Insured is in the business of providing healthcare with on-site ovemight accommodation for
       patients and the Insured has in force with the Company Protection of Patients Coverage for the
       insured Location involved in the Crisis Event, Crisis Event Expense includes the reasonable
       and necessary expenses during the Period of Liability plus 72 hours for:
           a. removing patients from the insured Location involved in the Crisis Event to another health
               care facility;
           b. moving patients from a tempora1y health care facility:
                     1. back to the insured Location health care facility; or

                   ii. to another health care facility.

Crisis Event Time Element Loss is the actual loss the Insured sustains:
    I. for Gross Earnings during the Period of Liability due to the necessary Suspension of the Insured's
        business activities at the Insured Location because of an order of civil or military authority that
       prohibits access to the Insured Location as a direct result of a Crisis Event; and
   2. for Crisis Event Time Element Extra Expense.

Crisis Event Time Element Extra Expense is the reasonable and necessary expenses incurred by the
Insured, during the Pe1iod of Liability, over and above the expenses the Insured would have normally
incurred had there been no Crisis Event, to resume and continue as nearly as practicable the Insured's

                                                                                                 N-000173




      Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 196 of 198
nonnal business activities, that otherwise would be necessarily suspended because of an order of civil
or military authority that prohibits access to the Insured Location as a direct result of a Crisis Event.
Crisis Event Time Element Extra Expense does not include:
   1. any expense to repair or replace direct physical loss to real or personal property;
   2. Crisis Event Expense.

Violent Crime means:
    1. Murder and non-negligent manslaughter
   2. Criminal Sexual Assault
   3. Aggravated Assault
   4. Robbery
   5. Hostage-taldng
   6. Bombing
   7. Terrorist Activity if the Insured has Terrorist Activity Coverage with the Company that applies
       to the Insured Location.
   8. Criminal use of a firearm

All other terms, conditions and limitations of this Policy remain unchanged.




                                                                                               N-000174




     Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 197 of 198
                                                                                                    ®
North Carolina - Notice of Certain                                                    ZURICH
Causes of Loss Not Covered

The following warning is required by North Carolina General Statute 58-44-60 upon the
issuance and renewal of a property insurance policy. This notice is not part of your insurance
policy and does not grant any coverage nor change the terms and conditions of your policy.


WARNING: THIS PROPERTY INSURANCE POLICY DOES NOT
PROTECT YOU AGAINST         LOSSES   FROM FLOODS,
EARTHQUAKES, MUDSLIDES, MUDFLOWS, LANDSLIDES,
WINDSTORM OR HAIL.     YOU SHOULD CONTACT YOUR
INSURANCE COMPANY OR AGENT TO DISCUSS YOUR
OPTIONS FOR OBTAINING COVERAGE FOR THESE LOSSES.
THIS IS NOT A COMPLETE LISTING OF ALL OF THE CAUSES
OF LOSSES NOT COVERED UNDER YOUR POLICY. YOU
SHOULD READ YOUR ENTIRE POLICY TO UNDERSTAND
WHAT IS COVERED AND WHAT IS NOT COVERED.

You have received this warning because some or all of the coverages of this policy do not
include the causes of loss identified above or some or all of the property insured by this policy
are not protected from the causes of loss identified above. Whether a particular loss is covered
can only be determined by consulting the terms and conditions of your policy.




                                                                                         N-000175
                                                                           U-GU-757-B NC (12/12)



 Case 1:21-cv-00309-CCE-JLW Document 5 Filed 04/16/21 Page 198 of 198
